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                                                                   MY_]".

 .      """"""""""""""RKFQBA"PQ>QBP"AFPQOF@Q"@LROQ
        """"""""""""""CLO"QEB"AFPQOF@Q"LC"JFKKBPLQ>
 /
 0      *"*"*"*"*"*"*"*"*"*"*"*"*"*"*"*"U
        "AFL@BPB"LC"ARIRQE)""""""""""""""7FKABU"KL+
 1      """""""""""""""""""""""""""""""""7-7.4*[n*-0/21*ATC*IF?
        """"""""""""""""MdYafla^^)"""""""7
 2      """""""""""""""""""""""""""""""""7
        """""""""""""""""""""""""""""""""7
 3      """"""""""""n+"""""""""""""""""""7
        """""""""""""""""""""""""""""""""7
 4      """""""""""""""""""""""""""""""""7ABMLPFQFLK"LC7
        "IF?BOQV"JRQR>I"FKPRO>K@B""""""""7ABKKFP"@LKKLIIV
 5      "@LJM>KV)"Y"JYkkY[`mk]llk""""""""7
        "[gjhgjYlagf8"@>QELIF@"JRQR>I""""7
 6      "OBIFBC"PL@FBQV"LC">JBOF@>)"Y""""7
        "K]ZjYkcY"@gjhgjYlagf)"""""""""""7
.-      "CFOBJ>KsP"CRKA"FKPRO>K@B""""""""7
        "@LJM>KV)"Y"@Yda^gjfaY"""""""""""7
..      "[gjhgjYlagf8"@ERO@E"JRQR>I""""""7
        "FKPRO>K@B"@LJM>KV)"Y""""""""""""7
./      "Tak[gfkaf"[gjhgjYlagf"Yf\"QEB"""7
        "@LKQFKBKQ>I"FKPRO>K@B"""""""""""7
.0      "@LJM>KV)"Yf"Fddafgak""""""""""""7
        "[gjhgjYlagf)""""""""""""""""""""7
.1      """""""""""""""""""""""""""""""""7
        """"""""""""""""A]^]f\Yflk+""""""7
.2      *"*"*"*"*"*"*"*"*"*"*"*"*"*"*"*"U
.3      """""""QjYfk[jahl"g^"l`]"kl]fg_jYh`a["fgl]k"g^"l`]
.4      hjg[]]\af_k"af"l`]"YZgn]*e]flagf]\"eYll]j)"Yk"lYc]f"Zq
.5      Yf\"Z]^gj]"QLKF>KK">@NR>OL)"Y"hjg^]kkagfYd"[gmjl
.6      j]hgjl]j"Yf\"fglYjq"hmZda["oal`af"Yf\"^gj"l`]"PlYl]"g^
/-      K]o"Vgjc)"`]d\"Yl"l`]"g^^a[]k"g^"Jaflr"I]naf"@g`f"C]jjak
/.      Dagnkcq"&"Mgh]g)"333"0j\">n]fm])".3l`"Cdggj)"K]o"Vgjc)
//      gf"Q`mjk\Yq)"JYj[`".2)"/-.5)"[gee]f[af_"Yl".-7-3"af"l`]
/0      egjfaf_+
/1
/2      GgZ"Kg+"/310035

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 2 of 104



                                                                   MY_]"/

 .      >"M"M"B">"O">"K"@"B"P7
 /      "?I>KH"OLJB
 0      """@gmfk]d"^gj"MdYafla^^k
 1      """""""Q`]"@`jqkd]j"?mad\af_
        """""""1-2"I]paf_lgf">n]fm]
 2      """""""K]o"Vgjc)"K]o"Vgjc".-.41
 3      "?V7"""G>OBA"WLI>)"BPN+
        """""""'/./("552*2/-6
 4      """""""brgdY=ZdYfcjge]+[ge
 5
 6      "JFKQW"IBSFK"@LEK"CBOOFP"DILSPHV">KA"MLMBL)"M@
.-      """@gmfk]d"^gj"A]^]f\Yfl"IaZ]jlq"JmlmYd"FfkmjYf[]
..      """""""Lf]"CafYf[aYd"@]fl]j
        """""""?gklgf)"JYkkY[`mk]llk"-/...
./
        "?V7"""G>OBA"WLI>)"BPN+
.0      """""""'3.4("015*.532
        """""""fY\Yek=eaflr+[ge
.1      """"""""""""Yf\
        """""""JYl`ad\Y"J[D]]*QmZZ
.2
.3
        "@K>"@gn]jY_]"Iala_Ylagf"Djgmh
.4
        """@gmfk]d"^gj"A]^]f\Yflk"Caj]eYfsk"Cmf\
.5
        """""""000"Pgml`"TYZYk`">n]fm]
.6      """""""/2l`"Cdggj
        """""""@`a[Y_g)"Fddafgak""3-3-1
/-
        "?V7"""G>OBA"WLI>)"BPN+
/.      """""""'0./("5//*124.
        """""""k[gll+lmjf]j=[fY+[ge
//
/0
        ">IPL"MOBPBKQ7
/1
        """""""Dj]_gjq"D+"Aaedaf_
/2

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 3 of 104



                                                                   MY_]"0

 .      F"K"A"B"U
 /      "TFQKBPP"""""""""""""""""BU>JFK>QFLK"?V""""""""""M>DB
 0      "ABKKFP"@LKKLIIV"""""""""JP+">A>JP"""""""""""""""2)"65
        """""""""""""""""""""""""JO+"QROKBO""""""""""""""56
 1      """""""""""""""""""""""""JO+"WLI>"""""""""""""""".--
 2
 3
        B"U"E"F"?"F"Q"P
 4
        "ABCBKA>KQsP""""ABP@OFMQFLK""""""""""""""""""""""M>DB
 5
        "Bp`aZal".""""""IaZ]jlq"JmlmYd"FfkmjYf[]"""""""""2
 6      """"""""""""""""@gehYfqsk">e]f\]\"Kgla[]"g^
        """"""""""""""""A]hgkalagf"Yf\"O]im]kl"lg
.-      """"""""""""""""Mjg\m[]"Ag[me]flk"Yl
        """"""""""""""""A]hgkalagf
..
        "Bp`aZal"/""""""Aag[]k]"g^"Amdml`"Omd]"""""""""""2
./      """"""""""""""""/6'Y('[("Bph]jl"Aak[dgkmj]
.0      "Bp`aZal"0"""""">fko]jk"Yf\"@gmfl]j[dYae"g^""""""./
        """"""""""""""""IaZ]jlq"JmlmYd"FfkmjYf[]
.1      """"""""""""""""@gehYfq"lg"l`]"P][gf\">e]f\]\
        """"""""""""""""@gehdYafl
.2
        "Bp`aZal"1""""""Ffnga[]"^jge"A]ffak"@gffgddq""""".0
.3      """"""""""""""""\Yl]\"C]ZjmYjq"..)"/-.5
.4      "Bp`aZal"2""""""Bp[]jhl"^jge"hgda[q"?Yl]k""""""""6-
        """"""""""""""""klYeh]\"AAXFKPX--/01"lg
.5      """"""""""""""""AA"FKP"--/11
.6      """""""'Bp`aZalk"lg"Z]"hjg\m[]\"oal`"ljYfk[jahl+(
/-
/.
        O"B"N"R"B"P"Q"B"A"""F"K"C"L"O"J">"Q"F"L"K
//
        "FKCLOJ>QFLK"OBNRBPQBA"""""""""""""""""""""""""""M>DB
/0
        "Jj+"@gffgddqsk"]ph]jl"j]hgjl"hj]hYj]\"af"l`]""""66
/1      "Rla[Y"Caj]eYfsk"Cmf\"eYll]j
/2

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 4 of 104



                                                                   MY_]"1

 .      C"B"A"B"O">"I"""P"Q"F"M"R"I">"Q"F"L"K"P
 /
 0      """"""""""""Fl"FP"EBOB?V"PQFMRI>QBA">KA">DOBBA"Zq"Yf\
 1      Yegf_"[gmfk]d"^gj"l`]"j]kh][lan]"hYjla]k"`]j]lg)"l`Yl
 2      l`]"^adaf_)"k]Ydaf_)"Yf\"[]jla^a[Ylagf"g^"l`]"oal`af
 3      \]hgkalagf"Z]"oYan]\+
 4
 5      """"""""""""Fl"FP"CROQEBO"PQFMRI>QBA">KA">DOBBA"Zq"Yf\
 6      Yegf_"[gmfk]d"^gj"l`]"j]kh][lan]"hYjla]k"`]j]lg"l`Yl"Ydd
.-      gZb][lagfk)"]p[]hl"Yk"lg"l`]"^gje"g^"l`]"im]klagf)"k`Ydd
..      Z]"j]k]jn]\"lg"l`]"lae]"g^"l`]"ljaYd+
./
.0      """"""""""""Fl"FP"CROQEBO"PQFMRI>QBA">KA">DOBBA"l`Yl"l`]
.1      oal`af"\]hgkalagf"eYq"Z]"kogjf"lg"Yf\"ka_f]\"Z]^gj]"Yfq
.2      g^^a[]j"Yml`gjar]\"lg"Y\eafakl]j"Yf"gYl`)"oal`"l`]"kYe]
.3      ^gj[]"Yf\"]^^][l"Yk"a^"ka_f]\"lg"Z]^gj]"l`]"@gmjl+
.4
.5
.6
/-
/.
//
/0
/1
/2

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 5 of 104



                                                                   MY_]"2

 .      """""""A"B"K"K"F"P""O+""@"L"K"K"L"I"I"V)"g^".4"M`adah
 /      """"""""""""Ajan])"Mjaf[]lgf)"K]o"G]jk]q"-521-)"Y^l]j
 0      """"""""""""`Ynaf_"Z]]f"\mdq"Y^^aje]\)"oYk"]pYeaf]\"Yf\
 1      """"""""""""l]kla^a]\"Yk"^gddgok7
 2      BU>JFK>QFLK
 3      ?V"JP+">A>JP7
 4      """"""""""""'A]^]f\Yflsk"Bp`aZal".)"IaZ]jlq"JmlmYd
 5      """"""""""""FfkmjYf[]"@gehYfqsk">e]f\]\"Kgla[]"g^
 6      """"""""""""A]hgkalagf"Yf\"O]im]kl"lg"Mjg\m[]"Ag[me]flk
.-      """"""""""""Yl"A]hgkalagf)"eYjc]\"^gj"a\]fla^a[Ylagf+(
..      """"""""""""'A]^]f\Yflsk"Bp`aZal"/)"Aag[]k]"g^"Amdml`
./      """"""""""""Omd]"/6'Y('[("Bph]jl"Aak[dgkmj])"eYjc]\"^gj
.0      """"""""""""a\]fla^a[Ylagf+(
.1      """"""""N+""""Jj+"@gffgddq)"l`Yfc"qgm"^gj"[geaf_"`]j]
.2      "lg\Yq+""Pg"o]"Yj]"`]j]"^gj"qgmj"\]hgkalagf+""F"cfgo
.3      "qgmsn]"\gf]"l`ak"Z]^gj])"Zml"a^"qgm"`Yn]"Yfq"im]klagfk)
.4      "a^"qgm"f]]\"lg"lYc]"Y"Zj]Yc"^gj"Yfq"j]Ykgf)"gj"a^"Yfq
.5      "g^"eq"im]klagfk"qgm"\gfsl"mf\]jklYf\)"bmkl"d]l"e]"cfgo
.6      "Yf\"F"oadd"j]h`jYk]"gj"j]h]Yl"l`]e+
/-      """""""">+""""Q`Ylsk"^af]+
/.      """"""""N+""""T]"`Yn]"eYjc]\"Yk"l`]"^ajkl"\]hgkalagf
//      "]p`aZal"l`]"fgla[]"^gj"lg\Yqsk"\]hgkalagf+"">j]"qgm
/0      "`]j]"l]kla^qaf_"af"j]khgfk]"lg"l`Yl"\]hgkalagf"fgla[]<
/1      """""""">+""""V]k+
/2      """"""""N+""""T]sn]"eYjc]\"Yk"Bp`aZal"Kg+"/)"Y"\g[me]fl

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 6 of 104



                                                                   MY_]"3

 .      "lald]\"Aag[]k]"g^"Amdml`"Omd]"/6'Y('/("Bph]jl
 /      "Aak[dgkmj]+""QYc]"Y"dggc"Yl"l`Yl"\g[me]fl)"hd]Yk]+
 0      """""""">+""""LcYq+
 1      """"""""N+""""Fk"l`Yl"qgmj"j]hgjl"YllY[`]\"lg"l`Yl
 2      "]ph]jl"\ak[dgkmj]<
 3      """""""">+""""V]k)"al"ak+
 4      """"""""N+""""Tal`"j]kh][l"lg"qgmj"fYe])"alsk
 5      "A]ffak"@gffgddq"oal`"Yf"L"Yl"l`]"]f\8"ak"l`Yl"[gjj][l<
 6      """""""">+""""V]k+
.-      """"""""N+""""Tal`"j]kh][l"lg"l`]"]ph]jl"\ak[dgkmj])
..      "qgmj"fYe]"ak"eakkh]dd]\8"ak"l`Yl"[gjj][l<
./      """""""">+""""Q`Ylsk"[gjj][l+
.0      """"""""N+""""?ml"l`ak"ak"af\]]\"qgm"Yf\"qgmj"j]hgjl<
.1      """""""">+""""Fl"ak+"">f\"eq"fYe]"ak"[gjj][ldq"kh]dd]\
.2      "gf"eq"j]hgjl+
.3      """"""""N+"""">f\"l`Yl"ak"qgmj"ka_fYlmj]<
.4      """""""">+""""Q`Yl"ak+""F^"qgm"[gmfl"l`Yl"Yk"Y
.5      "ka_fYlmj]+
.6      """"""""N+""""Ego"o]j]"qgm"[gflY[l]\"af"l`ak"eYll]j<
/-      """""""">+""""?q"h`gf]"[Ydd+
/.      """"""""N+"""">f\"o`g"[Ydd]\"qgm<
//      """""""">+""""Qg"l`]"Z]kl"eq"j][gdd][lagf)"GYj]\"WgdY+
/0      """"""""N+""""T`]f"\a\"l`Yl"g[[mj<
/1      """""""">+""""F"l`afc"al"oYk"GYfmYjq"4)"Zml"al"oYk
/2      "GYfmYjq"g^"l`ak"q]Yj+

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 7 of 104



                                                                   MY_]"4

 .      """"""""N+""""EY\"qgm"hj]nagmkdq"ogjc]\"oal`"Jj+"WgdY<
 /      """""""">+""""Kg+
 0      """"""""N+""""EY\"qgm"hj]nagmkdq"ogjc]\"oal`
 1      "Jj+"GYe]k"JmjjYq)"`ak"hYjlf]j<
 2      """""""">+""""Kgl"l`Yl"F"cfgo"g^+
 3      """"""""N+""""T`]f"o]j]"qgm"j]lYaf]\<
 4      """""""">+""""P`gjldq"Y^l]j"l`Yl"^ajkl"[Ydd+
 5      """"""""N+""""T`Yl"oYk"l`]"Ykka_fe]fl"l`Yl"qgm"o]j]
 6      "_an]f"\mjaf_"l`Yl"^ajkl"[Ydd<
.-      """""""">+""""F"oYk"Ykka_f]\"lg"j]khgf\"lg"Y"[dYae"Zq
..      "IaZ]jlq"JmlmYd"l`Yl"[]jlYaf"hgda[a]k"akkm]\"lg"l`]
./      "Aag[]k]"g^"Amdml`"\a\"fgl"`Yn]"Y__j]_Yl]k"**"]p[mk]"e])
.0      "oal`"j]_Yj\"lg"l`]"im]klagf"g^"l`]"]pakl]f[]"g^
.1      "Y__j]_Yl]k"^gj"fgf*hjg\m[l"daYZadalq"[Yk]k+
.2      """"""""N+""""T`Yl"[gflY[lk"gl`]j"l`Yf"l`]"afalaYd
.3      "[gflY[l"oal`"GYj]\"\a\"qgm"`Yn]"j]_Yj\af_"l`ak
.4      "]f_Y_]e]fl<
.5      """""""">+""""P]n]jYd"h`gf]"[Yddk"Yf\"Y"e]]laf_"lg
.6      "hj]hYj]"l`]"j]hgjl"Yf\"l`]f"kmZk]im]fldq"Y"e]]laf_"lg
/-      "hj]hYj]"^gj"l`ak"\]hgkalagf+
/.      """"""""N+""""Aa\"qgm"]n]j"kh]Yc"lg"YfqZg\q"Yl"l`]
//      "Aag[]k]"g^"Amdml`<
/0      """""""">+""""F"\a\"fgl+
/1      """"""""N+""""Ll`]j"l`Yf"[gmfk]d"^gj"l`]"Aag[]k])"\a\
/2      "qgm"kh]Yc"Yfqgf]"j]_Yj\af_"l`ak"eYll]j"gj"qgmj"j]hgjl<

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 8 of 104



                                                                   MY_]"5

 .      """""""">+""""Kg+
 /      """"""""N+""""T]j]"qgm"_an]f"Yfq"daealYlagfk"gf"qgmj
 0      "Ykka_fe]fl<
 1      """""""">+""""T]dd)"F"oYk"kmhhgk]\"lg"j]khgf\"lg
 2      "IaZ]jlq"JmlmYdsk"Ydd]_Ylagfk+""?ml"gl`]j"l`Yf"l`Yl)"F
 3      "oYk"fgl"daeal]\+
 4      """"""""N+"""">f\"qgm"]p][ml]\"Yf"]f_Y_]e]fl"d]ll]j<
 5      """""""">+"""">[lmYddq)"F"\gfsl"j][Ydd+""Pge]lae]k"F
 6      "\g)"kge]lae]k"F"\gfsl+
.-      """"""""N+""""Ag"qgm"Y_j]]"oal`"e]"l`Yl"l`]j]"ak"Y
..      "\a^^]j]f[]"Z]lo]]f"Y"[gee]j[aYd"_]f]jYd"daYZadalq
./      "hgda[q"Yf\"[gehj]`]fkan]"_]f]jYd"daYZadalq"hgda[q<
.0      """""""">+""""Q`]j]"ak"kge]"\a^^]j]f[]+
.1      """"""""N+""""T`Yl"ak"l`]"ka_fa^a[Yf[]"g^"l`]"mk]"g^
.2      "l`]"l]je"#[gehj]`]fkan]#"n]jkmk"#[gee]j[aYd#<
.3      """""""">+""""@gehj]`]fkan]"_]f]jYd"daYZadalq"hgda[a]k
.4      "af[dm\]"Ydd"daYZadala]k"]p[]hl"l`gk]"o`a[`"Yj]
.5      "]p[dm\]\+""Fl"ak"Yf"afn]flagf"g^"l`]"]Yjdq".61-sk+
.6      """"""""N+""""Fk"al"qgmj"ghafagf"l`Yl"[gehj]`]fkan]
/-      "daYZadalq"hgda[a]k"Yj]"]^^][lan]dq"Ydd"jakc"hgda[a]k8
/.      "ak"l`Yl"o`Yl"qgm"Yj]"kYqaf_<
//      """""""">+""""Kg+""T`Yl"F"Ye"kYqaf_"ak"l`]
/0      "[gehj]`]fkan]"_]f]jYd"daYZadalq"afkmjYf[]"hgda[q)"o`a[`
/1      "oYk"afljg\m[]\"af"l`]".61-sk"oYk"afl]f\]\"lg"j]n]jk]
/2      "l`]"hjY[la[]"o`a[`"]pakl]\"Z]^gj]"g^"o`Yl"F"[Ydd"l`]

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
       CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 9 of 104



                                                                   MY_]"6

 .      "[Y^]l]jaY"hmj[`Yk]"g^"hgda[a]k+""Pg"l`]"[gehYfq"`Yk"Y
 /      "_]f]jYd"daYZadalq"hgda[q"af[dm\af_"Ydd"daYZadala]k
 0      "mfd]kk"l`Yl"o]j]"]p[dm\]\+
 1      """"""""N+"""">f\"af".653"l`Yl"[`Yf_]\"lg"Y"[gee]j[aYd
 2      "_]f]jYd"daYZadalq"hgda[q8"ak"l`Yl"[gjj][l<
 3      """""""">+""""F"l`afc"kg+
 4      """"""""N+""""Ag"qgm"Y_j]]"oal`"e]"l`Yl"l`]j]"ak"Y
 5      "\a^^]j]f[]"Yl"d]Ykl"lg\Yq)"af"lg\Yqsk"eYjc]l"Z]lo]]f
 6      "h]jkgfYd"afbmjq"Yf\"Zg\adq"afbmjq<
.-      """""""">+"""">[lmYddq)"kge]"hgda[a]k"mk]"h]jkgfYd
..      "afbmjq"lg"af[dm\]"Zg\adq"afbmjq+""Pg"alsk"Y"**"h]jkgfYd
./      "afbmjq"`Yk"Z][ge]"Y"ZjgY\]j"\]^afalagf"lg"]f[gehYkk
.0      "o`Yl"oYk"l`]"ljY\alagfYd"Zg\adq"afbmjq)"Zml"Ydkg"lg
.1      "af[dm\]"nYjagmk"h]jkgfYd"afbmjq"lgjlk+
.2      """"""""N+""""Q`Yl"ogmd\"Z]"mf\]j"klYl]"[gn]jY_]"?"g^"Y
.3      "[gee]j[aYd"_]f]jYd"daYZadalq"hgda[q<
.4      """""""">+""""V]Y`+
.5      """"""""N+""""?Y[c"af"l`]".63-k"Yf\"]Yjdq".64-k)"\a\
.6      "afkmj]jk"mk]"gf]"l]je"gn]j"l`]"gl`]j<
/-      """""""">+""""MjgZYZdq"kge]"\a\)"\]h]f\]fl"gf"l`]
/.      "kgh`akla[Ylagf"g^"l`]"af\ana\mYd"mf\]jojal]j+
//      """"""""N+""""Pg"l`]j]"oYk"fg"mfa^a]\"klYf\Yj\"l]je"Yk
/0      "lg"o`]l`]j"al"ogmd\"Z]"Zg\adq"afbmjq"gj"h]jkgfYd"afbmjq
/1      "ZY[c"Yl"l`Yl"lae]<
/2      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 10 of 104



                                                                 MY_]".-

 .      """"""""""""""""""""JP+">A>JP7""Fl"oYk"Y"l]jjaZd]
 /      """""""""""""im]klagf+
 0      """"""""N+""""Pg"ZY[c"af"l`]"s3-k"Yf\"]Yjdq"s4-k)"ogmd\
 1      "qgm"k]]"[Yjja]jk"mkaf_"gf]"l]je"Yk"ghhgk]\"lg"l`]
 2      "gl`]j<
 3      """""""">+""""V]k)"F"l`afc"kg+
 4      """"""""N+""""T`a[`"gf]<
 5      """""""">+""""Aa^^]j]fl"[Yjja]jk"mk]"\a^^]j]fl"l]jek+
 6      """"""""N+""""Q`]j]"oYk"fgl`af_"klYf\Yj\ar]\"YZgml"al<
.-      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
..      """""""">+""""T]dd)"F"l`afc"al"oYk"klYf\Yj\ar]\)"Zml
./      "l`Yl"\a\fsl"e]Yf"l`Yl"h]ghd]"\a\fsl"\g"kge]l`af_
.0      "gmlka\]"g^"l`]"klYf\Yj\+
.1      """"""""N+""""T`a[`"l]je"oYk"klYf\Yj\ar]\<
.2      """""""">+""""F"ogmd\"l`afc"af"l`]"s3-k"lg"l`]"Z]kl"g^
.3      "eq"j][gdd][lagf)"o]"mk]\)"Yl"IaZ]jlq"JmlmYd"o]"mk]\
.4      "Zg\adq"afbmjq"jYl`]j"l`Yf"h]jkgfYd"afbmjq)"Zg\adq
.5      "af[dm\]\"o`Yl"ogmd\"fgo"Z]"[Ydd]\"h]jkgfYd"afbmjq+
.6      "PYe]"l`af_"o`]f"F"oYk"Yl"MmZda["P]jna[]+
/-      """"""""N+""""@Yf"qgm"_g"lg"qgmj"j]hgjl"o`a[`"`Yk"Z]]f
/.      "eYjc]\"Yk"Bp`aZal"Kg+"/<
//      """""""">+""""F"[Yf+
/0      """"""""N+"""">f\"Z]_af"Yl"l`]"Z]_affaf_+""Pg"gf"MY_]".
/1      "oal`"j]kh][l"lg"qgmj"afljg\m[lagf"l`Yl"^ajkl"hYjY_jYh`+
/2      """""""">+""""V]k+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 11 of 104



                                                                 MY_]"..

 .      """"""""N+""""Q`ak"k]lk"^gjl`"qgmj"Ykka_fe]fl+
 /      """""""">+""""V]k+
 0      """"""""N+""""Fk"al"Y[[mjYl]"l`Yl"qgm"o]j]"Ykc]\"lg
 1      "]pYeaf]"gj"lg"hjgna\]"Yf"ghafagf"j]_Yj\af_"[gee]j[aYd
 2      "_]f]jYd"daYZadalq"hgda[a]k"gj"k`gmd\"l`Yl"Z]
 3      "[gehj]`]fkan]"_]f]jYd"daYZadalq"hgda[a]k<
 4      """""""">+""""Fl"Y[lmYddq"k`gmd\"Z]"l`]"hgda[a]k"o`a[`
 5      "o]j]"Yl"akkm]"Z]lo]]f".634"Yf\".640+
 6      """"""""N+""""?][Ymk]"qgm"ogmd\"Y_j]]"oal`"e]"l`Yl
.-      "l`gk]"o]j]"fgl"[gee]j[aYd"_]f]jYd"daYZadalq"hgda[a]k<
..      """""""">+""""F"ogmd\"`Yn]"lg"k]]"l`]e"Y_Yaf"lg"dggc"Yl
./      "l`]e+
.0      """"""""N+""""T]"[Yf"\g"l`Yl+""T`]f"qgm"dggc]\"Yl"l`]
.1      "hgda[a]k)"o]j]"l`]q"YllY[`]\"lg"Yfql`af_"gj"\a\
.2      "Jj+"WgdY"_an]"l`]e"lg"qgm<
.3      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
.4      """""""">+""""Jj+"WgdY"_Yn]"l`]e"lg"e]+
.5      """"""""N+""""T]j]"l`]q"YllY[`]\"lg"Yfql`af_<
.6      """""""">+""""F"l`afc"l`]q"o]j]"af"Y"Zaf\]j+
/-      """"""""""""""Lj"alsk"hgkkaZd]"**"F"kaehdq"\gfsl
/.      "j][Ydd)"Zml"l`]q"ea_`l"`Yn]"Z]]f"YllY[`]\"lg"l`]
//      "Yfko]j+
/0      """"""""N+""""F"Ye"ljqaf_"lg"_an]"l`]e"lg"qgm"af"l`]
/1      "^gje"qgm"dggc]\"Yl"l`]e+
/2      """""""">+""""Oa_`l+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 12 of 104



                                                                 MY_]"./

 .      """"""""""""'A]^]f\Yflsk"Bp`aZal"0)">fko]jk"Yf\
 /      """"""""""""@gmfl]j[dYae"g^"IaZ]jlq"JmlmYd"FfkmjYf[]
 0      """"""""""""@gehYfq"lg"l`]"P][gf\">e]f\]\"@gehdYafl)
 1      """"""""""""eYjc]\"^gj"a\]fla^a[Ylagf+(
 2      """"""""N+""""EYn]"qgm"k]]f"o`Yl"`Yk"Z]]f"eYjc]\
 3      "Yk"Bp`aZal"Kg+"0"Z]^gj]<
 4      """""""">+""""V]k+
 5      """"""""N+""""Aa\"qgm"j]na]o"l`ak"\g[me]fl"af
 6      "[gff][lagf"oal`"hj]hYjaf_"qgmj"j]hgjl<
.-      """""""">+""""F"\a\+
..      """"""""N+""""T]j]"qgm"hjgna\]\"oal`"Y"k]l"g^"l`]
./      "hgda[q"af^gjeYlagf"k]hYjYl]"Yf\"YhYjl"^jge"o`Yl"`Yk
.0      "Z]]f"YllY[`]\"lg"Bp`aZal"Kg+"0<
.1      """""""">+""""F"l`afc"kg+""Fse"fgl"hgkalan]+""F"bmkl
.2      "\gfsl"j]e]eZ]j+
.3      """"""""N+""""Ag"qgm"`Yn]"Y"^ad]"oal`"j]kh][l"lg"l`ak
.4      "eYll]j<
.5      """""""">+""""F"\g+
.6      """"""""N+"""">f\"l`]"\g[me]flk"l`Yl"qgm"j]na]o]\)"Yj]
/-      "l`]q"af"l`Yl"^ad]<
/.      """""""">+""""Q`]q"Yj]+
//      """"""""N+""""Aa\"qgm"Zjaf_"l`Yl"^ad]"oal`"qgm"lg\Yq<
/0      """""""">+""""F"\a\"fgl+
/1      """"""""""""""""""""JP+">A>JP7""GYj]\)"o]"Ykc]\
/2      """""""""""""^gj"Ydd"l`]"\g[me]flk"mhgf"o`a[`"`]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 13 of 104



                                                                 MY_]".0

 .      """""""""""""j]da]\+""F"Ye"Ykkmeaf_"]n]jql`af_
 /      """""""""""""l`Yl"ak"af"`ak"^gd\]j"ak"o`Yl"o]
 0      """""""""""""`Yn]"Z]]f"hjgna\]\+
 1      """"""""""""""""""""JO+"WLI>7""V]k+""Q`]j]"ak
 2      """""""""""""fgl`af_"l`Yl"Jj+"@gffgddq"j]na]o]\
 3      """""""""""""l`Yl"oYkfsl"]phda[aldq"dakl]\"af"l`]
 4      """""""""""""j]hgjl+
 5      """""""">+""""Q`]j]"ak"fg"im]klagf<
 6      """"""""N+""""Q`]"im]klagf"l`Yl"oYk"Z]^gj]"qgm"oYk
.-      "o`]l`]j"gj"fgl"l`]q"o]j]"[gehj]`]fkan]"_]f]jYd
..      "daYZadalq"hgda[a]k+
./      """""""">+""""Q`Ylsk"o`Yl"F"kYa\"Z]^gj])"[gehj]`]fkan]
.0      "_]f]jYd"daYZadalq"hgda[a]k)"[geegfdq"cfgof"Yk"@DI+
.1      """"""""N+""""Ff"l`]"f]pl"hYjY_jYh`"g^"qgmj"j]hgjl"qgm
.2      "lYdc"YZgml"]ph]jlak]"af"daYZadalq"afkmjYf[]"Yf\
.3      "afkmjYf[]"mf\]jojalaf_+""T`Yl"ak"qgmj"]ph]ja]f[]"oal`
.4      "j]kh][l"lg"mf\]jojalaf_"[gehj]`]fkan]"_]f]jYd"daYZadalq
.5      "hgda[a]k<
.6      """""""">+""""T]dd"**"l`ak"ak"_gaf_"lg"Z]"Y"dgf_
/-      "Yfko]j"**"o`]f"F"oYk"oal`"IaZ]jlq"JmlmYd"F"oYk"af"Y
/.      "\]hYjle]fl"[Ydd]\"[dYaek"d]_Yd+""T]"o]j]"[gfklYfldq
//      "oal`"mf\]jojal]jk"Yf\"mf\]jojal]jk"ogmd\"[ge]"lg"mk"lg
/0      "\ak[mkk"`go"lg"mf\]jojal]+""T`]f"l`]j]"o]j]"hgda[a]k
/1      "[`Yf_]k"akkm]\"Zq"l`]"afkmjYf[]"k]jna[]k"g^^a[])"gf]"g^
/2      "eq"^mf[lagfk"ogmd\"Z]"lg"]phdYaf"l`gk]"[`Yf_]k"lg

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 14 of 104



                                                                 MY_]".1

 .      "mf\]jojal]jk)"af"gl`]j"ogj\k)"`go"lg"Yhhdq"l`]"[`Yf_]
 /      "lg"Yf"mf\]jojal]j+
 0      """"""""""""""T`]f"F"oYk"Yl"MmZda["P]jna[]"JmlmYd
 1      "FfkmjYf[]"@gehYfq)"l`]j]"o]j]"k]n]jYd"eYbgj"[`Yf_]k
 2      "\mjaf_"l`Yl"lae]"h]jag\"af"l`]"[gehj]`]fkan]"_]f]jYd
 3      "daYZadalq"afkmjYf[]"hgda[q+"">f\"eq"bgZ"Yka\]"^jge"l`]
 4      "dala_Ylagf"j]khgfkaZadala]k"oYk"lg"]phdYaf"`go"l`]
 5      "hgda[a]k"ogjc]\"Yf\"`go"l`]q"ogmd\"Yhhdq"oal`"j]_Yj\"lg
 6      "mf\]jojalaf_+
.-      """"""""N+""""TYk"Yfq"g^"l`ak"]ph]ja]f[]"hjagj"lg".64.<
..      """""""">+""""V]Y`+
./      """"""""N+""""Pg"FPL"[Ye]"aflg"Z]af_"]^^][lmYddq"gf
.0      "A][]eZ]j".-)"g^".64-8"ak"l`Yl"[gjj][l<
.1      """""""">+""""V]k+""T`]f"F"kYq"**"`]j]Y^l]j"o`]f"F
.2      "j]^]j"lg"FPL)"^gj"]pYehd])"o`]f"o]"lYdc]\"Z]^gj]"YZgml
.3      "l`]"[j]Ylagf"g^"l`]"@DI)"l`Yl"oYk"af"[j]Ylagf"g^"l`]
.4      "[geZaf]\"bgafl"]^^gjl"g^"l`]"log"eYbgj"jYlaf_"Zmj]Ymk
.5      "Yl"l`Yl"lae]+"">f\"F"l`afc"af".633"l`]q"e]j_]\"aflg
.6      "FPL+
/-      """"""""N+""""Pg"alsk"qgmj"mf\]jklYf\af_"l`Yl"log
/.      "jYlaf_"Zmj]Ymk"e]j_]\"af".633"lg"[j]Yl]"FPL<
//      """""""">+""""V]k+
/0      """"""""N+""""Tal`"j]kh][l"lg"l`]"f]pl"hYjY_jYh`"af
/1      "qgmj"j]hgjl+""Q`]k]"Yj]"l`]"hgda[q"**
/2      """""""">+""""TYal)"l`]"dYkl"im]klagf"qgm"Ykc]\"e]"oYk

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
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                                                                 MY_]".2

 .      "o`Yl"oYk"eq"]ph]ja]f[]"af"mf\]jojalaf_<
 /      """"""""N+"""">k"Yf"mf\]jojal]j)"hjagj"lg".64.+
 0      """""""">+""""Ff"hYjl)"af"Y\\alagf)"F"ojgl]"Y"hYh]j"gf
 1      "hjg\m[l"daYZadalq"mf\]jojalaf_)"o`a[`"ak"Y[lmYddq
 2      "_]f]jYd"mf\]jojalaf_)"l`gm_`"F"ojgl]"l`Yl"hYh]j"af
 3      ".644)"F"Ydkg"khgc]"lg"Yf\"\]Ydl"oal`"mf\]jojal]jk"o`g
 4      "o]j]"Y[lan]"af"l`]"s3-k"Yf\"s2-k"]n]f+
 5      """"""""N+""""T]j]"qgm"Yf"mf\]jojal]j"qgmjk]d^<
 6      """""""">+"""">l"l`Yl"lae]<
.-      """"""""N+""""Mjagj"lg".64.<
..      """""""">+""""Fl"\]h]f\k"gf"o`Yl"qgm"e]Yf"Zq"Yf
./      "mf\]jojal]j+""F"ogjc]\"oal`"mf\]jojal]jk+""F"`]dh]\"af
.0      "mf\]jojal]j+""F"l`afc"l`Yl"ak"mf\]jojalaf_+""Pg"F"oYk
.1      "\gaf_"mf\]jojal]j+""Aa\"F"`Yn]"Y"[Yj\"l`Yl"kYa\
.2      "mf\]jojal]j<""Kg+
.3      """"""""N+""""Vgm"o]j]"fgl"Yf"mf\]jojal]j"^gj"Yf
.4      "afkmjYf[]"[gehYfq<
.5      """""""">+""""F"\a\"fgl"`Yn]"Y"lald]"mf\]jojal]j+""F
.6      "oYk"ogjcaf_"gf"mf\]jojalaf_)"o`a[`"F"[gfka\]j]\"lg"Z]
/-      "mf\]jojalaf_+
/.      """"""""N+""""Ff"l`]"f]pl"hYjY_jYh`"l`]j]"ak"Y
//      "j]^]j]f[]"lg"l`]"l`j]]"`aklgja[Yd"Yf\"l`]f"qgm"ojal]
/0      "[gee]j[aYd)"Zml"l`Yl"k`gmd\"Z]"hj]kmeYZdq"[gehj]`]fkan]
/1      "_]f]jYd"daYZadalq"hgda[a]k"l`Yl"Yj]"YllY[`]\"lg"Bp`aZal
/2      "Kg+"08"ak"l`Yl"[gjj][l<""Q`gk]"Yj]"l`]"\g[me]flk"qgm

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 16 of 104



                                                                 MY_]".3

 .      "Yj]"j]^]jjaf_"lg<
 /      """""""">+""""V]k+
 0      """"""""N+""""Fl"kYqk"qgm"h]jkgfYddq"j]na]o]\"l`gk]
 1      "\g[me]flk+""Aa\"Yfqgf]"]dk]"j]na]o"\g[me]flk"gf"qgmj
 2      "Z]`Yd^<
 3      """""""">+""""Kg+
 4      """"""""N+""""Kg"gf]"]dk]"Ykkakl]\"qgm"af"l`]
 5      "hj]hYjYlagf"g^"qgmj"j]hgjl"gl`]j"l`Yf"[gmfk]d<
 6      """""""">+""""Q`Ylsk"[gjj][l+
.-      """"""""N+"""">f\"l`]f"qgm"Ydkg"YfYdqr]\"imgl])"[]jlYaf
..      "gl`]j"afkmjYf[]"hgda[q"af^gjeYlagf)"[dgk]"imgl])
./      "j]dYlaf_"lg"@K><
.0      """""""">+""""T]dd)"F"YfYdqr]\"l`]"@K>"hgda[q+
.1      """"""""N+""""Aa\"l`Yl"`Yn]"Yfq"Z]Yjaf_"mhgf"qgmj
.2      "ghafagf"oal`"j]kh][l"lg"l`]">_ja[mdlmjYd"hgda[a]k<
.3      """""""">+""""V]k+
.4      """"""""N+""""Ff"o`Yl"oYq<
.5      """""""">+""""Flsk"o`Yl"o]"[Ydd"Y"Zggc]f\)"l`Yl"ak"lg
.6      "kYq"al"k`go]\"l`]"caf\"[gn]jY_])"kg"l`Yl"qgm"`Y\"Y
/-      "ha[lmj]"g^"l`]"caf\"g^"[gn]jY_]"l`Yl"]pakl]\"af".631
/.      "l`jgm_`"l`]"af[]hlagf"g^"l`]"@K>"hgda[q"gj"Caj]eYfsk
//      "Cmf\"hgda[q"af"F"l`afc"al"oYk"C]ZjmYjq"g^".640+
/0      """"""""N+"""">f\"l`Yl"[gf[]hl"ak"j]^]j]f[]\"af"qgmj
/1      "j]hgjl<
/2      """""""">+""""V]k)"al"ak+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 17 of 104



                                                                 MY_]".4

 .      """"""""N+""""T]"oadd"_]l"lg"l`Yl"dYl]j+
 /      """"""""""""""T`g"k]d][l]\"l`]"\g[me]flk"l`Yl"qgm"o]j]
 0      "_gaf_"lg"j]na]o"af"hj]hYjaf_"qgmj"j]hgjl<
 1      """""""">+""""F"\gfsl"j][Ydd+""F"ogmd\"`Yn]"Ykc]\
 2      "^gj"**"F"oYk"_an]f"l`]"ghhgjlmfalq"lg"`Yn]"Yfql`af_"F
 3      "oYfl]\)"Zml"^gj"l`]"hmjhgk]"g^"l`ak"j]hgjl"al"Yhh]Yj]\
 4      "lg"e]"l`Yl"l`]"hgda[a]k"l`]ek]dn]k"hdmk"l`]"[gehdYafl
 5      "Yf\"l`]"Yfko]j"o]j]"km^^a[a]fl"lg"[gn]j"l`]"akkm]k+
 6      """"""""N+""""Aa\"qgm"YfYdqr]"l`]"hgda[a]k"l`Yl"o]j]"af
.-      "hdY[]"hjagj"lg"l`]">_ja[mdlmjYd"hgda[a]k<
..      """""""">+""""F"\a\"fgl+""F"`Yn]"af"l`]"hYkl"YfYdqr]\
./      "hgda[a]k"akkm]\"lg"gl`]j"\ag[]k]k"hjagj"lg".631+""Pg"F
.0      "`Yn]"Y"_]f]jYd"^YeadaYjalq"oal`"o`Yl"kge]"gl`]j
.1      "\ag[]k]k"hgda[a]k"**
.2      """"""""N+""""?ml"eq"im]klagf"ak"o`]l`]j"gj"fgl"qgm
.3      "YfYdqr]\"l`]"hgda[a]k"l`Yl"o]j]"akkm]\"lg"l`]"Aag[]k]
.4      "g^"Amdml`"hjagj"lg".631<
.5      """""""">+"""">f\"F"Yfko]j]\"fg)"Zml+
.6      """"""""N+""""F"Yhhj][aYl]"l`]"#Zml)#"Zml"l`]"Yfko]j"ak
/-      "fg+
/.      """"""""""""""Tal`"j]kh][l"lg"l`]"akkm]"g^"hj]daeafYjq
//      "hjae]j)"qgm"Y_j]]"oal`"e]"l`Yl"afkmjYf[]"ak"Y"jakc
/0      "eYfY_]e]fl"lggd<
/1      """""""">+""""E]q)"alsk"_gl"Y"dgl"g^"^mf[lagfk+
/2      """"""""N+""""Fl"ak"Y"jakc"eYfY_]e]fl"lggd<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 18 of 104



                                                                 MY_]".5

 .      """""""">+""""Fl"ak"Y"jakc"eYfY_]e]fl"lggd+""Fl"ak"Y
 /      "jakc"khj]Y\af_"lggd+""Flsk"Y"jakc"k`Yjaf_"lggd+
 0      """"""""N+"""">f\"l`]f"qgm"egn]"aflg"Y"\ak[mkkagf"oal`
 1      "j]kh][l"lg"YmlgegZad]"daYZadalq"afkmjYf[]"Yf\"`go"al
 2      "ogjck+
 3      """""""">+""""Oa_`l+
 4      """"""""N+""""Vgm"Y_j]]"oal`"e]"l`Yl"l`Ylsk"fgl
 5      "j]d]nYfl"lg"qgmj"ghafagf"`]j]<
 6      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
.-      """""""">+""""Kg)"F"\gfsl"Y_j]]+""F"l`afc"l`Yl"af"gj\]j
..      "lg"]phdYaf"lg"l`]"lja]j"g^"^Y[lk"`go"afkmjYf[]"ogjck)
./      "Z][Ymk]"F"fgl]\"l`Yl"egkl"h]ghd]"\gfsl"mf\]jklYf\"Yf\
.0      "`Yn]"fg"j]Ykgf"lg"cfgo"`go"afkmjYf[]"ogjck"af"l`]
.1      "[gee]j[aYd"[gfl]pl)"kg"alsk"aehgjlYfl"lg"\aklaf_mak`
.2      "Z]lo]]f"l`]"caf\"g^"afkmjYf[]"l`Yl"eYfq"h]ghd]"Yj]
.3      "kge]o`Yl"^YeadaYj"oal`)"Ymlg"gj"`ge]gof]jk"n]jkmk
.4      "[gee]j[aYd+
.5      """"""""N+""""EYn]"qgm"YfYdqr]\"l`]"[dYaek"l`Yl"`Yn]
.6      "Z]]f"eY\]"Y_Yafkl"l`]"Aag[]k]"g^"A]dml`<
/-      """""""">+""""Kg)"Fsn]"YfYdqr]\"gl`]j"Yj[`\ag[]k]
/.      "[dYaek+
//      """"""""N+""""?ml"qgm"`Yn]"fgl"YfYdqr]\"l`]"gf]k
/0      "Y_Yafkl"l`]"Aag[]k]"g^"Amdml`<
/1      """""""">+""""Q`Ylsk"[gjj][l+
/2      """"""""N+"""">f\"l`]q"Yj]"fgl"YmlgegZad]"[dYaek8"\g

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 19 of 104



                                                                 MY_]".6

 .      "qgm"Y_j]]"oal`"l`Yl<
 /      """""""">+""""F"\g)"YZkgdml]dq+""JYqZ]"l`]j]"ak"Yf
 0      "Ymlgeglan]"[dYae"l`Yl"ak"fgl"Y"j]d]nYfl"eYll]j+
 1      """"""""N+""""Tal`"j]kh][l"lg"afkmjYf[]"Z]af_"Y"jakc
 2      "khj]Y\af_"\]na[])"`go"ak"l`Yl"j]d]nYfl"lg"qgmj"ghafagf
 3      "af"l`ak"eYll]j<
 4      """""""">+""""T]dd)"al"]phdYafk"l`]"gh]jYlagfk"g^
 5      "afkmjYf[]+""Ego"afkmjYf[]"ogjck)"`go"mf\]jojal]jk"ogjc+
 6      "Fl"ak"**"kge]lae]k"h]ghd]"l`afc"al"ak"jakc"Z]Yjaf_)"Zml
.-      "o`]f"l`]"afkmjYf[]"af\mkljq"ak"^mf[lagfaf_"hjgh]jdq)
..      "alsk"jakc"khj]Y\af_+""Pg"a^"qgm"lYc]"**"qgm"cfgo"qgm
./      "Yj]"_gaf_"lg"`Yn]"kge]"dgkk]k"Yf\"qgm"`gh]"qgm"\gfsl
.0      "`Yn]"lgg"eYfq)"Zml"qgm"khj]Y\"l`Yl"jakc+""Gmkl"dac]"af
.1      "Ymlg)"fgl"]n]jqgf]"`Yk"Yf"Y[[a\]fl)"Zml"]n]jqZg\q"ak
.2      "hYqaf_"Y"hgjlagf)"hYjl"g^"o`a[`"hYqk"^gj"l`Yl"Y[[a\]fl+
.3      """"""""N+""""Pg"a^"Y"[gehYfq"ak"eYcaf_"Y"hjg^al)"l`]q
.4      "Yj]"hj]kmeYZdq"\gaf_"Y"_gg\"bgZ"Yl"jakc"khj]Y\af_<
.5      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
.6      """""""">+""""T]dd)"al"\]h]f\k"gf"o`Yl"qgm"e]Yf"Zq
/-      "hjg^al+""Q`]"a\]Y"**"l`]"^mf\Ye]flYd"a\]Y"af"l`]
/.      "afkmjYf[]"af\mkljq"ak"lg"gh]jYl]"oal`"Yf"mf\]jojalaf_
//      "_Yaf+""?ml"hjg^al"ak"Ydkg"Zmadl"af"kg"l`Yl"l`]
/0      "afkmjYf[]"af\mkljq"Zmad\k"aflg"alk"jYl]k"Y"hjg^al
/1      "eYj_af)"hYjla[mdYjdq"Yl"l`ak"lae]+"">f\"l`]f)"af
/2      "Y\\alagf)"l`]"afkmjYf[]"af\mkljq"[Yf"eYc]"**"Yk"F

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 20 of 104



                                                                 MY_]"/-

 .      "hgafl]\"gml"**"egf]q"af"gl`]j"oYqk)"o`a[`"ogmd\"Z]
 /      "hjg^alYZd]"af[dm\af_"afn]kle]fl"af[ge])"^gj"]pYehd]+
 0      """"""""N+""""Pg"qgm"\gfsl"mf\]jklYf\"l`]"[gf[]hl
 1      "mf\]jojalaf_"hjg^al<
 2      """""""">+""""F"\g+
 3      """"""""N+""""Pg"eq"im]klagf"lg"qgm"oYk7""F^"Y"[gehYfq
 4      "ak"eYcaf_"Yf"mf\]jojalaf_"hjg^al)"l`]f"Yj]"l`]q"Yj]
 5      "khj]Y\af_"l`]aj"jakc<"">j]"l`]q"mkaf_"l`]"jakc
 6      "khj]Y\af_"\]na[]"qgm"Yj]"lYdcaf_"YZgml"af"MYjY_jYh`"0<
.-      """""""">+""""F^"l`]q"eY\]"Yf"mf\]jojalaf_"hjg^al)"l`]f
..      "l`]aj"mf\]jojalaf_*dgkk"jYlag"ogmd\"Z]"hgkalan]"Yf\
./      "l`]q"ogmd\"Z]"km[[]kk^md"af"khj]Y\af_"jakc+""Pg"l`Yl
.0      "l`]q"ogmd\"hYq"l`]"afkmj]\k"Yf\"Zadd"l`]"afkmj]\k"Yf\
.1      "l`]q"ogmd\"khj]Y\"al"gml+
.2      """"""""N+"""">f\"a^"l`]q"`Y\"Y"dgkk"**
.3      """""""">+""""Rf\]jojalaf_"dgkk+
.4      """"""""N+""""@gjj][l+""Q`]f"l`]q"eYq"fgl"Z]"\gaf_"km[`
.5      "Y"_j]Yl"bgZ"Yl"khj]Y\af_"jakc<
.6      """""""">+""""Q`Ylsk"ljm]+""Q`]q"eYq"\g"gl`]j"l`af_k"lg
/-      "ljq"lg"aehjgn]+""Cgj"]pYehd])"o`]f"F"oYk"Yl
/.      "IaZ]jlq"JmlmYd"gf]"q]Yj"o]"`Y\"Y"**"F"fgla[]\"gf"l`]
//      "[dYaek"^ad]k"Ydd"g^"l`]e"klYeh]\"oal`"eafmk"0"h]j[]fl+
/0      ">f\"l`]"a\]Y"l`]j]"oYk"l`Yl"l`]"afkmj]jk)"l`]"[dYaek
/1      "h]ghd]"o]j]"kmhhgk]\"lg"hYq"d]kk"l`Yf"0"h]j[]fl"g^"o`Yl
/2      "l`]q"`Y\"hj]nagmkdq"Z]]f"hYqaf_"gf"[dYaek+""Q`Yl"ak"Y

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 21 of 104



                                                                 MY_]"/.

 .      "oYq"g^"af[j]Ykaf_"mf\]jojalaf_"hjg^al+
 /      """"""""N+""""Tal`"j]kh][l"lg"jakc"k`Yjaf_"\]na[]k)"qgm
 0      "Yj]"[gfka\]jaf_"imglY"YjjYf_]e]flk8"ak"l`Yl"o`Yl"qgm
 1      "Yj]"lYdcaf_"YZgml<
 2      """""""">+""""Kg+""F"Ye"lYdcaf_"YZgml"l`]"_]f]jYd
 3      "gh]jYlagf"af"l`]"afkmjYf[]"af\mkljq+
 4      """"""""N+""""Aa\">_ja[mdlmjYd"**
 5      """""""">+""""Q`]j]"Ydkg"ogmd\"Z]"imglY"k`Yj]"g^
 6      "hYjla[mdYj"hgda[a]k+""?ml"l`Ylsk"**"af"`]j]"l`Ylsk"fgl
.-      "o`Yl"Fse"lYdcaf_"YZgml+
..      """"""""N+""""Q`]">_ja[mdlmjYd"hgda[a]k"\g"fgl"^Ydd
./      "aflg"l`]"jakc"k`Yjaf_"[Yl]_gjq8"ak"l`Yl"[gjj][l<
.0      """""""">+""""Kg+"">dd"afkmjYf[]"hgda[a]k"^Ydd"aflg
.1      "jakc"k`Yjaf_+""Ff"gl`]j"ogj\k)">_ja[mdlmjYd"afkmj]\"l`]
.2      "Aag[]k]"Yf\"Fse"kmj]"l`]q"afkmj]\"dglk"g^"gl`]j"l`af_k+
.3      "Q`]q"Yj]"l`]j]"lg"khj]Y\"l`]"jakc"Yegf_kl"Ydd"g^"l`gk]+
.4      ">f\"qgm"Yj]"k`Yjaf_"jakc+
.5      """"""""N+""""Pg"qgmj"j]hgjl"kYqk"l`Yl"jakc"k`Yjaf_"ak
.6      "o`]f"qgm"`Yn]"Y"_jgmh"gj"hggd"g^"afkmjYf[]"[gehYfa]k
/-      "l`Yl"[geZaf]"lg"k`Yj]"l`]"jakc+
/.      """""""">+""""Q`Ylsk"Y"[]jlYaf"caf\"g^"jakc+""T`]j]"ak
//      "l`Yl<
/0      """"""""N+""""Q`Yl"ogmd\"Z]"l`]"k][gf\"k]fl]f[]"af
/1      "MYjY_jYh`"1+
/2      """""""">+""""Q`Yl"j]^]j]f[]k"lg"Y"\a^^]j]fl"caf\"g^

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 22 of 104



                                                                 MY_]"//

 .      "jakc"k`Yjaf_+""Q`Ylsk"o`]j]"Yk"qgm"Yj]"hjgZYZdq
 /      "^YeadaYj"qgm"ea_`l"`Yn]"Y"`a_`*Y[[]kk"dYq]j"oal`"Y
 0      "imglY"k`Yj]"gml"g^"Y"$.-"eaddagf"dYq]j+""Q`]j]"Yj]"log
 1      "afkmj]jk"]Y[`"lYcaf_"2-"h]j[]fl+
 2      """"""""N+""""F"l`afc"l`ak"ak"lYdcaf_"YZgml"Y"lgo]j"g^
 3      "afkmjYf[]+
 4      """""""">+""""Q`Ylsk"gf]"caf\+""Q`]j]"Ydkg"Yj]"hggdk"g^
 5      "afkmjYf[])"^gj"]pYehd])"l`]">e]ja[Yf"Km[d]Yj"FfkmjYf[]+
 6      "Flsk"Y"hggd+""Q`]j]"Yj]"Ydkg"^Yaj"hdYf"hggdk)"Ykka_f]\
.-      "jakc"hggdk+""?ml"Ydkg"af"`aklgjq)"l`]"o`gd]"gh]jYlagf
..      "ak"\]h]f\]fl"gf"jakc"k`Yj]+
./      """"""""N+""""Kgf]"g^"l`gk]"\]na[]k"Yj]"j]d]nYfl"lg"l`]
.0      ">_ja[mdlmjYd"hgda[a]k8"ak"l`Yl"[gjj][l<
.1      """""""">+""""Q`]q"Yj]"j]d]nYfl"**"o]dd)"^ajkl"g^^)
.2      "jakc"k`Yjaf_"ak"j]d]nYfl"af"l`]"afkmjYf[]"af\mkljq+
.3      "Q`Ylsk"o`Yl"F"Ye"lYdcaf_"YZgml+
.4      """"""""N+""""?ml"qgm"Yj]"fgl"lYdcaf_"YZgml"Yfql`af_
.5      "kh][a^a["lg"l`]">_ja[mdlmjYd"hgda[a]k+""Q`Yl"ak"Ydd"F
.6      "Ye"ljqaf_"lg"]klYZdak`+
/-      """""""">+""""T]dd+++
/.      """"""""N+""""F"e]Yf)"qgm"`Yn]"kh]fl"hY_]k"lYdcaf_
//      "YZgml"l`]"ZY[c_jgmf\"Yk"qgm"k]]"al"oal`"j]kh][l"lg
/0      "afkmjYf[]+""?ml"l`Yl"\g]k"fgl"Z]Yj"\aj][ldq"mhgf"qgmj
/1      "ghafagf"Yk"lg"o`]l`]j"l`]">_ja[mdlmjYd"hgda[a]k"\a\"gj
/2      "\a\"fgl"`Yn]"Yf"Y__j]_Yl]"daeal"^gj"fgf*hjg\m[lk"Zg\adq

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 23 of 104



                                                                 MY_]"/0

 .      "afbmjq"[dYaek<
 /      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
 0      """""""">+""""F"l`afc"l`Yl"l`]k]"Yj]"hYjlk"o`a[`"`]dh"Y
 1      "lja]j"g^"^Y[l"mf\]jklYf\"`go"l`]"afkmjYf[]"af\mkljq
 2      "gh]jYl]k+""F"Ye"fgl"km__]klaf_"l`Yl"IaZ]jlq"JmlmYd"gj
 3      ">_ja[mdlmjYd"o]j]"Y"hYjl"g^"Y"hggd"gj"imglY"k`Yj]+
 4      """"""""N+""""Vgm"mf\]jklYf\"l`Yl"IaZ]jlq"JmlmYd"\a\
 5      "fgl"akkm]"l`]">_ja[mdlmjYd"hgda[a]k<
 6      """""""">+""""Q`Ylsk"[gjj][l+
.-      """"""""N+""""Vgm"mf\]jklYf\"l`Yl"IaZ]jlq"JmlmYd"`Y\
..      "fgl`af_"lg"\g"oal`"l`]">_ja[mdlmjYd"hgda[a]k<
./      """""""">+""""T]dd)"F"\gfsl"cfgo"l`Yl+""F"cfgo"l`Yl"l`]
.0      "hgda[a]k"l`Yl"o]j]"akkm]\"o]j]">_ja[mdlmjYd+
.1      """"""""N+""""Ag"qgm"Z]da]n]"l`Yl">_ja[mdlmjYd"oYk"Y
.2      "kmZka\aYjq"gj"kge]`go"Yf"Y^^adaYl]"g^"IaZ]jlq"JmlmYd
.3      "Z]lo]]f".631"Yf\".640<
.4      """""""">+""""Kg"**
.5      """"""""""""""""""""JO+"WLI>7""@Yddk"^gj"Y"d]_Yd
.6      """""""""""""[gf[dmkagf+
/-      """""""">+""""F"\gfsl"cfgo+""Jq"mf\]jklYf\af_"ak"l`Yl
/.      ">_ja[mdlmjYd"akkm]\"l`]"hgda[a]k+""F"\gfsl"cfgo"a^
//      "l`]j]"oYk"Y"j]dYlagfk`ah"Yl"l`Yl"lae]"gj"o`]l`]j"Y
/0      "j]dYlagfk`ah"Yjgk]"dYl]j"gf"Z]lo]]f">_ja[mdlmjYd"Yf\
/1      "IaZ]jlq"JmlmYd+
/2      """"""""N+""""Aa\"qgm"\g"Yfq"YfYdqkak"oal`"j]kh][l"lg

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 24 of 104



                                                                 MY_]"/1

 .      ">_ja[mdlmjYd"FfkmjYf[]"@gehYfq<
 /      """""""">+""""Kg+
 0      """"""""N+""""Ag"qgm"cfgo"o`]j]"alsk"\gea[ad]\<
 1      """""""">+""""F"l`afc"F"kYo"al"gf"alk"hgda[a]k)"Zml)
 2      "fg)"F"\gfsl+
 3      """"""""N+""""Ag"qgm"cfgo"o`Yl)"a^"Yfq)"jYlaf_"Zmj]Ym
 4      "al"Z]dgf_]\"lg<
 5      """""""">+""""Kg+""F"fgla[]\"l`Yl"F"Z]da]n]"al"oYk
 6      "mkaf_"Yf"FPL"^gje)"kg"F"kmhhgk]"al"Z]dgf_]\"lg"FPL+
.-      """"""""N+""""Q`Yl"ogmd\"Z]"Y^l]j"A][]eZ]j".-)"g^".64-+
..      "Mjagj"lg"A][]eZ]j".-)"g^".64-)"\g"qgm"cfgo"o`Yl)"a^
./      "Yfq)"jYlaf_"Zmj]Ym">_ja[mdlmjYd"FfkmjYf[]"@gehYfq
.0      "Z]dgf_]\"lg<
.1      """""""">+""""F"l`afc"al"oYk"mkaf_"**"Yl"l`Yl"hgafl)"F
.2      "l`afc"al"oYk"kladd"mkaf_"l`]"FPL"@DI"hgda[q"^gje+
.3      """"""""N+""""Pg"FPL"\g]kfsl"[ge]"aflg"]pakl]f[]"mflad
.4      "A][]eZ]j".-)"g^".64-+
.5      """""""">+""""T`]f"F"lYdc"YZgml"FPL)"jYl`]j"l`Yf"Zj]Yc
.6      "al"aflg"l`]"Yf[a]fl"**"l`]"Yf[a]fl"KYlagfYd"Caj]
/-      "Tjal]jk"Yf\"l`]"gl`]j"jYlaf_"Zmj]Ym)"F"\a\"fgl"\g"l`Yl+
/.      "Pg"F"\gfsl"cfgo"o`a[`"gf]"l`]q"Z]dgf_]\"lg+""?ml"l`]q
//      "o]j]"mkaf_"Y"^gje"l`Yl"oYk"Y"[geZaf]\"^gje"g^)"Yk"F
/0      "e]flagf]\"Z]^gj])"l`]"log"eYbgj"jYlaf_"Zmj]Ymk+""Q`]j]
/1      "ak"Ydkg"Y"l`aj\"jYlaf_"Zmj]Ym+
/2      """"""""N+""""Q`]j]"Yj]"Y[lmYddq"gn]j"/--"jYlaf_

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 25 of 104



                                                                 MY_]"/2

 .      "Zmj]Ymk)"ja_`l<
 /      """""""">+""""Oa_`l+""Q`]"Za_"gf]k"o]j]"l`]"**"l`]"gf]k
 0      "l`Yl"Z][Ye]"FPL+
 1      """"""""N+""""T`a[`"o]j]"l`]"log"jYlaf_"Zmj]Ymk"l`Yl
 2      "qgm"a\]fla^a]\<
 3      """""""">+""""V]k+
 4      """"""""N+""""Vgm"[Yf"_g"lg"MYjY_jYh`"6"g^"qgmj"j]hgjl+
 5      ">f\"j]Y\"l`]"^ajkl"k]fl]f[]"lg"qgmjk]d^)"hd]Yk]+
 6      """"""""""""""EYn]"qgm"khgc]f"lg"Yfqgf]"^jge"l`]
.-      "Aag[]k]"g^"Amdml`"oal`"j]kh][l"lg"l`]aj"afkmjYf[]
..      "hjg_jYe"^jge".631"lg".640<
./      """""""">+""""Kg+
.0      """"""""N+""""Ag"qgm"`Yn]"Yfq"ZYkak"lg"eYc]"l`ak
.1      "klYl]e]fl"oal`"j]kh][l"lg"l`]"Aag[]k]"g^"Amdml`<
.2      """""""">+""""Q`Yl"egkl"Zmkaf]kk]k"Zjgm_`l"afkmjYf[]<
.3      ">j]"qgm"lYdcaf_"MYjY_jYh`"6<
.4      """"""""N+""""Ag"qgm"cfgo"o`]l`]j"l`]"Aag[]k]"g^"Amdml`
.5      "eYaflYaf]\"l`]"lqh]k"g^"afkmjYf[]"[gn]jY_]"l`Yl"qgm
.6      "`Yn]"dakl]\"af"l`]"k][gf\"k]fl]f[]8"hjgh]jlq"afkmjYf[])
/-      "]ehdgq]]"\ak`gf]klq"l`]^l"afkmjYf[])"]ehdgq]j
/.      "daYZadalq)"[gee]j[aYd"_]f]jYd"daYZadalq"afkmjYf[])"gj
//      "\aj][lgjk"Yf\"g^^a[]jk"afkmjYf[]<
/0      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
/1      """""""">+""""T]dd)"o`Yl"o]"\g"cfgo"ak"l`]q"hmj[`Yk]\
/2      "[gehj]`]fkan]"_]f]jYd"daYZadalq"afkmjYf[]+""T`]l`]j

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 26 of 104



                                                                 MY_]"/3

 .      "l`]q"ogmd\"`Yn]"l`]"gl`]j"lqh]k"g^"afkmjYf[])"hjgh]jlq
 /      "afkmjYf[]"**"hjgh]jlq"afkmjYf[])"^gj"]pYehd])"ogmd\"Z]
 0      "^ajkl*hYjlq"afkmjYf[]"Yf\"F"\gfsl"cfgo"o`]l`]j"l`]q"\a\
 1      "gj"l`]q"\a\fsl+
 2      """"""""N+""""Lf"MY_]"2"g^"qgmj"j]hgjl)"qgm"Z]_af"Y
 3      "\ak[mkkagf"g^"Y"hjg[]kk"af"o`a[`"afkmjYf[]"hgda[a]k"Yj]
 4      "hmj[`Yk]\8"ak"l`Yl"ja_`l<
 5      """""""">+""""@gjj][l+
 6      """"""""N+"""">f\"l`ak"ak"bmkl"gf]"oYq"l`Yl"qgm"k]l
.-      "^gjl`"af"MYjY_jYh`k".-"l`jgm_`".0"af"o`a[`"afkmjYf[]
..      "[Yf"Z]"hmj[`Yk]\8"ak"l`Yl"[gjj][l<
./      """""""">+""""T]dd)"F"l`afc"F"eY\]"al"ZjgY\"]fgm_`"kg
.0      "l`Yl"al"ogmd\"]f[gehYkk]k"\a^^]j]fl"caf\k"g^"afkmjYf[]
.1      "hmj[`Yk]\+""?jgY\dq"kh]Ycaf_)"afkmjYf[]"ak"hmj[`Yk]\
.2      "]al`]j"l`jgm_`"\aj][ldq"Yk"af"Y"\aj][l"ojal]j"gj
.3      "l`jgm_`"Yf"Y_]f[q"ojal]j+
.4      """"""""N+""""Ag"qgm"cfgo"`go"l`]">_ja[mdlmjYd
.5      "FfkmjYf[]"@gehYfq"`go"l`]q"\a\"l`]aj"mf\]jojalaf_<
.6      """""""">+""""F"\g"fgl+""Ego"l`]q"\a\"l`]aj
/-      "mf\]jojalaf_<""Kg+
/.      """"""""N+""""Ag"qgm"cfgo"a^"l`]"Aag[]k]"[gflY[l]\"Yf
//      "afkmjYf[]"Y_]fl<
/0      """""""">+""""F"\g"fgl+
/1      """"""""N+""""Ag"qgm"cfgo"a^"l`]"Aag[]k]"^add]\"gml"Yf
/2      "afkmjYf[]"Yhhda[Ylagf<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 27 of 104



                                                                 MY_]"/4

 .      """"""""""""""""""""JO+"WLI>7""Bn]j<
 /      """"""""N+""""?]lo]]f".631"Yf\".640<
 0      """""""">+""""F"\g"fgl+
 1      """"""""N+""""EYn]"qgm"]n]j"k]]f"Yf">_ja[mdlmjYd
 2      "FfkmjYf[]"@gehYfq"Yhhda[Ylagf"^jge"l`]".63-k"gj".64-k<
 3      """""""">+""""Kgl"l`Yl"F"j][Ydd+""?ml"l`Yl"\g]k"fgl
 4      "e]Yf"l`Yl"F"\a\"fgl+
 5      """"""""N+""""?ml"qgm"bmkl"[Yfsl"j]e]eZ]j+
 6      """""""">+""""@gjj][l+""F"`Yn]"k]]f"l`gmkYf\k"g^
.-      "Yhhda[Ylagfk+
..      """"""""""""""""""""JO+"WLI>7"">k"o]sn]"fgl]\"af
./      """""""""""""]*eYadk)"gf[]"IaZ]jlq"JmlmYd
.0      """""""""""""hjg\m[]k"l`]"\g[me]flk)"a^"l`]j]"Yj]
.1      """""""""""""Yhhda[Ylagfk"af"l`]j])"o]"Yj]"_gaf_
.2      """""""""""""lg"k`go"l`]e"lg"gmj"]ph]jlk"Yf\"l`]
.3      """""""""""""ZYk]k"^gj"l`]aj"ghafagfk"Yj]"_gaf_
.4      """""""""""""lg"Z]"mh\Yl]\"Yf\"o]"Yj]"fgl
.5      """""""""""""hjg\m[af_"l`]"oalf]kk]k"^gj"Yfgl`]j
.6      """""""""""""\]hgkalagf"Y^l]j"l`Yl+
/-      """"""""""""""""""""JP+">A>JP7"">f\"Yk"o]"`Yn]
/.      """""""""""""j]h]Yl]\dq"af^gje]\"l`]"Aag[]k]
//      """""""""""""l`]j]"Yj]"fg"km[`"\g[me]flk+
/0      """"""""""""""""""""JO+"WLI>7""Pg"qgm"Yj]"Ykcaf_
/1      """""""""""""l`]"oalf]kk"a^"`]"`Yk"k]]f"\g[me]flk
/2      """""""""""""l`Yl"\gfsl"]pakl<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 28 of 104



                                                                 MY_]"/5

 .      """"""""""""""""""""JP+">A>JP7""T]"\g"fgl"`Yn]
 /      """""""""""""hgkk]kkagf)"[mklg\q"gj"[gfljgd"g^
 0      """""""""""""Yfq"km[`"\g[me]flk+
 1      """"""""""""""""""""Jq"im]klagf"lg"l`]"oalf]kk"ak
 2      """""""""""""af"MYjY_jYh`"..)"`]"\ak[mkk]k
 3      """""""""""""afkmjYf[]"Yhhda[Ylagfk+"">f\"oYk
 4      """""""""""""o`]l`]j"gj"fgl"l`]"Aag[]k]"`Y\
 5      """""""""""""^add]\"gml"Yf"afkmjYf[]"Yhhda[Ylagf+
 6      """""""""""""Q`]"^Y[l"l`Yl"IaZ]jlq"JmlmYd"\g]k
.-      """""""""""""fgl"hj]k]fldq"`Yn]"Y"[ghq"g^"al"\g]k
..      """""""""""""fgl"e]Yf"l`Yl"gf]"\a\"fgl"]pakl"Yl
./      """""""""""""kge]"lae]+
.0      """"""""""""""""""""JO+"WLI>7""Fk"l`Yl"Y
.1      """""""""""""im]klagf<
.2      """"""""""""""""""""JP+">A>JP7""Flsk"Y"klYl]e]fl
.3      """""""""""""lg"qgm+
.4      """"""""N+""""Fk"al"hgkkaZd]"l`Yl"oal`"j]kh][l"lg"l`]
.5      "Aag[]k]"g^"Amdml`)"l`Yl"Yf">_ja[mdlmjYd"Y_]fl"Y[lmYddq
.6      "akkm]\"l`]"hgda[q<
/-      """""""">+""""T]dd)"Yf"Y_]fl"ogmd\"Z]"Y[laf_"^gj"l`]
/.      "afkmj]j"a^"al"akkm]\"l`]"hgda[q+
//      """"""""N+""""Oa_`l+"">"^a]d\"Y_]fl)"Yf">_ja[mdlmjYd
/0      "^a]d\"Y_]fl"[gmd\"`Yn]"akkm]\"**
/1      """""""">+""""Oa_`l+""Lj"Y"_]f]jYd"Y_]fl"**
/2      """"""""N+""""**"l`]"hgda[q<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 29 of 104



                                                                 MY_]"/6

 .      """""""">+""""**"gj"kge]l`af_"g^"l`Yl"kgjl+""Flsk
 /      "]flaj]dq"hgkkaZd]+
 0      """"""""""""""F"ogmd\)"bmkl"lg"_g"ZY[c"lg"l`]
 1      "Yhhda[Ylagf+"">hhda[Ylagfk"o]j]"_]f]jYddq"^Yajdq
 2      "kaeadYj"Yf\"\jY^l]\"mkmYddq"Zq"Zjgc]jk"Yf\"l`]f"mk]\"Zq
 3      "Yhhda[Yflk+
 4      """"""""N+""""T`]f"qgm"mk]"l`]"l]je"#Zjgc]j)#"Yj]"qgm
 5      "e]Yfaf_"Y"^a]d\"Y_]fl"gj"Yj]"qgm"lYdcaf_"YZgml
 6      "kge]l`af_"\a^^]j]fl<
.-      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
..      """""""">+""""Fse"lYdcaf_"YZgml"Y"Zjgc]j)"Zml"Ydkg"F
./      "ZjgY\]f]\"al"**"_gg\"hgafl"**"F"ZjgY\]f]\"al"lg"Y
.0      "hjg\m[]j+"">"hjg\m[]j"ak"Y"l]je"l`Yl"af[dm\]k"Zgl`
.1      "Y_]flk"Yf\"Zjgc]jk+
.2      """"""""N+""""Ag"qgm"cfgo"a^"l`]"Aag[]k]"`Y\"Y"Zjgc]j
.3      "Z]lo]]f".631"**
.4      """""""">+""""F"\g"fgl+
.5      """"""""N+""""**"Yf\".640<
.6      """"""""""""""Ll`]j"l`Yf"l`]"afkmjYf[]"hgda[a]k"l`Yl
/-      "qgmsn]"]pYeaf]\"YllY[`]\"lg"Bp`aZal"Kg+"0)"Yf\"l`]"@K>
/.      "af^gjeYlagf)"\g"qgm"`Yn]"Yfq"af^gjeYlagf"j]_Yj\af_"l`]
//      "Aag[]k]"g^"Amdml`sk"afkmjYf[]"hjg_jYe"^jge".631"lg
/0      ".640<
/1      """""""">+""""Kg+""Ll`]j"l`Yf"Y"_]f]jYd"ZY[c_jgmf\"oal`
/2      "j]_Yj\"lg"Y"\ag[]k]"Yf\"l`]"lqh]k"g^"afkmjYf[]"l`]q

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 30 of 104



                                                                 MY_]"0-

 .      "ogmd\"Zmq+
 /      """"""""N+"""">j]"qgm"^YeadaYj"oal`"l`]"l]je"#\Yada]k#<
 0      """""""">+""""V]k+
 1      """"""""N+"""">f\"gf[]"Y"^a]d\"Y_]fl"ogmd\"akkm]"Y
 2      "hgda[q)"l`]q"ogmd\"l`]f"k]f\"l`]"\Yada]k"lg"l`]
 3      "[Yjja]j<
 4      """""""">+""""Q`]"\Yadq"ogmd\"Z]"Y"[gf^ajeYlagf)"q]Y`+
 5      """"""""N+""""Ff"MYjY_jYh`"./)"Z][Ymk]"qgm"_g"l`jgm_`
 6      "l`]"hjg[]kk"g^"mf\]jojalaf_)"qgm"\]k[jaZ]"l`]"hgafl"af
.-      "lae]"af"o`a[`"Yf"afkmjYf[]"Zaf\]j"ak"akkm]\+
..      """""""">+""""V]k+
./      """"""""N+""""EYn]"qgm"k]]f"Y"Zaf\]j"l`Yl"oYk"akkm]\"lg
.0      "l`]"Aag[]k]"g^"Amdml`<
.1      """""""">+""""F"`Yn]"fgl+
.2      """"""""N+""""Ag"qgm"cfgo"a^"Yl"l`]"lae]"l`]"afkmjYf[]
.3      "hgda[q"oYk"hmj[`Yk]\"l`]"Aag[]k]"g^"Amdml`)"Yf\"l`ak
.4      "ogmd\"Z]"Z]lo]]f".631"Yf\".640)"o`]l`]j"gj"fgl"gj"o`]f)
.5      "F"k`gmd\"kYq)"l`]"hj]eame"oYk"hYa\<
.6      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
/-      """""""">+""""F"l`afc"l`Yl"gf]"g^"l`]"hgda[a]k
/.      "j]imaj]\"**"log"g^"l`]"hgda[a]k"F"l`gm_`l"j]imaj]\
//      "Y\nYf[]\"hYqe]fl"g^"hj]eame+""T`]f"o]"_]l"lg"l`]
/0      "hgda[a]k"o]"[Yf"n]ja^q+
/1      """"""""N+""""Pg"l`Yl"lYc]k"mk"lg"mf\]jojalaf_"hjg^alk+
/2      "Ego"afkmjYf[]"[gehYfa]k"eYc]"egf]q+"">f\"o]"lYdc]\

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 31 of 104



                                                                 MY_]"0.

 .      "YZgml"l`ak"Y"dalld]"Zal"Z]^gj]+""?ml"[Yf"qgm"\]k[jaZ]
 /      "l`]"j]dYlagfk`ah"Z]lo]]f"gh]jYlaf_"jYlagk"Yf\"hjg^al<
 0      """""""">+""""Lh]jYlaf_"jYlagk"af[dm\]"Y"hjg^al)"Zml
 1      "l`]q"\g"fgl"af[dm\]"afn]kle]fl"af[ge]+""Pg"qgm"[Yf"`Yn]
 2      "Y"mf\]jojalaf_"hjg^al)"l`Yl"ak"lg"kYq"qgm"`Yn]"ojall]f
 3      "afkmjYf[]"hgda[a]k)"_]f]jYddq"kh]Ycaf_)"Yl"l`]"lae]"o]
 4      "Yj]"lYdcaf_"YZgml"l`]"]ph]fk]"jYlag"ak"[j]Yl]\"Zq"l`]
 5      "jYlaf_"Zmj]Ym)"kg"af"Z]lo]]f"/0"lg"02"h]j[]fl+""Pg"a^
 6      "qgm"ojgl]"Y"\gddYj"g^"hj]eame"Yf\"qgm"hYa\"gml"Yfql`af_
.-      "gl`]j"l`Yf"**"lYcaf_"02"h]j[]fl"**"a^"qgm"hYa\"gml"3-
..      "h]j[]fl)"l`]f"qgm"`al"Y"2"h]j[]fl"mf\]jojalaf_"hjg^al+
./      "?ml"l`]j]"ak"hjg^al"af"Yf"]ph]fk]"jYlag"kg"qgms\"`Yn]
.0      "\gmZd]"hjg^al+"">f\"l`]f"a^"qgm"eY\]"egf]q"gf"afn]klaf_
.1      "af[ge])"]n]f"egj]"egf]q+
.2      """"""""N+""""Fk"l`Yl"2"h]j[]fl<
.3      """""""">+""""Ff"l`]"]ph]fk]"jYlagk+
.4      """"""""N+""""Fk"l`Yl"[gjj][l<
.5      """""""">+""""Qg"l`]"Z]kl"g^"eq"j][gdd][lagf)"q]k+
.6      """"""""N+""""T`Yl"a^"qgmj"]ph]fk]"jYlag"oYk".-2
/-      "h]j[]fl"gj"qgmj"gh]jYlaf_"jYlag"**"kljac]"l`Yl+
/.      """"""""""""""F^"qgmj"gh]jYlaf_"jYlag"oYk".-2"h]j[]fl<
//      """""""">+""""Q`]f"qgm"ogmd\"Z]"**"Ykkmeaf_"Y"2"h]j[]fl
/0      "hjg^al"af"l`]"]ph]fk]"jYlag"Yf\"Ykkmeaf_"qgmj"]ph]fk]
/1      "jYlag"oYk"Yk"l`]"FPL"gj"jYlaf_"Zmj]Ym"^adaf_k"o]fl)
/2      "l`]f"qgm"ogmd\"Z]"Zj]Ycaf_"]n]f)"Zml"l`]f"qgm"ogmd\

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 32 of 104



                                                                 MY_]"0/

 .      "`Yn]"afn]kle]fl"af[ge]"af"Yfq"[Yk]+
 /      """"""""N+""""Vgm"Yj]"fgl"\gaf_"kg"_j]Yl"Yl".-2
 0      "h]j[]fl<
 1      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
 2      """""""">+""""Q`]"gZb][l"ak"fgl"lg"\g".-2"h]j[]fl+""?ml
 3      "Yk"Gg`f"@gp"gf[]"kYa\)"`]"oYk"l`]"hj]ka\]fl"g^"FK>)"`]
 4      "kYa\)"F"[Yf"`Yn]"Yf".."h]j[]fl"dgkk"jYlag"Yf\"kladd
 5      "eYc]"egf]q+""L^"[gmjk]"l`Yl"oYk"\mjaf_"Y"h]jag\"g^
 6      "]plj]e]"af^dYlagf+
.-      """"""""N+"""">f\"a^"qgm"Yj]"Yl"2-"h]j[]fl)"l`]f)
..      "gZnagmkdq)"qgm"Yj]"\gaf_"em[`"Z]ll]j+
./      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
.0      """""""">+""""Q`]"a\]Y"ak"lg"c]]h"qgmj"dgkk"jYlag"mh+
.1      """"""""""""""""""""JO+"WLI>7""?]dYl]\"gZb][lagf
.2      """""""""""""lg"^gje+""F^"qgm"ogmd\"bmkl"_an]"e]
.3      """""""""""""gf]"k][gf\"lg"eYc]"Yf"gZb][lagf
.4      """""""""""""Z]^gj]"qgm"Yfko]j)"F"ogmd\
.5      """""""""""""Yhhj][aYl]"al+""F"oYfl]\"lg"eYc]"al
.6      """""""""""""[gfl]ehgjYf]gmk)"Zml+
/-      """"""""N+""""F^"qgm"`Yn]"Y"dgo]j"gh]jYlaf_"jYlag)"l`]f
/.      "qgm"ea_`l"Z]"YZd]"lg)"Yk"Yf"afkmjYf[]"[gehYfq)"\g"gl`]j
//      "l`af_k"oal`"qgmj"[YhalYd)"kYq"hml"egj]"af"afn]kle]fl
/0      "af[ge]+""Vgm"ea_`l"]phYf\"aflg"gl`]j"Yj]Yk8"ak"l`Yl
/1      "[gjj][l<
/2      """"""""""""""""""""JO+"WLI>7""LZb][lagf+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 33 of 104



                                                                 MY_]"00

 .      """""""">+""""F^"qgm"o]j]"**"l`]"a\]Y"ak)"af"^Y[l)"lg
 /      "\g"Z]ll]j"oal`"l`]"]ph]fk]"jYlag)"Z][Ymk]"l`]f"qgm"[Yf
 0      "hml"l`]"egf]q"aflg"qgmj"kmjhdmk"Yk"o]dd"Yk"gl`]j
 1      "l`af_k+""Cgj"]pYehd])"Q`]"EYjl^gj\"\][a\]\"fgl"lg"Zmq"Y
 2      "`]da[ghl]j)">]lfY"\a\"Zmq"Y"`]da[ghl]j+""Pg"qgm"[Yf"\g
 3      "l`af_k"oal`"l`]"kmjhdmk"o`]f"al"Yjak]k+""?ml"a^"qgm"[Yf
 4      "Zmad\"qgmj"hgda[q"gn]j"kmjhdmk)"l`]f"qgm"[Yf"Zmad\"Y
 5      "Za__]j"afkmj]j+
 6      """"""""N+"""">f\"a^"l`]"ghhgkal]"ak"l`]"[Yk])"a^"qgm
.-      "`Yn]"Y"n]jq"`a_`"gh]jYlaf_"jYlag"Yk"Yf"afkmjYf[]
..      "[gehYfq)"qgm"ea_`l"[gfklja[l"kge]gf]"gf"mf\]jojalaf_8
./      "ak"l`Yl"[gjj][l<
.0      """""""">+""""Pmj]+""Ff".651)"l`]"]ph]fk])"l`]"dgkk
.1      "jYlag"^gj"l`]"afkmjYf[]"af\mkljq"oYk".0/"h]j[]fl+"">f\
.2      "af".652)"al"oYk".2-"h]j[]fl+""Q`Yl"e]Yfl"l`Yl"l`]
.3      "hgda[q`gd\]j"kmjhdmk"o]fl"\gof+""Pg"l`]"afkmjYf[]
.4      "af\mkljq"[gmd\"fgl"ojal]"Yk"em[`"afkmjYf[]"Yk"l`]q
.5      "oYfl]\"gj"Yk"l`]"hmZda["oYfl]\)"o`a[`"ak"o`q"l`]j]"o]j]
.6      "kg"eYfq"`]Yjaf_k"gf"l`]"YnYadYZadalq"g^"afkmjYf[]+
/-      """"""""N+"""">f\"l`Yl"d]\"lg"Y"`Yj\]f]\"eYjc]l+
/.      """""""">+""""V]Y`)"YZkgdml]dq+
//      """"""""N+"""">f\"al"d]\"lg"Y"fYjjgoaf_"g^"[gn]jY_]8"ak
/0      "l`Yl"ja_`l<
/1      """""""">+""""Q`Ylsk"[gjj][l+
/2      """"""""N+""""Ff"MYjY_jYh`".4)"F"bmkl"oYfl"lg

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 34 of 104



                                                                 MY_]"01

 .      "mf\]jklYf\"`go"l`ak"ogjck+""O]kaklaf_"[dYaek"ak"Y"oYq
 /      "lg"eYc]"egf]q<
 0      """""""">+""""V]k+
 1      """"""""N+""""Lj"ak"al"Y"oYq"lg"j]\m[]"qgmj"]phgkmj]<
 2      """""""">+""""Fl"ak"Y"oYq"lg"j]\m[]"]phgkmj]+""?ml"al
 3      "ak"**"j]\m[af_"]phgkmj]"eYc]k"egf]q+""F^"qgm"\gfsl"hYq
 4      "[dYaek"gj"qgm"mf\]jhYq"[dYaek)"l`]f"qgm"oadd"j]\m[]
 5      "qgmj"dgkk"jYlag+""Q`Ylsk"o`q"IaZ]jlq"JmlmYd"af".64-"gj
 6      "kge]o`]j]"Z]^gj]"F"d]^l"`Y\"l`Yl"0"h]j[]fl"j]\m[lagf
.-      "j]im]kl+""Pmj]+""F"e]Yf)"alsk"imal]"kaehd]+""Vgm
..      "la_`l]f"gf"hYqaf_"[dYaek"gj"qgm"\]dYq"hYqaf_"[dYaek+
./      "F^"qgm"\]dYq"hYqaf_"[dYaek)"]n]f"a^"qgmsn]"Y_j]]\"gf"Yf
.0      "Yegmfl)"Zml"qgm"`gd\"al)"qgm"_]l"afn]kle]fl"af[ge]"gf
.1      "o`Yl"qgm"Yj]"`gd\af_+
.2      """"""""N+""""Aa\">_ja[mdlmjYd"\g"Yfq"g^"l`Yl<
.3      """""""">+""""F"\gfsl"cfgo+
.4      """"""""N+""""Ff"MYjY_jYh`".5"g^"qgmj"j]hgjl)"Yj]"qgm
.5      "\]k[jaZaf_"lg\Yqsk"eYjc]l"gj"Yj]"qgm"\]k[jaZaf_"l`]
.6      "eYjc]l"ZY[c"af"l`]"s3-k"Yf\"]Yjdq".64-k<
/-      """""""">+""""F"Ye"\]k[jaZaf_"l`]"s3-k"Yf\"s4-k+"">f\)
/.      "Zq"l`]"oYq)"_]f]jYddq"kh]Ycaf_)"F"l`afc"alsk"kladd
//      "ljm]+
/0      """"""""N+""""Pg"af"MYjY_jYh`"/-"**
/1      """""""">+""""EYnaf_"l`]e"ZY[c"lg"ZY[c"e]Yfk"F"_]l"lg
/2      "l`]"hY_]k"^Ykl]j+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 35 of 104



                                                                 MY_]"02

 .      """"""""N+""""**"l`]j]"Yj]"log"^mf\Ye]flYd"gZda_Ylagfk
 /      "Yf\"alsk"]^^][lan]dq)"o`Yl)"l`]"\mlq"lg"\]^]f\"Yf\"l`]
 0      "\mlq"lg"af\]efa^q<
 1      """""""">+""""V]k+
 2      """"""""N+"""">f\"Zmja]\"af"l`]"\mlq"lg"\]^]f\"gj"hYjl
 3      "g^"l`]"\mlq"lg"\]^]f\"ak"Ydkg"kmhhd]e]flYjq"hYqe]flk)
 4      "[gjj][l<
 5      """"""""""""""""""""JO+"WLI>7""LZb][lagf"**
 6      """""""">+""""Q`Ylsk"l`]"oYq"**
.-      """"""""""""""""""""JO+"WLI>7""**"lg"^gje+
..      """""""">+""""Q`Yl"ak"Y"oYq"g^"hYqaf_"\]^]fk]"[gklk+
./      """"""""N+""""Pg"alsk"qgmj"ghafagf"l`]"\]^]fk]"[gklk
.0      "^Ydd"oal`af"kmhhd]e]flYjq"hYqe]flk<
.1      """""""">+""""V]k+""Lj"l`]q"eYq"]pakl"af\]h]f\]fldq+
.2      "Aa^^]j]fl"hgda[a]k"\g"al"af"\a^^]j]fl"oYqk+
.3      """"""""N+""""Oa_`l+"">f\"kg"af"l`]"k][gf\"k]fl]f[]
.4      "`]j]"qgm"kYq)"#Cajkl)"kmZb][l"lg"l`]"l]jek"Yf\
.5      "[gf\alagfk"g^"l`]"hYjla[mdYj"@DI"hgda[q+++#
.6      """"""""""""""Mj]kmeYZdq"Z][Ymk]"Ydd"hgda[a]k"Yj]
/-      "\a^^]j]fl8"ak"l`Yl"ja_`l<
/.      """""""">+""""T]dd)"Ydd"**
//      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
/0      """""""">+""""Kgl"Ydd"hgda[a]k"Yj]"\a^^]j]fl+""Jgkl
/1      "hgda[a]k"^gddgo"Y"^gjeYl+""Pge]"hgda[a]k"Yj]"\a^^]j]fl+
/2      """"""""N+""""Pg"o`Yl"\g"qgm"e]Yf"Zq"l`ak)"#PmZb][l"lg

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 36 of 104



                                                                 MY_]"03

 .      "l`]"l]jek"Yf\"[gf\alagfk"g^"l`]"hYjla[mdYj"@DI"hgda[q#<
 /      """""""">+""""T]dd)"o`Yl"F"e]Yf"Zq"l`Yl"ak"qgm"`Yn]"lg
 0      "dggc"Yl"l`]"hgda[q)"l`Yl"Ydl`gm_`"l`]j]"Yj]"_]f]jYdar]\
 1      "^gjek)"Yf"af\ana\mYd"[Yjja]j"ea_`l"^ad]"l`]aj"gof
 2      "^gjek+"">k"o]"\ak[mkk]\"Z]^gj])"kge]"hgda[a]k"mk]
 3      "h]jkgfYd"afbmjq)"kge]"mk]"bmkl"Zg\adq"afbmjq+""Pg"l`]j]
 4      "Yj]"\a^^]j]fl"caf\k"g^"hgda[a]k+"">f\"kge]lae]k"l`]j]
 5      "Yj]"hgda[a]k"o`a[`"Yj]"**"l`gm_`"l`]q"Yj]"jYj])"l`]j]
 6      "Yj]"kge]"hgda[a]k"l`Yl"Yj]"o`Yl"o]"[Ydd"eYfmk[jahl+
.-      """"""""N+""""Q`]"gf]"j]Yd"daealYlagf"gf"Y"[Yjja]jsk
..      "YZadalq"lg"akkm]"Y"hgda[q"oal`"j]kh][l"lg"l]jek"Yf\
./      "[gf\alagfk"ak"YhhjgnYd"Zq"l`]"j]_mdYlgjk+""Ff"gl`]j
.0      "ogj\k)"a^"Y"j]_mdYlgj"oadd"Yhhjgn]"Y"^adaf_)"l`]f"Y
.1      "[Yjja]j"[Yf"mk]"al+
.2      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
.3      """""""">+""""D]f]jYddq)"Ydl`gm_`"Yf\)"^gj"]pYehd])"af
.4      "K]o"Vgjc)"Y"j]_mdYlgj"ea_`l"kdah"mh"Yf\"Yddgo"Y"hgda[q
.5      "lg"[gn]j"hmfalan]"\YeY_]k+""Q`]"hgda[q"kladd"ogmd\"fgl
.6      "[gn]j"hmfalan]"\YeY_]k"Z][Ymk]"alsk"Y"klYl]"hmZda[
/-      "hgda[q"fgl"lg"[gn]j"hmfalan]"\YeY_]k+
/.      """"""""N+""""Oa_`l+"">k"Y"eYll]j"g^"dYo"qgm"[Yf"fgl
//      "afkmj]"hmfalan]sk"af"K]o"Vgjc+
/0      """""""">+""""@gjj][l+
/1      """"""""N+""""?ml"Yk"dgf_"Yk"ZY[c"af"l`]"s3-k"Yf\"]Yjdq
/2      "s4-k"l`]"j]_mdYlgjk"o]j]"Yhhjgnaf_"l`]"^gjek+""Q`]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 37 of 104



                                                                 MY_]"04

 .      "[Yjja]jk"[gmd\"mk]"l`]"^gjek"af"l`Yl"bmjak\a[lagf<
 /      """""""">+""""Q`Ylsk"[gjj][l+""Q`gm_`)"bmkl"lg"Z]
 0      "[d]Yj)"l`]"jYlaf_"Zmj]Ymk"^ad]\"^gjek"Yf\"l`]f
 1      "af\ana\mYd"[gehYfa]k"ea_`l"nYjq"l`]"^gje"Yf\"^ad]"al
 2      "l`]ek]dn]k+
 3      """"""""N+""""Q`]"jYlaf_"Zmj]Ymk"^ad]\"l`]"^gjek"gf
 4      "Z]`Yd^"g^"l`]"[gehYfa]k<
 5      """""""">+""""Q`Ylsk"[gjj][l+""?ml"Y"[gehYfq"[gmd\"^ad]
 6      "alk"gof"^gje+
.-      """"""""N+""""Pg"al"[gmd\"\g"al"]al`]j"oYq<
..      """""""">+""""Lj"Zgl`+
./      """"""""N+""""Qo]flq*gf]+""Tal`"j]kh][l"lg"l`]"l`aj\
.0      "k]fl]f[]"`]j])"F"e]Yf)"Yj]"qgm"km__]klaf_"l`Yl"l`]
.1      "kaf_d]"[gn]jY_]"h]jag\"ak"l`]"j]kmdl"g^"dYokmalk"^ad]\
.2      "Y_Yafkl"j]da_agmk"gj_YfarYlagfk<
.3      """""""">+""""T`Yl"F"oYk"km__]klaf_"ak"l`Yl"kge]lae]k
.4      "hgda[a]k"^gj"[]jlYaf"caf\k"g^"]phgkmj]k"o]j]"ojall]f"gf
.5      "o`Yl"oYk"[Ydd]\"Y"[dYaek*eY\]"ZYkak+""Pg"l`Yl"kge]lae]k
.6      "qgm"ogmd\"`Yn]"Y"kaf_d]"q]Yj+""Lf"l`]"gl`]j"`Yf\)
/-      "kge]lae]k"l`]j]"o]j]"hgda[a]k"ojall]f"gf"l`]"[mjj]fl
/.      "ZYkak"kg"l`Yl"qgm"ogmd\"`Yn]"[gn]jY_]"gn]j"l]fk"g^
//      "q]Yjk+
/0      """"""""N+""""Fse"[]jlYafdq"^YeadaYj"oal`"[dYaek
/1      "j]*hgda[a]k+""Pg"j]kh][l"lg"l`]"dalld]"gf]"qgm"`Yn])
/2      "l`]"#hjgna\]"[gn]jY_]"\mjaf_"Y"kaf_d]"[gn]jY_]"h]jag\)#

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 38 of 104



                                                                 MY_]"05

 .      "qgm"Yj]"j]^]jjaf_"lg"[dYaek*eY\]"[gn]jY_]<
 /      """""""">+""""Kg+
 0      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
 1      """""""">+"""">[lmYddq)"o`Yl"Fse"j]^]jjaf_"lg"l`]j]"ak
 2      "l`Yl"\mjaf_"Y"kaf_d]"h]jag\"qgm"ea_`l"Zmq"hgda[a]k"af"Y
 3      "lgo]j+
 4      """"""""N+"""">f\"l`]f"dalld]"log)"qgm"kYq)
 5      "#+++[memdYlan]dq)"hjgna\]"l]fk)"gj"]n]f"`mf\j]\k)"g^
 6      "eaddagfk"g^"\gddYjk+++#
.-      """"""""""""""T`Yl"\g"qgm"e]Yf"Zq"[memdYlan]dq<
..      """""""">+""""Ff"gl`]j"ogj\k)"a^"qgm"**"o]dd)"l`]j]"o]
./      "ogmd\"Z]"lYdcaf_"YZgml"hgda[a]k"o`]j]"l`]j]"ak"Y"**"gj
.0      "af[a\]f[]k"af"o`a[`"l`]j]"ak"Y"[gflafmgmk"afbmjq+""Ff
.1      "l`Yl"[Yk])"a^"qgm"hmj[`Yk]\".-"eaddagf"af"q]Yj"gf])".-
.2      "eaddagf"af"q]Yj"log)".-"eaddagf"af"q]Yj"l`j]])"qgm
.3      "[gmd\"]f\"mh"oal`"$0-"eaddagf"ogjl`"g^"[gn]jY_]k
.4      "Yjakaf_"^jge"l`]"kYe]"]n]fl+
.5      """"""""N+""""Pg"[]jlYaf"]fnajgfe]flYd"[dYaek)"^gj
.6      "]pYehd])"ea_`l"^Ydd"oal`af"l`Yl"[Yl]_gjq<
/-      """""""">+""""V]k+"">f\"[]jlYaf"hjg\m[l"daYZadalq
/.      "[dYaek+
//      """"""""N+""""?g\adq"afbmjq"[dYaek)"\g"fgl"^Ydd"oal`af
/0      "l`Yl"[Yl]_gjq<
/1      """"""""""""""""""""JO+"WLI>7""Q`Yl"[Yddk"^gj
/2      """""""""""""d]_Yd"[gf[dmkagf+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 39 of 104



                                                                 MY_]"06

 .      """""""">+""""Q`Yl"ak"fgl"eq"mf\]jklYf\af_+""F"Z]da]n]
 /      "l`Yl"YkZ]klgk"[dYaek)"^gj"]pYehd])"[Yhlmj]"q]Yjk"Yf\
 0      "q]Yjk"Yf\"q]Yjk"g^"[gn]jY_]"Yf\"eYfq"\jm_"[dYaek"\g"l`]
 1      "kYe]+
 2      """"""""N+""""Ego"YZgml"**"_gaf_"ZY[c"lg"qgmj"]pYehd])
 3      "Yf"YmlgegZad]"Y[[a\]fl8"ak"l`Yl"[memdYlan]<
 4      """""""">+""""Q`Yl"ak"_]f]jYddq"fgl+""?ml"al"[gmd\"Z]+
 5      "Vgm"[gmd\"`Yn]"Yf"Y[[a\]fl"gf]"q]Yj"[Ymkaf_"afbmjq
 6      "o`a[`"Yjak]k"af"kmZk]im]fl"q]Yjk+
.-      """"""""N+"""">f\"a^"l`Yl"o]j]"lg"Z]"l`]"[Yk])"kg"a^
..      "qgm"`Yn]"Yf"Y[[a\]fl"af"q]Yj"gf]"Yf\"qgm"Zjgc]"qgmj"d]_
./      "Yf\"l`]f"q]Yj"log"Yf\"l`j]]"l`]"d]_"_gl"ogjk]"d]Y\af_
.0      "lg"Yfgl`]j"afbmjq)"alsk"qgmj"ghafagf"l`Yl"Ydd"l`j]]"g^
.1      "l`gk]"hgda[a]k"ogmd\"Yhhdq<
.2      """""""">+""""Kg)"l`Ylsk"fgl"o`Yl"F"kYa\+
.3      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje
.4      """""""""""""Yf\"[Yddk"^gj"Y"d]_Yd"[gf[dmkagf+
.5      """"""""""""""""""""JP+">A>JP7""Tal`"j]kh][l"lg
.6      """""""""""""l`]"d]_Yd"[gf[dmkagf+""F"bmkl"oYfl
/-      """""""""""""lg"Z]"[d]Yj"l`Yl"`]"ak"l]kla^qaf_"Yk
/.      """""""""""""lg"l`]"afl]jhj]lYlagf"g^"hgda[q)
//      """""""""""""o`a[`"ak"Y"d]_Yd"[gf[dmkagf+
/0      """"""""""""""""""""QEB"TFQKBPP7""F"Ye"l]kla^qaf_
/1      """""""""""""lg"l`]"[mklge"Yf\"hjY[la[]+
/2      """"""""""""""""""""JP+">A>JP7""V]Y`)"Y[lmYddq

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 40 of 104



                                                                 MY_]"1-

 .      """""""""""""fgl+
 /      """"""""N+""""Pg"l`]"Yfko]j"ak"fg<
 0      """""""">+""""Tal`"j]_Yj\"lg"l`]"Ymlg<
 1      """"""""""""""""""""JO+"WLI>7""TYal+""TYal+
 2      """""""""""""TYal+
 3      """"""""""""""""""""KYf[q)"oal`"j]kh][l"lg"qgmj
 4      """""""""""""l]klaegfq)"F"^mddq"\akY_j]]"oal`
 5      """""""""""""qgmj"[`YjY[l]jarYlagf"g^"o`Yl
 6      """""""""""""Jj+"@gffgddq"ak"`]j]"lg"l]kla^qaf_
.-      """""""""""""YZgml+
..      """""""""""""""""""">f\"eq"gZb][lagf"lg"l`]"d]_Yd
./      """""""""""""[gf[dmkagf"ak"l`Yl"qgm"Yj]"_anaf_
.0      """""""""""""`ae"`qhgl`]la[Ydk"l`Yl"F"Ye"fgl"]n]f
.1      """""""""""""kmj]"Y"k]Ykgf]\"[gn]jY_]"dYoq]j
.2      """""""""""""[gmd\"Yfko]j"oal`gml"cfgoaf_"egj])
.3      """""""""""""km[`"Yk"o`a[`"klYl]"Yj]"o]"lYdcaf_
.4      """""""""""""YZgml+""Ff"Y"nY[mme)"o]"Yj]"lYdcaf_
.5      """""""""""""YZgml"Ymlg"[dYaek)"o`]l`]j"l`]q
.6      """""""""""""lja__]j"emdlahd]"h]jag\k<""T`Yl"Yj]
/-      """""""""""""o]"lYdcaf_"YZgml<""F"gZb][l]\+""F
/.      """""""""""""d]l"`ae"Yfko]j+""E]"Yfko]j]\"kg"o]
//      """""""""""""[Yf"egn]"gf+
/0      """"""""N+""""Jq"im]klagf"ak"kaehdq"o`]l`]j"gj"fgl"l`]
/1      "mk]"g^"l`]"k][gf\"k][lagf"af"`]j]"oal`"j]kh][l"lg"l`]
/2      "[memdYlan]dq"hjgna\af_"l]fk"gj"`mf\j]\k"g^"eaddagf"g^

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 41 of 104



                                                                 MY_]"1.

 .      "\gddYjk"af"afkmjYf[]"daealk"ak"Yhhda[YZd]"lg"l`]"Zg\adq
 /      "afbmjq"[dYaek"l`Yl"`Yn]"Z]]f"Ykk]jl]\"Y_Yafkl"l`]
 0      "Aag[]k]+
 1      """"""""""""""""""""JO+"WLI>7""Q`Yl"oYkfsl"l`]
 2      """""""""""""im]klagf"qgm"`Y\+""F^"qgm"oYfl"lg
 3      """""""""""""Ykc"l`Yl"**
 4      """""""">+""""T]dd)"F"l`afc"l`Yl"ak"Y[lmYddq"Y"d]_Yd
 5      "[gf[dmkagf"**
 6      """"""""N+""""Q`]f"qgm"\gfsl"`Yn]"lg"Yfko]j"al+
.-      """"""""""""""Pg"egnaf_"gf+""MYjY_jYh`"//)"F"l`afc"ak
..      "Yf"]pYehd]"g^"o`Yl"qgm"Yj]"lYdcaf_"YZgml"gf"l`]
./      "[memdYlan]"oal`"j]kh][l"lg"YkZ]klgk"[dYaek+
.0      """"""""""""""""""""JO+"WLI>7""Fk"l`Yl"Y
.1      """""""""""""im]klagf<
.2      """"""""""""""""""""JP+">A>JP7""V]k+
.3      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
.4      """""""">+""""V]k+""?q"l`]"oYq)"F"\gfsl"jmd]"gml"l`]
.5      "hgkkaZadalq"l`Yl"l`]"Zg\adq"afbmjq"[dYaek"Ykk]jl]\"af
.6      "l`]"Yj[`\ag[]k]*lqh]"[dYaek"ea_`l"Ydkg"Z]"[memdYlan]+
/-      "Q`Yl"ak)"F"kmhhgk])"Y"im]klagf"g^"dYo)"Zml"F"[Yf
/.      "[gf[]an]"g^"l`Yl"Z]af_"Y"[memdYlan]+
//      """"""""N+""""Tal`"j]kh][l"lg"l`]"k][gf\"k]fl]f[]
/0      "l`]j])"al"klYjlk"oal`)"#Cgj"]pYehd])"af"Yf"af\ana\mYd
/1      "ak"\aY_fgk]\+++)#"Yf\"qgm"[gflafm]"gf"oal`"l`]"nYjagmk
/2      "hgda[a]k"l`Yl"ogmd\"Yhhdq)"l`Yl"ak"Ydkg"Y"d]_Yd

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 42 of 104



                                                                 MY_]"1/

 .      "[gf[dmkagf"\]h]f\af_"mhgf"o`Yl"dYo"Yhhda]k<
 /      """""""">+""""T]dd)"l`Ylsk"Ydkg"ljm]+""Flsk"Ydkg"Y
 0      "[mklge"Yf\"hjY[la[]+
 1      """"""""""""""""""""JP+">A>JP7""F"l`afc"bmkl
 2      """""""""""""Z]^gj]"o]"egn]"gf"o]"`Yn]"Z]]f"_gaf_
 3      """""""""""""^gj"Yf"`gmj+""Fs\"bmkl"dac]"lg"lYc]
 4      """""""""""""Y"k`gjl"Zj]Yc+
 5      """"""""""""'?ja]^"O][]kk+(
 6      """"""""N+""""Pg"o]"Yj]"gf"MYjY_jYh`"/0)"Z]_affaf_"g^
.-      "l`]"k][lagf"[Ydd]\"#>__j]_Yl]"Iaealk+#"">f\"af"l`ak
..      "k][lagf"qgm"klYl]"l`Yl)"#Q`ak"ak"aehgjlYfl"lg"daeal"l`]
./      "daYZadalq"g^"Yf"afkmj]j"af"hjg\m[lk"daYZadalq"o`]j]"Y
.0      "hjg\m[l"oal`"Y"\]^][l"eYq"afbmj]"l`gmkYf\k"g^"h]ghd]+#
.1      """"""""""""""Aa\"F"j]Y\"l`Yl"[gjj][ldq<
.2      """""""">+""""@gjj][l+
.3      """"""""""""""""""""JO+"WLI>7""T`]j]"Yj]"qgm<""F
.4      """""""""""""Ye"fgl"gZb][laf_+""F"bmkl"\a\fsl"k]]
.5      """""""""""""al+
.6      """"""""""""""""""""QEB"TFQKBPP7""P`]"ak"gf"l`]
/-      """""""""""""dYkl"k]fl]f[]"g^"/0+
/.      """"""""""""""""""""JP+">A>JP7"">j]"qgm"kmj]
//      """""""""""""qgmsj]"fgl"gZb][laf_<
/0      """"""""N+""""Vgm"Y_j]]"oal`"e]"l`Yl"alsk"Ydkg"ljm]
/1      "l`Yl"alsk"aehgjlYfl"lg"`Yn]"Y__j]_Yl]"daealk"^gj"Zg\adq
/2      "afbmjq"[dYaek<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 43 of 104



                                                                 MY_]"10

 .      """""""">+""""Kgl"f][]kkYjadq+""Flsk"fgl"l`]"kYe]
 /      "l`af_)"hjg\m[l"daYZadalq+""Mjg\m[l"daYZadalq"`Yk
 0      "`aklgja[Yddq"`Y\"Y__j]_Yl]"daealk+
 1      """"""""N+""""F"Yhhj][aYl]"l`Ylsk"qgmj"ghafagf+""Jq
 2      "im]klagf"ak7""Qg\Yq"Yj]"hgda[a]k"akkm]\"oal`"l`]
 3      "Y__j]_Yl]"daealk"gf"Zg\adq"afbmjq"fgf*hjg\m[lk"[Yk]k<
 4      """""""">+""""Qg\Yq<
 5      """"""""N+""""Qg\Yq+
 6      """""""">+""""F"\gfsl"cfgo+
.-      """"""""N+""""Vgm"\gfsl"cfgo"a^"**
..      """""""">+"""">k"g^"lg\Yq)"fg)"F"\gfsl+
./      """"""""N+"""">j]"qgm"^YeadaYj"oal`"Yfq"g^"l`]"hgda[a]k
.0      "akkm]\"Y^l]j".653"Zq"FPL<
.1      """""""">+""""V]k+
.2      """"""""N+""""Ag"qgm"cfgo"a^"Yfq"g^"l`gk]"hgda[a]k
.3      "hjgna\]"^gj"Y__j]_Yl]"daealk"^gj"fgf*hjg\m[lk"Zg\adq
.4      "afbmjq"[dYaek<
.5      """""""">+""""F"\gfsl"j][Ydd+
.6      """"""""N+""""Ff"l`]"f]pl"hYjY_jYh`)"/1)"Y_Yaf)"qgmj
/-      "dYkl"k]fl]f[]"Z]_afk"oal`"#Fl"ak"Y"dgf_*klYf\af_"[mklge
/.      "Yf\"hjY[la[]"af"l`]"daYZadalq"afkmjYf[]"af\mkljq+++)#
//      "[gmd\"qgm"hd]Yk]"j]Y\"l`Yl"k]fl]f[]"lg"qgmjk]d^<
/0      """""""">+""""V]k+
/1      """"""""N+""""Ag"qgm"Y_j]]"oal`"e]"l`Yl"af"l`]".63-k
/2      "l`]j]"o]j]"`mf\j]\k"g^"\a^^]j]fl"jYlaf_"Zmj]Ymk<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 44 of 104



                                                                 MY_]"11

 .      """""""">+""""Kgl"l`Yl"F"j][Ydd+""Q`]j]"o]j]"eYbgj
 /      "jYlaf_"Zmj]Ymk+
 0      """"""""N+""""Vgm"l]kla^a]\"l`Yl"l`]j]"o]j]"log<
 1      """""""">+""""Qog"eYbgj"jYlaf_"Zmj]Ymk+
 2      """"""""N+""""@Yf"qgm"\]k[jaZ]"l`]"eYjc]lhdY[]"af"l`]
 3      ".63-k"Yf\".64-k"oal`"j]kh][l"lg"jYlaf_"Zmj]Ymk<
 4      """""""">+""""F"\gfsl"cfgo"o`Yl"l`]"im]klagf"e]Yfk+
 5      """"""""N+""""@Yf"qgm"\]k[jaZ]"l`]"jgd]"g^"jYlaf_
 6      "Zmj]Ymk"af"l`]".63-k"Yf\".64-k<
.-      """""""">+""""OYlaf_"Zmj]Ymk"o]j]"mf\]j
..      "J[@YjjYf*C]j_mkgf"o]j]"Yddgo]\"lg"hmdd"lg_]l`]j
./      "af^gjeYlagf"lg"\]n]dgh"[geegf"^gjek+""Q`Ylsk"o`Yl"l`]q
.0      "\a\+""Pg"l`]"af\mkljq"oYk"mkaf_)"_]f]jYddq"kh]Ycaf_)
.1      "[geegf"^gjek+""Q`]q"`Y\"mk]\"[geegf"^gjek"Z]^gj]".610)
.2      "Zml"l`]j]"oYk"Y"Yflaljmkl"[Yk]"o`a[`"hjg`aZal]\"l`Yl+
.3      ">f\"l`]f"af".610"gj"s11"J[@YjjYf*C]j_mkgf"oYk"]fY[l]\
.4      "o`a[`"Yddgo]\"jYlaf_"Zmj]Ymk"lg"[gjhgjYlan]+""Fl"`Yk
.5      "l`]"Y\nYflY_]"l`Yl"hgda[q"`gd\]jk"Zmq"hgda[a]k"Yf\
.6      "mf\]jklYf\"l`]"_]f]jYd"l]jek"g^"l`]"hgda[q+""Pg"o`]f
/-      "qgm"Zmq"Yf"YmlgegZad]"hgda[q)"^gj"]pYehd])"qgm"\gfsl
/.      "Y[lmYddq"`Yn]"lg"j]Y\"al+
//      """"""""N+""""Ego"o]j]"l`]"Zmj]Ymk"_]g_jYh`a[Yddq
/0      "YjjYf_]\"ZY[c"af".63-k"Yf\".64-k<
/1      """""""">+""""Q`]"eYbgj"Zmj]Ymk"o]j]"[gmfljqoa\]"Yf\
/2      "l`]f"l`]j]"o]j]"af\ana\mYd"Zmj]Ymk"l`Yl"o]j]"dg[Yd+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 45 of 104



                                                                 MY_]"12

 .      "Cgj"]pYehd])"l`]j]"oYk"Yf"af\]h]f\]fl"emlmYd"Zmj]Ym)
 /      "o`a[`"oYk"af"@`a[Y_g+""Q`ak"ak"eq"j][gdd][lagf+
 0      """"""""N+""""T`Yl"j]^]j]f[]"eYl]jaYd"Yj]"qgm"j]dqaf_
 1      "mhgf"oal`"j]kh][l"lg"l`Yl"k]fl]f[])"#Fl"ak"Y
 2      "dgf_*klYf\af_"[mklge"Yf\"hjY[la[]"af"l`]"daYZadalq
 3      "afkmjYf[]"af\mkljq"^gj"afkmjYf[]"[gehYfa]k"lg"k]dd
 4      "hjaeYjadq"@DI"afkmjYf[]"mkaf_"l`]"klYf\Yj\ar]\
 5      "afkmjYf[]"^gjek"Yf\"hjgnakagfk"\]n]dgh]\"Zq"l`]"jYlaf_
 6      "Zmj]Ym"Yf\"dYl]j"l`]"FPL<#
.-      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
..      """""""">+""""V]Y`+""Fse"fgl"imal]"kmj])"a^"qgm"klYl]
./      "al"Y_Yaf)"F"oadd"Yfko]j"al+""F"Ye"fgl"imal]"kmj]"o`Yl
.0      "qgm"Yj]"_]llaf_"Yl+
.1      """"""""N+""""T`Yl"ak"qgmj"Yml`gjalq"gj"kmhhgjl"^gj
.2      "l`Yl"hjghgkalagf<
.3      """""""">+""""I]lsk"k]]+""V]Yjk"g^"ogjcaf_"oal`"l`]
.4      "jYlaf_"Zmj]Ymk)"FPL"af"hYjla[mdYj+""Jq"`aklgja[Yd
.5      "]ph]ja]f[]"oal`"l`]">F>)"o`a[`"oYk"Y"k]hYjYlagf"^jge
.6      "Q`]"KYlagfYd"Caj]"Rf\]jojal]jk)"gf]"g^"jYlaf_"Zmj]Ymk+
/-      "Q`]"^Y[l"l`Yl"F"l]kla^a]\"gf"l`ak"akkm]"Yf\"`Y\"lg
/.      "d]Yjf"YZgml"al"^jge"nYjagmk"h]ghd]+"">f\"F"Z]da]n]"alsk
//      "[gn]j]\"af"eq"mf\]jojal]j"hYh]j"af".646)"o`a[`"F"ojgl]
/0      "^gj"@gf_j]kk"j]_mdYlgjk+""Fl"oYk"mk]\"Yk"Y"ljYafaf_
/1      "eYfmYd+""Flsk"\ak[mkk]\+
/2      """"""""N+""""T`Yl"ak"qgmj"kmhhgjl"Yf\"Yml`gjalq"^gj

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 46 of 104



                                                                 MY_]"13

 .      "l`Yl"klYl]e]fl"oal`"j]kh][l"lg".631"lg".640<
 /      """"""""""""""""""""JO+"WLI>7"">kc]\"Yf\
 0      """""""""""""Yfko]j]\+
 1      """""""">+"""">k"F"kYa\)"F"`Y\"lg"l]kla^q"YZgml"l`Yl+
 2      ">f\"kg"F"`Y\"lg"d]Yjf"YZgml"o`Yl"l`]"[gf\alagfk"o]j]+
 3      """"""""N+""""T`]f"\a\"qgm"l]kla^q"YZgml"l`Yl<
 4      """""""">+""""L`)"qgmsn]"_gl"eq"@S"kge]o`]j]+""?ml"F
 5      "l]kla^a]\"gf"hjY[la[Yddq"]n]jq"akkm]+
 6      """"""""N+""""F"Z]da]n]"qgmj"@S"ak"YllY[`]\"lg"l`Yl
.-      "j]hgjl<
..      """""""">+""""Kgl"l`ak"gf]+""L`)"q]k)"l`ak"ak+""Flsk
./      "log*ka\]\"j]\m[af_"l`]"hYh]j+
.0      """"""""""""""@]jlYafdq"l`]j]"oYk"gf]"af".646"**"g`)
.1      "Fse"kgjjq)"MY_]"01"g^"eq"@S+
.2      """"""""N+""""Fse"lYdcaf_"YZgml"hjagj"lg".640+
.3      """""""">+""""Mjagj"lg".640"**"o]dd)"qgm"eakmf\]jklgg\
.4      "eq"Yfko]j+""F"\a\fsl"kYq"l`Yl"F"l]kla^a]\"hjagj"lg
.5      ".640+""T`Yl"F"kYa\"oYk"l`Yl"F"`Y\"lg"l]kla^q"gf"Z]`Yd^
.6      "g^"l`]"afkmjYf[]"af\mkljq"af[dm\af_"l`]"`aklgjq"g^"`go
/-      "l`]"afkmjYf[]"af\mkljq"gh]jYl]k+"">f\"l`gk]"al]ek"g^
/.      "l]klaegfq)"kge])"Zml"fgl"Ydd"g^"o`a[`"ogmd\"`Yn]
//      "af[dm\]\"\ak[mkkagfk"g^"l`Yl"kgjl"g^"akkm])"Yj]"dakl]\
/0      "gf"MY_]"01"Yf\"02+"">dl`gm_`)"alsk"fgl"Yf"af[dmkan]
/1      "dakl"g^"eq"l]klaegfq+
/2      """"""""N+""""Tgmd\"qgm"Y_j]]"l`Yl"lg\Yq"FPL"`Yk"gn]j

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 47 of 104



                                                                 MY_]"14

 .      ".-)---"\a^^]j]fl"Y[lan]"^gjek<
 /      """""""">+""""T]dd)"FPL"ak"[gehd]l]dq"\a^^]j]fl"fgo
 0      "l`Yf"al"oYk"]n]j"kaf[]"l`]"af\mkljq"Yflaljmkl"[Yk]k)"Y
 1      "lglYddq"\a^^]j]fl"[gehYfq+
 2      """"""""N+""""Oa_`l+""F"Y_j]]"oal`"qgm+
 3      """"""""""""""Jq"im]klagf"ak7""Qg\Yq)"qgm"Y_j]]"oal`"e]
 4      "l`Yl"FPL"`Yk"gn]j".-)---"Y[lan]"^gjek<
 5      """""""">+""""Kg)"l`Yl"F"\gfsl"Y_j]]"Z][Ymk]"F"\gfsl
 6      "cfgo+
.-      """"""""N+""""LcYq+""Vgm"\gfsl"cfgo<
..      """""""">+""""Kg+
./      """"""""N+""""?Y[c"af".631"lg".640)"\g"qgm"cfgo"`go
.0      "eYfq"^gjek"Yf\"]f\gjk]e]flk"nYjagmk"jYlaf_"Zmj]Ymk"`Y\<
.1      """""""">+""""MjgZYZdq"imal]"Y"^]o)"Zml"F"\gfsl"cfgo"Y
.2      "fmeZ]j+
.3      """"""""N+""""Tal`"j]kh][l"lg"l`ak"hjghgkalagf)"l`ak
.4      "MYjY_jYh`"/1)"qgm"Yj]"km__]klaf_"l`Yl"l`]j]"ak"Y
.5      "klYf\Yj\ar]\"hgda[q"^gje"Yf\"hjgnakagf<
.6      """""""">+""""V]k+
/-      """"""""N+""""T`Yl"ak"l`Yl"^gje<
/.      """""""">+""""T]dd)"o]"`Yn]"Ydj]Y\q"Z]]f"lYdcaf_"YZgml
//      "al+""?ml"l`]"klYf\Yj\"^gje"oYk"l`]"[gehj]`]fkan]
/0      "_]f]jYd"daYZadalq"afkmjYf[]"hgda[q)"o`a[`"ak"Yk"F"kYa\
/1      "Z]^gj]"oYk"[j]Yl]\"af".61.)"Yf\"l`]f"[gmd\"Z]
/2      "af\ana\mYddq"lYadgj]\"kge]lae]k)"Zml"l`]f"qgm"ogmd\

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 48 of 104



                                                                 MY_]"15

 .      "`Yn]"lg"^ad]"Yk"o]"\ak[mkk]\"Z]^gj])"qgm"ogmd\"`Yn]"lg
 /      "^ad]"Yf"Ye]f\e]fl+
 0      """"""""N+""""Fse"bmkl"ljqaf_"lg"mf\]jklYf\"l`ak
 1      "k]fl]f[]+""Pg"alsk"qgmj"hgkalagf"l`Yl"Y"@DI"afkmj]j)
 2      "km[`"Yk">_ja[mdlmjYd)"ogmd\"`Yn]"`Y\"lg"mk]"Y".61."^gje
 3      "gj"Y".622"^gje"gj"Y".633"^gje<
 4      """""""">+""""Fl"ogmd\"`Yn]"mk]\"**
 5      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
 6      """""""">+""""Fl"ogmd\"`Yn]"mk]\"l`]"l`]f*[mjj]fl
.-      "[gehj]`]fkan]"_]f]jYd"daYZadalq"afkmjYf[]"hgda[q+
..      """"""""N+""""TYk"al"j]imaj]\"lg"\g"l`Yl<
./      """""""">+""""Rfd]kk"al"`Y\"^ad]\"Yfgl`]j"^gje)"al
.0      "ogmd\"`Yn]"Z]]f"j]imaj]\"lg"mk]"l`Yl+"">f\"al"ogmd\"fgl
.1      "`Yn]"^al"l`]"Zmkaf]kk"eg\]d"g^"hjgna\af_"Y"hgda[q`gd\]j
.2      "oal`"Y"cfgof"imYflalq+
.3      """"""""N+""""?]lo]]f".631"Yf\".640)"\g"qgm"cfgo"a^
.4      ">_ja[mdlmjYd"**"gj"Y[lmYddq"kljac]"l`Yl+
.5      """"""""""""""Mjagj"lg".631"l`jgm_`".640)"\g"qgm"cfgo
.6      "a^">_ja[mdlmjYd"`Y\"^ad]\"Yfgl`]j"^gje"kg"l`Yl"al"[gmd\
/-      "\]naYl]"^jge"l`]".61.)".622"gj".633"^gjek<
/.      """""""">+""""Kg)"F"\g"fgl+
//      """"""""N+""""Fl"ak"hgkkaZd]"l`Yl">_ja[mdlmjYd"\a\
/0      "l`Yl8"ak"l`Yl"[gjj][l<
/1      """""""">+""""F"\gfsl"cfgo+
/2      """"""""N+""""?ml"alsk"hgkkaZd]">_ja[mdlmjYd"[gmd\"`Yn]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 49 of 104



                                                                 MY_]"16

 .      "eY\]"Y"^adaf_"oal`"l`]"j]_mdYlgj<
 /      """""""">+""""Fl"ak+
 0      """"""""N+"""">f\"a^">_ja[mdlmjYd"eY\]"km[`"Y"^adaf_
 1      "oal`"Y"j]_mdYlgj)"l`]f"al"ogmd\"fgl"`Yn]"`Y\"lg"^gddgo
 2      "gf]"g^"l`]k]"klYf\Yj\ar]\"^gjek<
 3      """""""">+""""Fl"ogmd\"fgl+""Ego]n]j)
 4      "[gee]j[aYddq*kh]Ycaf_"al"ogmd\"Z]"n]jq"g\\"lg"fgl"\g
 5      "kg+
 6      """"""""N+""""Ag"qgm"cfgo"a^">_ja[mdlmjYd"eY\]"Yfq"km[`
.-      "^adaf_<
..      """""""">+""""F"\g"fgl+"">f\)"^mjl`]jegj])"l`]"hgda[a]k
./      "l`Yl"F"`Yn]"k]]f"dggc"dac]"l`]q"Yj]"klYf\Yj\"@DI
.0      "hgda[a]k+
.1      """"""""N+""""Pg"l`]"hgda[q"l`Yl"l`]"Aag[]k]"hjgna\]\
.2      "ak"Y"egkl"**"MYjl"/"gj"Mjgnakagf"/)"ak"l`]".631"lg".640
.3      "hgda[q<
.4      """""""">+"""">k"^Yj"Yk">_ja[mdlmjYd"l`Yl"ak)"Yk"F
.5      "mf\]jklYf\"al)"l`]"egkl"[gehd]l]"hgda[q+
.6      """"""""N+""""Pg"l`Yl"ak"l`]".622"hgda[q<
/-      """""""">+""""Cgje<
/.      """"""""N+""""V]k+
//      """""""">+""""F"l`afc"kg+
/0      """"""""N+""""Qo]flq*^an]+""#T`]f"[gehYfa]k"`Yn]
/1      "dgkk]k)"l`]q"j]hgjl"lg"FPL+#""T`Yl"\g"qgm"e]Yf"Zq"l`Yl<
/2      """""""">+""""T]dd)"dgkk]k"**"l`]"jYlaf_"Zmj]Ymk"[j]Yl]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 50 of 104



                                                                 MY_]"2-

 .      "jYl]k"^gj"Yf"afkmjYf[]+""Pg)"^gj"]pYehd])"^gj"hjg\m[l
 /      "daYZadalq"l`]j]"Yj]"jYl]k+""F^"qgm"`Yn]"Y"eY[`af]"lggd)
 0      "Yf\"mf\]jojal]j"[Yf"dggc"Yl"FPL"jYlaf_k"Yf\"oadd"^af\
 1      "kge]"af\mkljaYd"[g\]"o`a[`"]f[gehYkk]k)"lg"l`]"Z]kl"g^
 2      "l`]"mf\]jojal]jsk"YZadalq)"eY[`af]"lggdk+"">f\"l`Yl
 3      "oadd"_an]"Y"jYl]+""Kgo)"l`Yl"jYl]"eYq"Z]"Y"nY_m]"jYl]+
 4      "Fl"ea_`l"Z]"o`Yl"ak"[Ydd]\"Yf">"jYl])"o`a[`"ZYka[Yddq
 5      "ak"l`]"FPL"\g]kfsl"`Yn]"]fgm_`"af^gjeYlagf"lg"eYc]"Y
 6      "[gf[j]l]"jYl]+""F^)"gf"l`]"gl`]j"`Yf\)"l`]j]"ak"Y"caf\
.-      "g^"hjg\m[l"l`Yl"`Yk"Y"dgl"g^"dgkk]k"Yf\"l`]j]"ak"Y"dgl
..      "g^"[gf[j]l]"af^gjeYlagf"YZgml"al)"l`]f"l`]q"eYq"^af\"Y
./      "kh][a^a["jYl]+"">f\"l`]"mf\]jojal]j"[Yf"mk]"l`Yl"jYl]
.0      "gj"eg\a^q"al"af"nYjagmk"oYqk+
.1      """"""""N+"""">"[gehYfq"\g]kfsl"`Yn]"lg"j]dq"gf"l`]"FPL
.2      "af^gjeYlagf)"[gjj][l<
.3      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
.4      """""""">+""""Fl"ak"[gjj][l"l`Yl"l`]q"[Yf"\]n]dgh"Y
.5      "jYl]"g^"l`]aj"gof+""Q`]j]"ak"**"qgm"cfgo)"l`]"hjgZd]e
.6      "hYjla[mdYjdq"oal`"_]f]jYd"daYZadalq"ak"l`Yl"qgm"\gfsl
/-      "`Yn]"]fgm_`"[gf[j]l]"\YlY+""Pg)"^gj"]pYehd])"gf
/.      "YmlgegZad]k)"qgm"[Yf"**
//      """"""""N+""""F"\gfsl"l`afc"o]"Yj]"kmhhgk]\"lg"lYdc
/0      "YZgml"YmlgegZad]k+
/1      """""""">+""""F"oYk"ljqaf_"lg"]phdYaf"jYlaf_+
/2      """"""""N+""""Q`Yl"oYk"Y"ka\]ZYj+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 51 of 104



                                                                 MY_]"2.

 .      """""""">+""""Kgloal`klYf\af_"qgmj"ka\]ZYj)"F"oYk
 /      "ljqaf_"lg"]phdYaf"`go"jYlaf_"ogjck+""Pg)"^gj"]pYehd])
 0      "PlYl]"CYje)"l`Ylsk"l`]"dYj_]kl"Ymlg"afkmj]j)"`Yk"]fgm_`
 1      "Ymlg"\YlY"kg"l`]q"[Yf"l]dd"o`]l`]j"j]\"[Yjk"Yj]"egj]
 2      "dac]dq"lg"`Yn]"Y[[a\]flk"gj"fgl+""Tal`"j]kh][l"lg
 3      "hjg\m[l"Yf\"[gee]j[aYd"daYZadalq)"l`]j]"bmkl"akfsl"l`Yl
 4      "caf\"g^"af^gjeYlagf+""Pg"FPL"ak"l`]"Z]kl"\]hgkalgjq"^gj
 5      "af^gjeYlagf+""Pg"o`]f"Yf"afkmjYf[]"[gehYfq"`Yk"dgkk]k)
 6      "al"lmjfk"al"aflg"FPL+""FPL"l`]f"[gfn]jlk"l`Yl"aflg"**
.-      "[memdYl]k"l`Yl"Yf\"lmjfk"al"aflg"jYl]k+
..      """"""""N+""""Fk"l`]"j]\"[Yj"PlYl]"CYje"]pYehd]"Y
./      "`qhgl`]la[Yd"gj"\g"qgm"cfgo"l`Yl<
.0      """""""">+""""Fl"mk]\"lg"Z]"ljm]+
.1      """"""""""""'L^^"l`]"j][gj\+(
.2      """"""""N+""""Pg"oal`"j]kh][l"lg"l`ak"MYjY_jYh`"/2)"qgm
.3      "Yj]"Y_Yaf"j]^]jjaf_"lg"FPL+""F"oYfl"lg"eYc]"kmj]"o]"Yj]
.4      "[d]Yj"af"l]jek"g^"l`]"fge]f[dYlmj]"o]"Yj]"mkaf_"`]j]+
.5      "?][Ymk]"FPL"\g]kfsl"[ge]"af"]pakl]f[]"mflad"A][]eZ]j
.6      ".-)"g^".64-+""T`]f"qgm"Yj]"mkaf_"l`]"l]je"#FPL#"`]j])
/-      "o`Yl"Yj]"qgm"j]^]jjaf_"lg<
/.      """""""">+""""T`]f"`]j]"F"Ye"j]^]jjaf_"lg"FPL"Zml"Ydkg
//      "l`]"hj]\][]kkgjk"g^"FPL"gh]jYl]\"af"l`]"kYe]"oYq+
/0      "O]e]eZ]j)"F"ogjc]\"^gj">F>)"o`a[`"oYk"Y"khdafl]j"gj"Y
/1      "Zj]Ycg^^"^jge"gf]"g^"l`]"jYlaf_"Zmj]Ymk+""Q`Yl"oYk
/2      "j]imaj]\"Zq"Yflaljmkl"Y[lagf+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 52 of 104



                                                                 MY_]"2/

 .      """"""""""""""?ml)"ZYka[Yddq)"l`]"afkmjYf[]"af\mkljq"ak
 /      "Yddgo]\"lg"[ggj\afYl]"af"oYqk"l`Yl"gl`]j"af\mklja]k
 0      "ogmd\"fgl"Z]"YZd]"lg"\g"af"gj\]j"lg"[j]Yl]"[geegf"^gjek
 1      "Yf\"Ydkg"lg"\]n]dgh"jYl]k+
 2      """"""""N+""""Pg"F"\gfsl"cfgo"a^"qgm"Yfko]j]\"eq
 3      "im]klagf"gj"fgl+""Tal`"j]kh][l"lg"MYjY_jYh`"/2)"Yj]"qgm
 4      "j]^]jjaf_"lg"Zgl`"FPL"Yf\"l`]"jYlaf_"Zmj]Ymk"hj]*FPL<
 5      """""""">+""""V]k+""Q`]"gh]jYlagf"g^"l`]"jYlaf_
 6      "Zmj]Ymk)"af"_]f]jYd+
.-      """"""""N+""""MYjY_jYh`"/3)"kg"qgm"bmkl"j]^]j]f[]\"Yf
..      ">"jYl]+""Pg"a^"qgm"[gmd\"fgl"_]l"Y"jYlaf_"gj"Y"jYl]
./      "^jge"l`]"eYfmYd)"qgm"[gmd\"[Ydd"l`]"afkmjYf[]"[gehYfq
.0      "Yf\"_]l"Yf">"jYl]8"ak"l`Yl"[gjj][l<
.1      """""""">+""""F"\gfsl"l`afc"l`Ylsk"[gjj][l+
.2      """"""""N+""""LcYq+
.3      """""""">+""""T`Yl"F"e]Yfl"oYk"l`]"afkmjYf[]"[gehYfq
.4      "ogmd\"_]l"Y"eYfmYd"^jge"FPL"Yf\"al"ea_`l"dakl)"^gj
.5      "]pYehd])"lmjc]q"hghh]lk+""Q`]j]"Yj]"kg"^]o"lmjc]q
.6      "hghh]l"[Yk]k"l`Yl"l`]q"Yj]"klYla[Yddq"mfj]daYZd]+""Pg
/-      "FPL"ogmd\"hml"Yf">+""Pg"o`]f"0J"oYk"km]\"Zq"Y"ogeYf"o`g
/.      "koYddgo]\"Y"lmjc]q"hghh]l)"l`Yl"oYk"l`]"gfdq"cfgof
//      "lmjc]q"hghh]l"[Yk]+""Q`Yl"ak"fgl"Y"ZYkak"lg"^gje"Y"jYl]
/0      "l`Yl"ogmd\"Z]"mk]^md+""Pg)"af"]^^][l)"FPL"ak"kYqaf_"o]
/1      "\gfsl"`Yn]"Y"kh][a^a["jYl]"^gj"lmjc]q"hghh]l)"kg"`]j]sk
/2      "Yf">)"`]j]sk"o`Yl"o]"l`afc"al"ea_`l"Z]"gj"qgm"ea_`l

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 53 of 104



                                                                 MY_]"20

 .      "oYfl"lg"mk]"Y"kaeadYj"af\mkljaYd"[g\]+
 /      """"""""N+""""Aa\"]Y[`"[gehYfq"`Yn]"alk"gof"jYlaf_
 0      "eYfmYdk<
 1      """""""">+""""Q`]q"_gl"l`]aj"jYlaf_"eYfmYdk"^jge"FPL
 2      "Yf\"l`]f"l`]q"ea_`l"eg\a^q"l`]e"a^"l`]q"`Y\"Y
 3      "hYjla[mdYj"]ph]jlak]+""Pg)"^gj"]pYehd])"IaZ]jlq"JmlmYd)
 4      "`Y\"[]jlYaf"**"o`]f"F"oYk"l`]j])"`Y\"[]jlYaf"Zmkaf]kk
 5      "Yj]Yk"o`]j]"l`]q"_gl"Y"dgl"g^"l`]aj"gof"af^gjeYlagf+
 6      "Pg"o]"mf\]jojgl]"^]\]jYl]\"Yf\"Ydda]\"Yf\"Ydegkl"]n]jq
.-      "\]hYjle]fl"klgj]"af"l`]"Rfal]\"PlYl]k+
..      """"""""N+""""Pg"]n]jqZg\q"\a\fsl"FPL+""BY[`"[gehYfq
./      "`Y\"alk"gof"jYlaf_"eYfmYd<
.0      """""""">+""""BY[`"[gehYfq"l`Yl"oYk"Y"e]eZ]j"g^"FPL"`Y\
.1      "Yf"FPL"jYlaf_"eYfmYd)"Zml"l`]q"o]j]"]fYZd]\"lg"gj
.2      "]flald]\"lg"[`Yf_]"al)"Zml"l`]q"`Y\"lg"j]hgjl+""T`]f
.3      "l`]q"j]hgjl]\"l`]aj"dgkk]k)"l`]q"`Y\"lg"j]hgjl"o`Yl
.4      "l`]q"o]j]"\gaf_"af"gj\]j"lg"_]l"[gfkakl]fl"jYl]k+""Vgm
.5      "oYfl"lg"eYc]"kmj]"l`]"jYl]k"ogmd\"Z]"ZYk]\"gf"l`]"caf\
.6      "g^"hgda[q"l`Yl"oYk"akkm]\)"o`]l`]j"al"`Y\"Yf"Y__j]_Yl]
/-      "gj"fg"Y__j]_Yl]+"">f\"l`]f"a^"qgm"o]j]"mkaf_"**
/.      "\a^^]j]fl"lqh])"mkaf_"hjg\m[l"daYZadalq)"a^"qgm"`Y\
//      "hgda[a]k)"qgm"`Y\"66+6"h]j[]fl"g^"hgda[a]k"`Y\"Yf
/0      "Y__j]_Yl]"^gj"hjg\m[l"daYZadalq+""?ml"a^"kge]gf]"oYk
/1      "ojalaf_"Y"hgda[q"oal`gml"Yf"Y__j]_Yl]"^gj"hjg\m[l
/2      "daYZadalq"Yf\"l`]f"klYjl]\"j]hgjlaf_)"l`Yl"af^gjeYlagf

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 54 of 104



                                                                 MY_]"21

 .      "ogmd\"[j]Yl]"afY[[mjY[q"af"l`]"jYlaf_+
 /      """"""""N+""""F"Yhhj][aYl]"l`]"]f\"g^"l`Yl"Yfko]j+""?ml
 0      "l`Yl"\g]kfsl"e]Yf"Yf"afkmjYf[]"[gehYfq"[gmd\fsl"akkm]"Y
 1      "hgda[q"oal`"Yf"Y__j]_Yl]"gf"Y"fgf*hjg\m[l"Zg\adq"afbmjq
 2      "ZYkak<
 3      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
 4      """""""">+""""Q`Ylsk"[gjj][l+""F"\a\fsl"kYq"l`Yl+
 5      """"""""N+""""Pg"l`]"[gehYfq"[gmd\"`Yn]"\gf]"l`Yl<
 6      """""""">+"""">"[gehYfq"[gmd\"`Yn])"l`gm_`"kge]"ogmd\
.-      "Z]"Yf"g\\"\m[c+
..      """"""""N+"""">f\"F"l`afc)"Yk"qgm"kYa\)"l`]"afkmjYf[]
./      "[gehYfq"[Yf"ogjc"oal`"l`]"jYlaf_"Zmj]Ymk"km[`"l`Yl"l`]q
.0      "[gmd\"\]naYl]"^jge"Y"ZYk]"jYl]+
.1      """""""">+""""Fk"l`Yl"Y"im]klagf<
.2      """"""""N+""""V]Y`+""Fk"l`Yl"[gjj][l<
.3      """""""">+""""F"l`afc"l`]q"[gmd\)"Zml"F"ogmd\"Z]"n]jq
.4      "kmjhjak]\"^gj"nYjagmk"j]Ykgfk"a^"l`Yl"ogmd\"`Yhh]f+
.5      "Vgm"[gmd\"a^"qgm"`Y\"]fgm_`"af^gjeYlagf+"">k"F"kYa\)
.6      "IaZ]jlq"`Y\"Y"dgl"g^"af^gjeYlagf"gf"\]hYjle]fl"klgj]k
/-      "kg"qgm"[gmd\"\]n]dgh"[]jlYaf"jYl]k"^gj"l`Yl"hmjhgk]+
/.      "?ml)"_]f]jYddq"kh]Ycaf_)"qgm"\gfsl"\]n]dgh"qgmj"gof
//      "jYl]"a^"qgm"Yj]"Y"keYdd"mf\]jojal]j"bmkl"oaddq*faddq
/0      "Yf\"qgmj"j]hgjlaf_"lg"FPL"ogmd\"`Yn]"lg"Z]"\a^^]j]fl+
/1      """"""""N+""""Ag"qgm"cfgo"`go"Za_"g^"Y"[gehYfq
/2      ">_ja[mdlmjYd"oYk<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 55 of 104



                                                                 MY_]"22

 .      """""""">+""""Kg+
 /      """"""""N+""""Ag"qgm"cfgo"`go"em[`"hj]eame"al"ojgl]<
 0      """""""">+""""Kgh]+
 1      """"""""N+""""Ag"qgm"cfgo"a^"al"]n]j"^ad]\"Y"\]naYlagf
 2      "^jge"l`]"jYl]<
 3      """""""">+""""F"\g"fgl+
 4      """"""""N+"""">j]"qgm"^YeadaYj"oal`"l`]"l]je
 5      "#\ak[gmfl]\"jYl]#<
 6      """""""">+""""V]k+
.-      """"""""N+""""T`Yl"\g"qgm"mf\]jklYf\"l`Yl"lg"e]Yf<
..      """""""">+""""Q`]j]"Yj]"Ydd"kgjlk"g^"j]Ykgfk"^gj
./      "\ak[gmfl]\"jYl]k"^gj"o`Yl"oYk"[gfka\]j]\"lg"Z]"Y
.0      "_gg\"**"Yf\"F"\gfsl"l`afc"al"oYk"af"l`ak"[Yk]"**"Zml"al
.1      "`Y\"Y"jYf_]"g^"jYl]k"^gj"Y"hYjla[mdYj"hgda[q`gd\]jk"Yf\
.2      "l`]"mf\]jojal]jsk"bm\_e]fl"oYk"a^"l`]q"o]j]"_gg\)"l`]f
.3      "l`]j]"oYk"Y"/2"h]j[]fl"\ak[gmfl+""F^"l`]q"o]j]"fgl
.4      "_gg\)"l`]j]"oYk"Y"/2"h]j[]fl"kmjhdmk"**"kmj[`Yj_]+
.5      """"""""N+""""Aak[j]lagfYjq"af"hYjl<
.6      """""""">+""""T]dd)"alsk"\ak[j]lagfYjq"oal`af"af"Y
/-      "jYf_]+""Q`Ylsk"ZYka[Yddq"o`Yl"qgm"Yj]"**"]Y[`"[gehYfq
/.      "`Yk"alk"gof"Y[lmYja]k"o`g"Yj]"k]llaf_"l`]aj"gof"jYl]k
//      "Yf\"l`]f"l`]q"k]f\"l`]e"\gof"lg"l`]"mf\]jojal]jk+""Vgm
/0      "`Yn]"lg"\g"[]jlYaf"l`af_k"fg"eYll]j"o`Yl"kar]"l`]
/1      "[gehYfq"ak)"qgm"`Yn]"lg"Yddg[Yl]"qgmj"hgda[q`gd\]j
/2      "kmjhdmk)"qgm"`Yn]"lg"^a_mj]"gml"`go"em[`"hj]eame"qgm

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 56 of 104



                                                                 MY_]"23

 .      "[Yf"lYc]"af"Yf\"o`Yl"caf\"g^"jakc"qgm"Yj]"_gaf_"lg"mh
 /      "jYl]"lg+"">f\"l`Ylsk"dYj_]dq"l`]"bgZ"g^"Y[lmYja]k)"fgl
 0      "mf\]jojal]jk)"Zml"alsk"gZnagmkdq"Yf"mf\]jojal]j
 1      "^mf[lagf+
 2      """"""""N+""""Fse"ljqaf_"lg"\aj][l"qgm"o`]j]"af
 3      "MYjY_jYh`"/38"F"l`afc"alsk"faf]"daf]k"\gof)"l]f+""Flsk
 4      "l`]"k]fl]f[]"af"l`]"ea\\d]"l`Yl"klYjlk"oal`"#Q`]
 5      "gja_afYd"FPL"@DI"^gje+++#
 6      """""""">+""""@gjj][l+
.-      """"""""N+""""T`Yl"ak"l`]"gja_afYd"FPL"@DI"^gje<
..      """""""">+""""Flsk"l`]"^gje"l`Yl"oYk"af"]^^][l"Yl"l`Yl
./      "lae]+""?ml)"Y[lmYddq)"l`]"dYf_mY_]"[ge]k"ZY[c"lg"**
.0      "]Y[`"g^"l`]"al]jYlagfk"g^"l`]"FPL"^gje"\a\"fgl"[`Yf_]
.1      "l`]"]flaj]"dYf_mY_]"g^"l`]"FPL"^gje+
.2      """"""""N+""""Oa_`l+""?ml"eq"im]klagf"ak"o`]f"qgm"mk]
.3      "l`]"h`jYk]"l`]"gja_afYd"FPL"@DI"^gje)"o`a[`"^gje"Yj]
.4      "qgm"j]^]jjaf_"lg<
.5      """""""">+""""F"l`afc"l`ak"gf]"eYq"Y[lmYddq"`Yn]"_gf]
.6      "ZY[c"lg"l`]"s1-k)"Zml"al"[]jlYafdq"ogmd\"`Yn]"Z]]f"af
/-      "l`]"s22"hgda[q+
/.      """"""""N+"""">f\"F"Ye"fgl"ljqaf_"lg"Z]dYZgj"l`ak+""F
//      "bmkl"oYfl"lg"eYc]"kmj]"l`Yl"F"mf\]jklYf\+""Pg"l`]"^gje)
/0      "Yj]"qgm"lYdcaf_"YZgml"l`]"s1-"^gje"gj"eYqZ]"s1."gj"Yj]
/1      "qgm"lYdcaf_"YZgml"l`]"s22"^gje<
/2      """""""">+"""">[lmYddq"**

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 57 of 104



                                                                 MY_]"24

 .      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
 /      """"""""""""""""""""QEB"TFQKBPP7""Pgjjq+
 0      """""""">+""""F"l`afc"]n]f"l`]"s1."^gje"[gflYaf]\"l`]
 1      "h]jlaf]fl"dYf_mY_]"daealaf_"**"[j]Ylaf_"Yf"Y__j]_Yl]
 2      "^gj"hjg\m[lk+""Mjg\m[l"daYZadalq"`Yk"Ydegkl"YdoYqk"`Y\
 3      "Yf"Y__j]_Yl]+""F"`Yn]"khgc]f"oal`"eYfq"h]ghd]"o`g)
 4      "gl`]j"]ph]jlk"l`Yl"`Yn]"f]n]j"k]]f"gf]"oal`"Yf
 5      "Y__j]_Yl])"Zml"F"`Yn]+
 6      """"""""N+""""Oa_`l+"">f\"`]j]"oal`"j]kh][l"lg"l`]
.-      "Aag[]k]"g^"Amdml`)"l`]q"\a\fsl"Zmq"hjg\m[lk"[gn]jY_]<
..      """""""">+""""Fl"Yhh]Yjk"l`Ylsk"[gjj][l+
./      """"""""N+""""Pg"lg"[gflafm]"oal`"l`Yl"k]fl]f[]"**
.0      """""""">+""""Fl"Yhh]Yjk"alsk"[gjj][l"Z][Ymk]"alsk
.1      "]p[dm\]\"af"l`]"hgda[q+
.2      """"""""N+""""Oa_`l+""Q`]q"\a\fsl"Zmq"al"af"Yfq"g^"l`]
.3      "hgda[a]k"l`Yl"o]j]"akkm]\"Zq">_ja[mdlmjYd<
.4      """""""">+"""">k"^Yj"Yk"F"cfgo+"">dl`gm_`)"l`]"hgda[q
.5      "`Yk"**"l`]"hgda[q"af"s31"Yf\"l`]"hgda[a]k"af"s34"`Y\"Y
.6      "kh][a^a["]p[dmkagf"^gj"hjg\m[lk+
/-      """"""""N+""""Q`Ylsk"qgmj"mf\]jklYf\af_"g^"l`]
/.      "hgda[a]k<
//      """""""">+""""Q`Ylsk"o`Yl"l`]q"`Y\+
/0      """"""""N+""""MYjY_jYh`"/4"Z]_afk"oal`"Y"\ak[mkkagf"g^
/1      "l`]"KYlagfYd"?mj]Ym"g^"@YkmYdlq"Rf\]jojal]jk+""Ag"qgm
/2      "cfgo"a^">_ja[mdlmjYd"FfkmjYf[]"@gehYfq"Z]dgf_]\"lg"l`]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 58 of 104



                                                                 MY_]"25

 .      "KYlagfYd"?mj]Ym<
 /      """""""">+""""F"l`afc"l`Yl"ak"Ykc]\"Yf\"Yfko]j]\+""F
 0      "\gfsl"cfgo"o`a[`"gf]"l`]q"Z]dgf_"lg)"a^"Yfq+
 1      """"""""""""""""""""JP+">A>JP7""Vgm"Yj]"\gaf_"`ak
 2      """""""""""""bgZ+
 3      """"""""""""""""""""JO+"WLI>7""F"oYk"_gaf_"lg"kYq
 4      """""""""""""qgm"Yj]"kl]Ydaf_"eq"l`mf\]j+
 5      """"""""N+""""MYjY_jYh`"/5)"Jj+"Bddaglsk"Yjla[d]+""E]
 6      "ak"lYdcaf_"YZgml"**"l`Yl"Yjla[d]"ak"Y"\ak[mkkagf"g^"l`]
.-      "s33"^gje8"ak"l`Yl"ja_`l<
..      """""""">+""""V]k+""?ml"alsk"Ydkg"Y"\ak[mkkagf"g^
./      "`aklgjq"kg"al"af[dm\]k"gl`]j"hYjlk)"Yk"o]dd+
.0      """"""""N+""""Ag"qgm"`Yn]"Y"[ghq"g^"l`ak"Yjla[d]<
.1      """""""">+""""F"\g+
.2      """"""""N+""""JYq"o]"`Yn]"Y"[ghq"g^"l`ak"Yjla[d]<
.3      """"""""""""""""""""JO+"WLI>7""L^"[gmjk]+
.4      """"""""""""""""""""JP+">A>JP7""T]"ea_`l"]n]f"Z]
.5      """""""""""""YZd]"lg"_]l"al"\mjaf_"dmf[`<
.6      """"""""""""""""""""JO+"WLI>7""V]Y`)"F"l`afc"kg+
/-      """""""""""""Pmj]+""L^^"l`]"j][gj\"gf]"k][gf\+
/.      """"""""""""'L^^"l`]"j][gj\+(
//      """"""""N+""""MYjY_jYh`"/6)"kg"Y^l]j"j]^]j]f[af_"qgmj
/0      "]ph]ja]f[]"Yl"IaZ]jlq"Yf\"MmZda["P]jna[]"Yf\">F>)"qgm
/1      "kYq"al"oYk"l`]"_]f]jYd"hjY[la[]"l`Yl"l`]j]"ogmd\"Z]"Yf
/2      "Y__j]_Yl]"daealk"g^"hjg\m[lk"af[dm\af_"gh]jYlagfk"Zml

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 59 of 104



                                                                 MY_]"26

 .      "fgl"gl`]j"]phgkmj]k+"">f\)"Y_Yaf)"alsk"l`]"_]f]jYd
 /      "hjY[la[])"Zml"alsk"fgl"l`]"gfdq"hjY[la[]8"ak"l`Yl
 0      "ja_`l<
 1      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
 2      """""""">+""""T]dd)"F"kYa\"#_]f]jYd"hjY[la[])#"Zq"o`a[`
 3      "F"e]Yfl"l`]j]"ea_`l"Z])"Ydl`gm_`"F"[Yf"j][Ydd"fg
 4      "]pYehd]"g^"hgda[a]k"o`a[`"**"^ajkl"g^^)"F"\a\"k]]
 5      "hgda[a]k8"gf]"Yf\"eYqZ]"log"l`Yl"\a\fsl"`Yn]"Yf
 6      "Y__j]_Yl]"^gj"hjg\m[lk+""F"\g"fgl"j][Ydd"]n]j"k]]af_"Y
.-      "hgda[q"Yl"l`]"lae]"o`]f"F"oYk"Yl"IaZ]jlq"gj"MmZda[
..      "P]jna[]"l`Yl"`Y\"Yf"Y__j]_Yl]"Yhhda[YZd]"lg
./      "fgf*hjg\m[lk+
.0      """"""""N+""""Vgm"\a\fsl"ogjc"Yl">_ja[mdlmjYd<
.1      """""""">+""""F"\a\"fgl"ogjc"Yl">_ja[mdlmjYd+
.2      """"""""N+"""">f\"qgm"`Yn]"fg"e]egjq"g^"dggcaf_"Yl
.3      ">_ja[mdlmjYd"^gjek"gl`]j"l`Yf"l`]"gf]k"l`Yl"qgmsn]
.4      "dggc]\"Yl"af"[gff][lagf"lg"l`ak"eYll]j<
.5      """""""">+""""@gjj][l+
.6      """"""""N+""""Pg"qgm"\gfsl"cfgo"o`]l`]j">_ja[mdlmjYd
/-      "\a\"gj"\a\"fgl"akkm]"hgda[a]k"oal`"Y__j]_Yl]"daealk"^gj
/.      "fgf*hjg\m[lk"Zg\adq"afbmjq"[dYaek<
//      """""""">+""""T]dd)"F"\gfsl"l`afc"l`]q"\a\"af"l`]
/0      "hgda[a]k"o]"`Yn]+
/1      """"""""N+""""Pg"qgm"[gflafm]"gf"lg"\ak[mkk
/2      "fgf*hjg\m[lk"Zg\adq"afbmjq"[Yk]k"af[dm\af_"[dYaek"Yl

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 60 of 104



                                                                 MY_]"3-

 .      "j]lYad"\]hYjle]fl"klgj]k+"">j]"qgm"lYdcaf_"YZgml"kdah
 /      "Yf\"^Yddk<
 0      """""""">+""""Kg)"Ydl`gm_`)"l`]q"ogmd\"Ydkg"Z]
 1      "Yhhda[YZd]+""Q`]"caf\k"g^"[Yk]k"F"oYk"l`afcaf_"YZgml
 2      "o]j]"gf]k"l`Yl"o]j]"kge]o`Yl"kaeadYj"lg"l`]"Yj[`\ag[]k]
 3      "[dYaek"af"l`Yl"l`]q"afngdn]\"h]jkgfYd"afbmjq)"mkmYddq
 4      "^Ydk]"Yjj]kl)"daZ]d)"kdYf\]j+""Pge]"g^"gmj"Za__]kl
 5      "[Yk]k"Yl"IaZ]jlq"o]j]"**"Yf\"Ydkg"Yl"MmZda["P]jna[])
 6      "o]j]"^Ydk]"Yjj]kl"[Yk]k"**
.-      """"""""N+""""Rf\]j"@gn]jY_]"?)"h]jkgfYd"Yf\
..      "Y\n]jlakaf_"afbmjq<
./      """""""">+""""V]k+
.0      """"""""N+""""Kgl"Zg\adq"afbmjq<
.1      """""""">+""""Kg+""F"l`afc"l`]q"o]j]"Zg\adq"afbmjq"o`]f
.2      "h]jkgfYd"afbmjq"af[dm\]\"Zg\adq"afbmjq+""T]"lYdc]\
.3      "YZgml"l`Yl"Z]^gj]+
.4      """"""""N+""""Vgm"`Yn]fsl"dggc]\"Yl"Yfq"g^"l`]"YZmk]
.5      "[dYaek"Y_Yafkl"l`]"Aag[]k]"g^"Amdml`<
.6      """""""">+""""F"`Yn]"k]]f"YZmk]"[dYaek"af"gl`]j
/-      "Yj[`\ag[]k]k"**"gj"gl`]j"\ag[]k]k)"]p[mk]"e]+""F"j]Y\
/.      "l`]e+
//      """"""""N+""""Fk"al"qgmj"mf\]jklYf\af_"l`]k]"[dYaek"Yj]
/0      "^gj"^Ydk]"Yjj]kl<
/1      """""""">+""""Kg+""?ml"l`]j]"ak"Y"kaeadYjalq"af"l`]
/2      "caf\"g^"`Yje"l`Yl"Yjak]k+""Cgj"]pYehd])"o`]f"F"oYk"Yl

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 61 of 104



                                                                 MY_]"3.

 .      "IaZ]jlq"JmlmYd"o]"`Y\"Y"[dYae"Y_Yafkl"?dggeaf_\Yd]sk"Zq
 /      "Y"ogeYf"l`Yl"oYk"Yjj]kl]\)"\jY__]\"\gof"lg
 0      "?dggeaf_\Yd]sk"Zq"l`]"?dggeaf_\Yd]sk"^gj[])"hml"aflg"Yf
 1      "afl]jjg_Ylagf"jgge"**
 2      """"""""N+"""">f\"l`Ylsk"kaeadYj"lg"Z]af_"k]pmYd"YZmk]\
 3      "Zq"Y"\ag[]k]"hja]kl<
 4      """""""">+""""V]k+""Q`]j]"Yj]"l`]"kYe]"caf\k"g^
 5      "]eglagfYd"`Yjek+""Q`ak"ak"Y[lmYddq"o`Yl"F"l]kla^a]\"lg
 6      "oal`"j]_Yj\"lg"l`]"j]YkgfYZd]f]kk"g^"[dYaek"af"l`]
.-      ">j[`\ag[]k]"g^"?gkgf+""Q`]q"`Y\"l`]"kYe]"caf\"g^
..      "hkq[`gdg_a[Yd"`Yje+""Q`ak"ogeYf)"Yk"al"`Yhh]f]\)"`Y\
./      "Z]]f"Y"\]lYaf]]"gj"Y"kmjnangj"g^"Y"[gf[]fljYlagf"[Yeh+
.0      ">f\"k`]"oYk"Yjj]kl]\"Yf\"Zjgm_`l"aflg"Yf"afl]jjg_Ylagf
.1      "jgge+""T`]f"F"oYk"ogjcaf_"Yl"MmZda["P]jna[])"o]"`Y\"Y
.2      "^Ydk]"Yjj]kl"o`]j]"l`]q"Zjgc]"l`]"[jaeafYdsk"f][c"Yf\
.3      "cadd]\"`ae+
.4      """"""""N+""""Q`]"[dYaek"oal`"j]kh][l"lg"RMP)"Yj]"l`gk]
.5      "Ymlg"[dYaek<
.6      """""""">+""""Kg+""RMP"`Y\"l`]"eak^gjlmf]"lg"`Yn]"gf]
/-      "^]ddgo)"l`]j]"o]j]"gl`]j"[dYaek)"Zml"l`]j]"oYk"gf]
/.      "^]ddgo"o`g"`Y\"l`j]]"YkkYmdlk"Yf\"ZYll]ja]k"Y_Yafkl
//      "`ae+
/0      """"""""N+""""Fk"l`Yl"o`Yl"qgm"e]Yf"Zq"eYkkan]"Zg\adq
/1      "afbmjq)"alsk"Y"k]pmYd"YkkYmdl"[dYae<
/2      """""""">+""""F"\gfsl"^gddgo"qgm+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 62 of 104



                                                                 MY_]"3/

 .      """"""""N+""""Vgm"`Yn]"l`]"h`jYk]"#eYkkan]"Zg\adq
 /      "afbmjq"]phgkmj]k+#""F"Ye"ljqaf_"lg"mf\]jklYf\"o`Yl"Y
 0      "eYkkan]"Zg\adq"afbmjq"]phgkmj]"ogmd\"Z]+
 1      """""""">+""""T]dd)"qgm"[Yf"dggc"Yl"al"log"oYqk7""T`]f
 2      "F"dggc]\"Yl"l`]">j[`\ag[]k]"g^"?gklgf"[Yk])"F"j]Y\
 3      "]n]jq"kaf_d]"[dYae+""Qg"l`]"Z]kl"g^"eq"j][gdd][lagf)
 4      "l`]j]"o]j]"egj]"l`Yf".2-+"">l"l`]"]f\"g^"l`Yl"qgm"oYfl
 5      "lg"l`jgo"mh+""Q`]"kYe]"l`af_"o`]f"qgm"oYl[`"Y"h]jkgf
 6      "o`g"`Yk"Z]]f"gml"g^"Y"[gf[]fljYlagf"[Yeh"Z]af_
.-      "ZjmlYdar]\"Zq"Yf"afl]jjg_Ylagf"^gj[]"Yl"Y"klgj]+
..      """"""""N+""""F"Ye"eakkaf_"o`Yl"l`ak"`Yk"lg"\g"oal`
./      "RMP+
.0      """""""">+""""L`)"RMP"oYk"gf]"_mq"Z]Yl"l`j]]"h]ghd]"mh
.1      "gf"l`j]]"k]hYjYl]"g[[Ykagfk+""Q`gk]"o]j]"Za_"YoYj\k+
.2      """"""""N+""""MYjY_jYh`"0-)"l`]"dYkl"k]fl]f[]"af"qgmj
.3      "hYjY_jYh`)"qgm"\ak[mkk"\jY^laf_"`aklgjq"Yf\
.4      "[gfl]ehgjYf]gmk"[gee]flYjq+
.5      """""""">+""""V]Y`+
.6      """"""""N+""""Vgm"Yj]"j]^]j]f[af_"\jY^laf_"`aklgjq"Yf\
/-      "[gfl]ehgjYf]gmk"[gee]flYjq"oal`"j]kh][l"lg"l`]".633
/.      "^gje<
//      """""""">+""""V]k+
/0      """"""""N+""""Vgm"Yj]"fgl"j]^]j]f[af_"gj"km__]klaf_"af
/1      "Yfq"oYq"l`Yl"qgm"j]na]o]\"Yfq"\jY^laf_"`aklgjq"oal`
/2      "j]kh][l"lg"l`]">_ja[mdlmjYd"afkmjYf[]"hgda[q"^gjek<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 63 of 104



                                                                 MY_]"30

 .      """""""">+""""Q`Ylsk"[gjj][l+""?ml"gfdq"lg"l`]"]pl]fl
 /      "eq"ghafagf"ak"l`Yl"l`]">_ja[mdlmjYd"^gjek"l`Yl"o]"`Yn]
 0      "k]]f"Yj]"]kk]flaYddq"FPL"^gjek+
 1      """"""""N+""""Oa_`l+""Flsk"l`]".622"^gje)"[gjj][l<
 2      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
 3      """""""""""""Jak[`YjY[l]jar]k"`ak"l]klaegfq+
 4      """""""">+""""F"\gfsl"j][Ydd"o`a[`"hYjla[mdYj"^gje+
 5      "Flsk"Yf"FPL"^gje+
 6      """"""""N+""""T`a[`"^gje"ak"al<
.-      """"""""""""""""""""JO+"WLI>7""Cgj"o`a[`"hgda[q<
..      """"""""""""">dd"g^"l`]e<
./      """"""""N+""""T]"oadd"klYjl"oal`".631"lg".634+""T`a[`
.0      "^gje"ak"al<
.1      """""""">+""""Qg"l`]"Z]kl"g^"eq"j][gdd][lagf"**"F"ea_`l
.2      "Z]"af[gjj][l"**"al"oYk"l`]".622"FPL"^gje+
.3      """"""""N+""""T]"oYfl"lg"eYc]"kmj]"alsk"[gjj][l+
.4      """""""">+""""F"Ye"_anaf_"qgm"eq"Z]kl"j][gdd][lagf+
.5      """"""""N+""""T]dd)"F"oYfl"lg"eYc]"kmj]"l`Yl"qgmj
.6      "j][gdd][lagf"\g]kfsl"[`Yf_]"o`]f"o]"k]]"qgm"f]pl"lae]+
/-      "Pg"Fse"_anaf_"qgm"Yf"ghhgjlmfalq"lg"dggc"Yl"l`]".631
/.      "^gje)".631"lg"s34"hgda[q)"o`a[`"ak"YllY[`]\"lg
//      "Bp`aZal"Kg+"0)"kg"qgm"[Yf"l]dd"o`a[`"^gje"al"ak+
/0      """""""">+""""?q"l`]"oYq)"Fs\"Y\\)"l`Yl"af"l`]
/1      "h]jlaf]fl"hYjlk"g^"l`]"hgda[q"al"\a\fsl"eYll]j+
/2      """"""""N+""""PYq"l`Yl"dYkl"hYjl"Y_Yaf+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 64 of 104



                                                                 MY_]"31

 .      """""""">+""""Q`]"h]jlaf]fl"hYjlk"g^"l`]"[gn]jY_]
 /      "\a\fsl"[`Yf_]+
 0      """"""""N+""""F"mf\]jklYf\+""Vgm"kYa\"al"oYk"gf]"g^"l`]
 1      "^gjek+""F"bmkl"oYfl"lg"cfgo"o`a[`"^gje+
 2      """""""">+""""F"Z]da]n]"l`Yl"l`]"^gje"ak"Y".63."^gje+
 3      "Q`Yl"ak"l`]"s31"lg"s34"^gje+
 4      """"""""N+""""Pg"o]sn]"lYdc]\"YZgml"Y"^gje"l`Yl"oYk
 5      "akkm]\"af"l`]"s1-k+""T]sn]"lYdc]\"YZgml"Y".622"^gje"Yf\
 6      "o]"lYdc]\"YZgml"Y".633"^gje+
.-      """""""">+""""@gjj][l+
..      """"""""N+""""T`a[`"^gje"Yj]"qgm"j]^]jjaf_"lg<
./      """""""">+""""Q`ak"gf]"k]]ek"lg"Z]"Y".63."^gje+
.0      """"""""N+""""Vgm"`Yn]fsl"l]kla^a]\"lg"Y".63."^gje+
.1      """""""">+""""Q`Yl"eYq"Z]"[gjj][l+""?ml"l`]"[gfl]fl"g^
.2      "l`ak"^gje"Yj]"l`]"kYe]"Yk"l`]".622"^gje+""Q`]"[gn]jY_]
.3      "ak"**
.4      """"""""N+""""@Yf"qgm"bmkl"]phdYaf"l`Yl"lg"e]"Z][Ymk]"F
.5      "oYfl"lg"eYc]"kmj]"F"mf\]jklYf\"o`Yl"qgm"Yj]"kYqaf_+
.6      """""""">+""""Q`]"[gfl]fl"g^"l`ak"^gje"ak"l`]"kYe]"Yk
/-      "l`]"s22"^gje+
/.      """"""""N+""""LcYq+
//      """""""">+""""?ml"al"daklk"Yk"l`]"^gje"fmeZ]j"g^"s3.+
/0      """"""""N+""""F"k]]+""F"mf\]jklYf\"fgo+
/1      """""""">+""""?ml"l`]"dYf_mY_])"hYjla[mdYjdq"l`]"daealk
/2      "g^"daYZadalq"dYf_mY_]"ak"dYf_mY_]"[geaf_"^jge"l`]"s22+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 65 of 104



                                                                 MY_]"32

 .      """"""""N+""""F"mf\]jklYf\+""Pg"l`ak"ak"l`]".622"^gje)
 /      "Zml"al"`Yk"Y"\Yl]"gf"al"g^".63.8"l`Ylsk"o`Yl"qgm"Yj]
 0      "kYqaf_+
 1      """""""">+""""Q`Ylsk"[gjj][l+
 2      """"""""N+""""Kgo)"_g"lg"l`]"f]pl"hgda[q)"o`a[`"ak
 3      "34/4-+""Flsk"gf"l`]"ZY[c+
 4      """""""">+""""Fk"l`Yl"Bp`aZal"?<
 5      """"""""N+""""Fl"ak+
 6      """""""">+""""V]k+
.-      """"""""N+""""T`a[`"^gje"Yhhda]\"lg"l`]".634"lg".64-
..      "hgda[q<
./      """""""">+""""Fl"dggck"Yk"al"oYk"l`]".633"^gje+""?ml)
.0      "gf[]"Y_Yaf)"alsk"eq"ghafagf"l`Yl"l`]"dYf_mY_])"l`]
.1      "[jm[aYd"dYf_mY_])"ogmd\"`Yn]"Z]]f"l`]"kYe]"Yk"l`]
.2      "hj]\][]kkgj"hgda[q+
.3      """"""""N+""""Vgm"Y_j]]"oal`"e]"l`Yl"l`]"]f\gjk]e]flk
.4      "Yj]"\a^^]j]fl"Z]lo]]f"l`]"s31"lg"s34"hgda[q"l`Yf"l`]
.5      "s34"lg"s4-"hgda[q<
.6      """""""">+""""T`Yl"]f\gjk]e]fl<""F"k]]"Yf"]f\gjk]e]fl
/-      "hj]eame+
/.      """"""""N+""""Vgm"Yj]"^YeadaYj"gf"l`]"\][gjYlagfk"hY_]
//      "l`Yl"l`]"^gjek"Yf\"]f\gjk]e]flk"Yj]"a\]fla^a]\<
/0      """""""">+""""Vgm"e]Yf"**"qgm"Yj]"lYdcaf_"`]j]"YZgml
/1      "l`]"**
/2      """"""""N+""""Kg)"F"oadd"j]klYl]"l`]"im]klagf+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 66 of 104



                                                                 MY_]"33

 .      """"""""""""""Lf"Y"\][dYjYlagfk"hY_]"l`]"Yhhda[YZd]
 /      "]f\gjk]e]flk"Yf\"^gjek"l`Yl"eYc]"mh"l`]"hgda[q"Yj]
 0      "dakl]\8"ak"l`Yl"[gjj][l<
 1      """""""">+""""Pge]lae]k)"q]k+
 2      """"""""N+"""">j]"l`]q"dakl]\"gf"l`]"s31"lg"s34"^gje<
 3      """""""">+""""F"`Yn]"lg"_g"ZY[c+
 4      """"""""N+""""T]dd)"o]"[Yf"klYjl"l`]j]+""T]"[Yf"klYjl
 5      "gf"l`ak"gf]+
 6      """""""">+""""Lf"l`]"s34"hgda[q)"l`]j]"Yj]"dakl]\"gf])
.-      "log)"l`j]])"^gmj)"^an])"kap"]f\gjk]e]flk+
..      """"""""N+"""">f\"Yj]"l`gk]"l`]"kYe]"]f\gjk]e]flk"l`Yl
./      "Yj]"dakl]\"gf"l`]"s31"lg"s34"hgda[q<
.0      """""""">+""""Qog"hgaflk"gf"l`Yl"**
.1      """"""""N+""""Flsk"Y"q]k*gj*fg"im]klagf+
.2      """"""""""""""""""""JO+"WLI>7""I]l"`ae"Yfko]j"l`]
.3      """""""""""""im]klagf"`go]n]j"`]"oYflk+
.4      """"""""N+"""">j]"l`]q"l`]"kYe]<
.5      """""""">+""""T]"\gfsl"cfgo+
.6      """"""""N+""""Vgm"\gfsl"cfgo"a^"l`gk]"]f\gjk]e]flk"**
/-      "o]dd)"Yj]"l`]"]f\gjk]e]fl"fmeZ]jk"l`]"kYe]<
/.      """""""">+""""Q`]"fmeZ]jk"Yj]"fgl"l`]"kYe])"a^"l`Yl"ak
//      "qgmj"im]klagf+
/0      """"""""N+""""Q`Ylsk"eq"im]klagf+
/1      """""""">+""""Q`Yl"\g]kfsl"e]Yf"**"qgm"Ykc]\"e]
/2      "Y[lmYddq"a^"l`]"]f\gjk]e]flk"Yj]"l`]"kYe]+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 67 of 104



                                                                 MY_]"34

 .      """"""""N+""""Q`Ylsk"^af]+""Vgm"[Yf"Yfko]j"l`Yl
 /      "im]klagf)"Yk"o]dd+
 0      """""""">+""""T]"\gfsl"cfgo"a^"l`]"]f\gjk]e]flk"Yj]"l`]
 1      "kYe]+""Q`]q"[gmd\"Z]"\a^^]j]fl"fmeZ]jk"^gj"l`]"kYe]
 2      "]f\gjk]e]flk+""Kgl"mf[geegf+
 3      """"""""N+""""Fk"al"qgmj"ghafagf"l`Yl"l`]q"Yj]"l`]
 4      "kYe]<
 5      """""""">+""""F"l`afc"F"Ydj]Y\q"Yfko]j]\"l`Yl+""T]
 6      "\gfsl"cfgo"a^"l`]q"Yj]"l`]"kYe]+""?][Ymk]"Ydd"o]"cfgo
.-      "ak"l`Yl"l`]"fmeZ]jk"Yj]"kge]o`Yl"\a^^]j]fl"Ydl`gm_`"l`]
..      "dYkl"ak"0/304A"af"s34"Yf\"0/34"**"oYal"Y"eafml])""Fse
./      "kgjjq"**"l`Yl"]f\gjk]e]fl"ak"l`]"kYe]+""L`)"F"k]]+
.0      """"""""N+""""F"\gfsl"l`afc"o]"\a\"l`]".64-"lg".640+
.1      """""""">+""""Kgl"q]l+""Aa\"qgm"oYfl"e]"lg"\g"l`gk]<
.2      """"""""N+""""F"\g+""Pg"l`]"im]klagf"oal`"j]kh][l"lg
.3      "l`Yl"ak"o`Yl"^gje"oYk"Yhhda[YZd]+""F"l`afc"alsk
.4      "Bp`aZal"@+
.5      """""""">+""""V]Y`)"al"ak+"">f\"l`]j]"Yj])"gf[]"Y_Yaf)
.6      "l`j]]"^gje"fmeZ]jk"**"Fse"kgjjq)"^an]"^gje"fmeZ]jk)"Yf\
/-      "Fse"kgjjq"Zml"l`ak"lYc]k"Y"ege]fl"lg"\g+
/.      """"""""N+""""Kg)"alsk"gcYq+
//      """""""">+""""LcYq+""Cgje"Kg+"33/-"ak"l`]"kYe]"fmeZ]j
/0      "af"l`]"s34"hgda[q+""Ff"l`]"**
/1      """"""""N+""""Ag"qgm"cfgo"a^"l`Yl"]f\gjk]e]fl)"l`]
/2      "l]jek"Yf\"[gf\alagfk"g^"l`Yl"]f\gjk]e]fl<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 68 of 104



                                                                 MY_]"35

 .      """""""">+""""Kg+
 /      """"""""N+""""EYn]"qgm"]n]j"lja]\"lg"dggc"^gj"l`]k]
 0      "]f\gjk]e]flk<
 1      """""""">+""""Kg+""Ego"ogmd\"F"dggc"^gj"l`]e<""Q`]q"Yj]
 2      "fgl"YllY[`]\"lg"l`ak"hgda[q+""I]lsk"k]]"`]j]+
 3      """"""""N+""""Ag"qgm"`Yn]"Y"daZjYjq"g^"^gjek<
 4      """""""">+""""Ag"F<
 5      """"""""N+""""V]k+
 6      """""""">+""""Kg+
.-      """"""""""""""LcYq+""Pg"l`Ylsk"**"l`]j]"ak"Y"**"l`]
..      "k][gf\"Yf\"l`aj\"^gje"dakl]\"af"l`]"s40"hgda[q"Yhh]Yj
./      "lg"Z]"j]h]Yl]\"af"l`]"f]pl"hgda[q+"">f\".6I6"gf"l`]"1.
.0      "ak"l`]"kYe]+
.1      """"""""N+""""Q`Ylsk"l`]"gf]"]f\gjk]e]fl"o]"\g"`Yn])
.2      "o`a[`"ak"l`]"hjg\m[lk"]p[dmkagf+
.3      """""""">+""""Dgg\+""Q`Ylsk"[gjj][l+""Q`]q"\g"`Yn]"Y
.4      "hjg\m[lk"]p[dmkagf)"o`a[`"ak"Y"kh][a^a["]p[dmkagf"g^
.5      "l`]"hgda[a]k)"Zgl`"g^"l`]e"ea\\d]*q]Yj"hgda[a]k+
.6      """"""""N+""""MYjY_jYh`"00+""#T`]f"Yf"afkmjYf[]"[gehYfq
/-      "\g]k"kge]l`af_"mfmkmYd"al"]phda[aldq"fgl]k"l`Yl"alsk
/.      "mfmkmYd+#""T`Yl"\g"qgm"e]Yf"Zq"l`Yl<
//      """""""">+""""T]dd)"F"e]Yf)"^gj"]pYehd])"o`]f"hgda[a]k
/0      "Yj]"ojall]f"gf"Y"[dYaek*eY\]"ZYkak)"al"kYqk"l`ak"ak"Y
/1      "[dYaek*eY\]"hgda[q+""Pge]lae]k"al"oadd"_g"^mjl`]j"Yf\
/2      "kYq"l`ak"ak"Yf"aehgjlYfl"**"l`ak"ak"Yf"aehgjlYfl"[`Yf_]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 69 of 104



                                                                 MY_]"36

 .      "af"l`]"hgda[q+"">f\"l`Ylsk"_gg\"[mklge"Yf\"hjY[la[]+
 /      "Ff"l`]+++
 0      """"""""N+""""Ego"YZgml"af"l`]"[gehj]`]fkan]"_]f]jYd
 1      "daYZadalq"[gfl]pl<
 2      """""""">+""""T]dd)"a^"qgm"Yj]"\gaf_"kge]l`af_"l`Yl"l`]
 3      "hgda[q`gd\]j"\a\fsl"]ph][l)"l`]"]ph][lYlagf"g^"l`]
 4      "hgda[q`gd\]j"oYk"l`Yl"l`]q"ogmd\"Z]"j][]anaf_"Y
 5      "klYf\Yj\"hgda[q+
 6      """"""""N+""""T`Yl"ak"qgmj"ZYkak"^gj"qgmj"klYl]e]fl<
.-      """""""">+""""F"\a\fsl"^afak`"l`]"klYl]e]fl+
..      """"""""N+""""LcYq+
./      """""""">+""""F^"l`]"hgda[q`gd\]j"ak"]ph][laf_"Y
.0      "[]jlYaf"caf\"g^"hgda[q"Yf\"l`]"hgda[q"ak"\a^^]j]fl"l`Yf
.1      "l`Yl"]ph][lYlagf)"l`]f"l`Yl"ak"fgjeYddq"dakl]\+""Cgj
.2      "]pYehd])"l`]".631"lg"s34"hgda[q"ak"j]hdY[]\"Zq"l`]".64-
.3      "hgda[q+"">f\"qgm"[Yf"k]]"alsk"]phaj]\"Yf\"j]hdY[]\+""Ff
.4      "eq"ghafagf)"a^"al"o]j]"_gaf_"lg"Z]"\a^^]j]fl)"al"ogmd\
.5      "kYq"`]j]"f]o"hgda[q"gj"]phaj]\"af"hdY[])"Zml"oal`"Y
.6      "\a^^]j]fl"[gf\alagf"kg"l`Yl"l`]"hgda[q`gd\]j"ogmd\"cfgo
/-      "l`Yl"a^"l`]q"hj]nagmkdq"`Y\)"^gj"]pYehd])"Y
/.      "fg*Y__j]_Yl]"daeal"Yf\"fgo"o]"Yj]"_]llaf_"Yf"Y__j]_Yl]
//      "daeal)"l`Yl"ogmd\"Z]"Y"n]jq)"n]jq"kmZklYflaYd"j]\m[lagf
/0      "af"[gn]jY_]+"">f\"F"ogmd\"]ph][l"lg"k]]"kge]l`af_"`]j]
/1      "o`a[`"kYqk"l`ak"hgda[q"ak"\a^^]j]fl"l`Yf"l`]"hgda[q"al
/2      "j]hdY[]k"Z][Ymk]"al"ak"[`Yf_af_"l`]"[gn]jY_]"lg"Y

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 70 of 104



                                                                 MY_]"4-

 .      "ka_fa^a[Yfl"]pl]fl"af"j]\m[af_"[gn]jY_]"Zq"Ykk]jlaf_"Yf
 /      "Y__j]_Yl]+
 0      """"""""N+""""Fk"al"qgmj"l]klaegfq"l`Yl"l`]"[mklge"Yf\
 1      "l`]"hjY[la[]"af"l`]"af\mkljq"af".64-"oYk"a^"Yfq"l]je"gj
 2      "[gf\alagf"[`Yf_]\"mhgf"l`]"j]f]oYd"g^"Y"hgda[q)"al"`Y\
 3      "lg"Z]"a\]fla^a]\<
 4      """""""">+""""Q`Yl"oYk"fgl"eq"l]klaegfq+""Jq"l]klaegfq
 5      "ak"l`Yl"a^"l`]"hgda[q"`Y\"Yfq"ka_fa^a[Yfl"[`Yf_]"l`Yf
 6      "l`Yl"ogmd\"l`Yl"a\]fla^a]\+""Fl"ogmd\"fgl"Z]"[Ydd]\"Y
.-      "j]hdY[]e]fl"gj"Y"j]hdY[]e]fl"hgda[q+
..      """"""""N+""""Flsk"qgmj"l]klaegfq"l`Yl"l`]"[mklge"Yf\
./      "hjY[la[]"af"l`]"af\mkljq"af".64-"oYk"l`Yl"a^"l`]j]"oYk
.0      "Y)"F"l`afc"qgm"kYa\)"kmZklYflaYd"gj"ka_fa^a[Yfl"[`Yf_]
.1      "af"l`]"[gn]jY_])"al"ogmd\"Z]"hdY[]\"gf"l`]"\][dYjYlagfk
.2      "hY_]<
.3      """""""">+""""V]k8"l`Yl"ak"[gjj][l+
.4      """"""""N+""""Fk"al"qgmj"l]klaegfq"l`Yl"a^"l`]j]"oYk"Y
.5      "[`Yf_]"^jge"o`Yl"qgm"Yj]"\]k[jaZaf_"Yk"l`]"FPL"klYf\Yj\
.6      "^gje)"l`Yl"l`Yl"ogmd\"Ydkg"Z]"hdY[]\"gf"l`]
/-      "\][dYjYlagfk"hY_]<
/.      """""""">+""""Fl"ogmd\"\]h]f\"gf"l`]"ka_fa^a[Yf[]+
//      "P]])"^gj"]pYehd])"l`]"fgla[]"[gf\alagf"kYa\"af"gf]"q]Yj
/0      "hjgna\]"fgla[]"lg"km[`*Yf\*km[`"Yf"Y\\j]kk"Yf\"l`]f"af
/1      "l`]"f]pl"q]Yj"gj"l`]"f]pl"hgda[q"al"kYa\"hjgna\]"fgla[]
/2      "lg"km[`*Yf\*km[`"\a^^]j]fl"Y\\j]kk)"F"ogmd\fsl"]ph][l

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 71 of 104



                                                                 MY_]"4.

 .      "kg+""?ml"o`]j]"l`]j]"ogmd\"Z]"Y"[`Yf_]"af"[gn]jY_]
 /      "o`a[`"ogmd\)"af"eq"ghafagf)"f][]kkalYl]"Y"[`Yf_]"af
 0      "hj]eame"l`]f"l`Yl"ogmd\"Z]"a\]fla^a]\+
 1      """"""""N+""""Rfd]kk"**
 2      """""""">+""""Ff"gl`]j"ogj\k"**
 3      """"""""N+""""Dg"Y`]Y\+
 4      """""""">+""""Gmkl"lg"Z]"[d]Yj)"o`]f"qgm"_g"^jge"Y
 5      "hgda[q"oal`"fg"Y__j]_Yl]"lg"Y"hgda[q"oal`"Yf"Y__j]_Yl]
 6      "qgm"Yj]"n]jq"kmZklYflaYddq"[`Yf_af_"l`]"[gn]jY_]"Yf\
.-      "qgm"Yj]"[`Yf_af_"l`]"hj]eame"l`Yl"k`gmd\"Z]"[`Yj_]\"Yf\
..      "Y"hj]eame"j]\m[lagf"k`gmd\"Z]"j]^d][l]\)"Yf\"_an]f"l`Yl
./      "[`Yf_])"al"k`gmd\"kYq"kg+
.0      """"""""N+"""">f\"l`]"\][gjYlagfk"hY_]"k`gmd\"j]^d][l
.1      "l`Yl"km[`"Yf"Y__j]_Yl]"ak"_gaf_"lg"Yhhdq<
.2      """""""">+""""Fl"fgjeYddq"ogmd\)"q]k+
.3      """"""""""""""F"fgl])"Zq"l`]"oYq)"l`]j]"ak"fg"**"l`]
.4      "hj]eame"oYk"l`]"kYe]"af"l`]"^ajkl"log"hgda[a]k
.5      "af\a[Ylaf_"l`Yl"l`]q"o]j]"jYl]\"Yf\"hj]eame"Ykk]kk]\"af
.6      "l`]"kYe]"^gjeYl)"Zgl`"hj]eamek"Z]af_)"lg"l`]"Z]kl"g^"eq
/-      "j][gdd][lagf"$004"h]j"Yffme+""Pg"l`]"log"hgda[a]k"`Yn]
/.      "l`]"kYe]"hj]eame"Yf\"F"Ykkme]"[mklge"Yf\"hjY[la[]"ogmd\
//      "Z]"l`Yl"l`Yl"j]^d][lk"l`]q"`Yn]"l`]"kYe]"jakc+
/0      """"""""""""""""""""JO+"WLI>7""T`]f"qgm"kYq"#l`]
/1      """""""""""""^ajkl"log"hgda[a]k)#"\g"qgm"e]Yf
/2      """""""""""""Bp`aZalk">"Yf\"?"lg"l`]"IaZ]jlq

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 72 of 104



                                                                 MY_]"4/

 .      """""""""""""JmlmYd"Yfko]j<
 /      """"""""""""""""""""QEB"TFQKBPP7""V]k+""F"oYk
 0      """""""""""""j]^]jjaf_"lg"l`]"s31"lg"s34"hgda[q
 1      """""""""""""Yf\"l`]f"l`]"s34"lg"s4-"hgda[q+
 2      """""""""""""Q`gk]"Yj]"l`]"hgda[a]k"l`Yl"Zgl`
 3      """""""""""""`Yn]"l`]"kYe]"hj]eame+
 4      """"""""N+""""Q`]q"Yj]"Ydkg"ojall]f"gf"Yf"Ym\al"ZYkak<
 5      """""""">+""""?ml"l`]q"Zgl`"dakl"l`]"hj]eame+"">dl`gm_`
 6      "alsk"Y"dalld]"`Yj\"lg"l]dd"af"l`]"**"Yl"d]Ykl"^jge"l`]
.-      "\][c"hY_]"g^"l`]"s44"hgda[q)"l`Ylsk"hgda[q"fmeZ]j"**
..      "g`)"F"[Yfsl"]n]f"j]Y\"al+""?ml"l`]"s34"hgda[q)"gf"l`]
./      "\][c"hY_])"\g]k"dakl"daealk"g^"daYZadalq"Yf\"l`]f"`Yk
.0      "Y\nYf[]\"hj]eame)"Zml"al"Yhh]Yjk"lg"e]"l`Yl"al"`Yk"Z]]f
.1      "[ml"g^^"gf"l`ak"ha][]"g^"hYh]j+""Q`Yl"ak"l`]"]plj]e]
.2      "ja_`l*`Yf\"[gdmef"gf"l`]"\][c"hY_]+
.3      """"""""""""""""""""JP+">A>JP7""T]sn]"_gf]"Yf
.4      """""""""""""`gmj"Y_Yaf+""@Yf"o]"lYc]"Y"Zj]Yc<
.5      """"""""""""'Imf[`]gf"j][]kk+(
.6      """"""""N+""""@gmd\"qgm"hd]Yk]"_g"lg"MY_]"./"g^"qgmj
/-      "j]hgjl)"o`a[`"qgm"Yj]"l`]j]+""Ff"MYjY_jYh`"00)"af"l`]
/.      "k][gf\"k]fl]f[]"qgm"klYl])"#Ff"l`ak"[Yk])"gf]"g^"l`]
//      "^]o"hYjlk"g^"l`]"afkmjYf[]"hgda[a]k"Yl"akkm]"l`Yl"`Yn]
/0      "Z]]f"dg[Yl]\"Yj]"l`]"hgda[a]ks"\][dYjYlagfk"hY_]"Yf\
/1      "l`]q"Yj]"klYf\Yj\"^gje+#"">f\"^gj"l`Yl"qgm"Yj]
/2      "j]^]jjaf_"lg"l`]".631"lg".634"hgda[q8"ak"l`Yl"[gjj][l<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 73 of 104



                                                                 MY_]"40

 .      """""""">+""""V]k+
 /      """"""""N+"""">f\"l`Yl"hgda[q"ak"l`]".622"kh][ae]f
 0      "^gje8"ak"l`Yl"[gjj][l<
 1      """""""">+""""Q`Ylsk"[gjj][l+
 2      """"""""N+""""Pg"[gflafmaf_"gf"oal`"qgmj"j]hgjl)"#Q`ak
 3      "e]Yfk"l`Yl"Ydegkl"[]jlYafdq"l`]"j]kl"g^"l`]"hgda[q
 4      "ogmd\"Z]"l`]"klYf\Yj\"FPL"^gje"Yf\"ogmd\"af[dm\]
 5      "dYf_mY_]"daealaf_"Y__j]_Yl]"lg"[gehd]l]\"gh]jYlagfk"Yf\
 6      "hjg\m[lk"daYZadalq+#
.-      """""""""""""">f\"qgmsj]"ZYkaf_"l`Yl"[gf[dmkagf"gf"l`]
..      "^Y[l"l`Yl"l`]"s31"lg"s34"hgda[q"ak"Y".622"^gje8"ak"l`Yl
./      "[gjj][l<
.0      """""""">+""""V]Y`+""Fl"Ydkg"`Yk"dYf_mY_]"daealaf_
.1      "hjg\m[lk)"daealaf_"Y__j]_Yl]"lg"hjg\m[lk+
.2      """"""""N+"""">_Yaf)"gf"l`]"fge]f[dYlmj])"o`]f"qgm"Yj]
.3      "mkaf_"ogj\k"#klYf\Yj\"FPL"^gje)#"FPL"oYk"fgl"af
.4      "]pakl]f[]"mflad".64.)"qgm"Yj]"j]^]jjaf_"lg"l`]"jYlaf_
.5      "Zmj]Ym"kh][ae]f"^gjek"^jge".622"Yf\".6338"ak"l`Yl
.6      "[gjj][l<
/-      """""""">+""""Oa_`l+"">f\"bmkl"lg"Z]"[d]Yj)"Ydl`gm_`)
/.      "l`]j]"o]j])"Yk"o]sn]"\ak[mkk]\)"egj]"l`Yf"gf]"jYlaf_
//      "Zmj]Ym)"l`]"[gehj]`]fkan]"_]f]jYd"daYZadalq"hgda[q"oYk
/0      "Y"[gddYZgjYlan]"]^^gjl+
/1      """"""""N+""""F^"qgm"[gmd\"_g"lg"MY_]".1)"MYjY_jYh`"03+
/2      """"""""""""""""""""JO+"WLI>7""KYf[q)"Fse"_gaf_

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 74 of 104



                                                                 MY_]"41

 .      """""""""""""lg"afl]jjmhl"bmkl"Z][Ymk]"qgmj
 /      """""""""""""im]klagfk"o]j]"daeal]\"bmkl"lg"l`]
 0      """""""""""""s31"lg"s34"hgda[q<
 1      """"""""""""""""""""JP+">A>JP7""Kg+""Q`]"^ajkl
 2      """""""""""""oYk"k]fl]f[]"**"l`]"^ajkl"oYk"s31"lg
 3      """""""""""""s34"Yf\"l`Yl"k][gf\"k]fl]f[]"j]dYl]k
 4      """""""""""""lg"l`]"gl`]jk+
 5      """"""""N+""""Lf"MYjY_jYh`"03)"bmkl"kgjl"g^"l`]"dYkl
 6      "k]fl]f[])"#Q`ak"dYf_mY_]"ak"hYjl"g^"l`Yl"FPL"@DI"^gje+#
.-      ">f\"F"oadd"_an]"qgm"Y"[`Yf[]"lg"j]Y\"l`Yl"hYjY_jYh`+""F
..      "bmkl"oYfl"lg"eYc]"kmj])"Y_Yaf)"gf"fge]f[dYlmj]"o]"Yj]
./      "lYdcaf_"YZgml"l`]"hj]*FPL"jYlaf_"Zmj]Ym"^gjek)".622"Yf\
.0      ".633+
.1      """""""">+""""@gmd\"F"`Yn]"l`]"im]klagf"Y_Yaf<
.2      """"""""N+""""Pmj]+""Q`]"dYf_mY_]"#Yk"hYjl"g^"l`]"FPL
.3      "@DI"^gje)#"bmkl"kg"o]"`Yn]"Y"[d]Yj"j][gj\)"F"bmkl"oYfl
.4      "lg"eYc]"kmj]"l`Yl"qgmj"j]hgjl)"af"l]jek"g^"o`Yl"qgm"Yj]
.5      "l]kla^qaf_"lg)"ak"Y[lmYddq"[d]Yj"l`Yl"qgm"Yj]"lYdcaf_
.6      "YZgml"o`Yl"ak"Y[lmYddq"hj]*FPL"^gjek+
/-      """""""">+""""V]k)"Ydl`gm_`"FPL"^gjek"`Yn]"l`]"kYe]
/.      "dYf_mY_]+
//      """"""""N+""""Oa_`l+""?ml"l`]"^gjek"o]"Yj]"lYdcaf_
/0      "YZgml"Yf\"`Yn]"lYdc]\"YZgml"lg\Yq"^jge"l`]"s1-k)"l`]
/1      "s22"Yf\"s33)"Yj]"Ydd"hj]*FPL"^gjek)"[gjj][l<
/2      """""""">+""""Oa_`l+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 75 of 104



                                                                 MY_]"42

 .      """"""""N+""""F^"qgm"[Yf"_g"lg"MY_]".3<
 /      """""""">+""""Jgnaf_"Ydgf_+""Papl]]f)"#@gf[dmkagfk+#
 0      """"""""N+""""F^"qgm"[gmd\"j]Y\"qgmj"[gf[dmkagf+
 1      """""""">+""""V]k+
 2      """"""""N+""""Q`ak"[gf[dmkagf"ak"ZYk]\"mhgf"l`]"^Y[l
 3      "l`Yl"l`]"jYlaf_"Zmj]Ymk"`Y\"klYf\Yj\ar]\"^gjek"af"s22
 4      "Yf\"s33"Yf\"l`Yl"l`]".631"lg".634"hgda[q"af[gjhgjYl]\
 5      "l`]".622"^gje8"ak"l`Yl"[gjj][l<
 6      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
.-      """""""">+""""Ff"hYjl+
..      """"""""N+"""">f\"o`Yl"Yj]"l`]"Y\\alagfYd<
./      """""""">+""""T]dd)"l`]"Y\\alagfYd"hYjl"ak)"Yk"F
.0      "e]flagf]\"Z]^gj])"l`Yl"a^"qgm"o]j]"j]f]oaf_"Y"hgda[q
.1      "oal`"Y"ka_fa^a[Yfl"\]naYlagf"^jge"Y"hjagj"hgda[q)"qgm
.2      "ogmd\"kYq"kg+""Ff"Y\\alagf)"l`]"^Y[l"l`Yl"qgm"`Y\"Y
.3      "n]jq"ka_fa^a[Yfl"j]\m[lagf"af"[gn]jY_]"ogmd\"fgjeYddq
.4      "Z]"j]^d][l]\"af"Y"j]\m[lagf"af"hj]eame)"o`]j]Yk"hj]eame
.5      "^gj"l`]"log"hgda[a]k"o]"`Yn]"oal`"hj]eame"ak"]pY[ldq
.6      "l`]"kYe])"$004+""Pg"[mklge"Yf\"hjY[la[]"af"l`]
/-      "afkmjYf[]"af\mkljq"ak"a^"**"alsk"aehgjlYfl"lg
/.      "mf\]jklYf\"l`Yl"Yf"Y__j]_Yl]"ak"Y"lj]e]f\gmk"daealYlagf
//      "gf"Y"[gn]jY_]+""Fl"e]Yfk"l`Yl"afkl]Y\"g^"_]llaf_
/0      "U*\gddYjk"^gj"bmkl"gf])"mkaf_"al"mh)"a^"qgm"`Yn]"Yf"lgf
/1      "g^"[dYaek"Z]dgo"o`Yl]n]j"l`]"YllY[`e]fl"gj"l`]"lgh"ak)
/2      "qgm"Yj]"[gn]j]\"^gj"Ydd"g^"l`]e)"o`a[`"eYq"Z]"`mf\j]\k

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 76 of 104



                                                                 MY_]"43

 .      "g^"[dYaek)"af"^Y[l)"F"kmhhgk]"l`Ylsk"o`Yl"o]"Yj]
 /      "Yj_maf_"YZgml"**"gj"qgm"_mqk"Yj]"Yj_maf_"YZgml+
 0      """"""""N+""""Fk"l`]j]"**
 1      """""""">+""""?ml"**"kg"alsk"Y"n]jq"ka_fa^a[Yfl)
 2      "ka_fa^a[Yfl"[`Yf_]"af"[gn]jY_]+"">f\"lg"l`]"]pl]fl"l`Yl
 3      "l`]j]"ogmd\"Z]"km[`"Y"[`Yf_])"[mklge"Yf\"hjY[la[]"ogmd\
 4      "Z]"l`Yl"l`]j]"ogmd\"Z]"Y"j]\m[lagf"af"hj]eame"Yf\"l`Yl
 5      "l`]j]"ogmd\"Z]"Y"klYl]e]fl"l`Yl"l`Yl"oYk"[mjj]fl+
 6      """"""""N+""""Fk"l`]j]"Yfql`af_"]dk]"l`Yl"qgm"ogmd\
.-      "dac]"lg"Y\\"oal`"j]kh][l"lg"l`Yl"Yfko]j<
..      """""""">+""""V]k+""F"Ydkg"\g"fgl"Z]da]n]"l`Yl"l`]"**
./      "IaZ]jlqsk"[gfl]flagf)"l`]"U"mf\]j"[gehj]`]fkan]"Yf\
.0      "_]f]jYd"daYZadalq)"e]Yfk"l`Yl"l`]j]"oYk"fg"hjg\m[l
.1      "daYZadalq"af[dm\]\+"">f\"F"\akY_j]]"oal`"l`Yl"Z][Ymk])
.2      "af"^Y[l)"Yl"l`Yl"lae])"al"oYk"[geegf"lg"bmkl"[`][c
.3      "[gehj]`]fkan]"Yf\"_]f]jYd"daYZadalq"Z][Ymk]"al"af[dm\]\
.4      "Ydd"g^"l`]"gl`]j"[gn]jY_]k+"">f\"l`Ylsk"o`q"l`]k]
.5      "hgda[a]k"`Yn]"k]hYjYl]"]p[dmkagfk"lg"]pm\]"hjg\m[l
.6      "daYZadalq+""F^"hjg\m[l"daYZadalq"oYkfsl"[gn]j]\"mf\]j
/-      "l`ak"U"Yj_me]fl)"l`]j]"ogmd\"Z]"fg"j]Ykgf"lg"`Yn]"Yf
/.      "]p[dmkagf"kmZk]im]fl"af"l`]"hgda[q+
//      """"""""N+""""Fk"l`]j]"Yfql`af_"]dk]"qgm"ogmd\"dac]"lg
/0      "Y\\"lg"l`Yl"Yfko]j<
/1      """""""">+"""">l"l`]"ege]fl"l`Ylsk"al+
/2      """"""""""""""""""""JO+"WLI>7""F"gZb][l"lg"l`]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 77 of 104



                                                                 MY_]"44

 .      """""""""""""im]klagf"lg"l`]"]pl]fl"l`Yl
 /      """""""""""""]n]jql`af_"]dk]"`]"e]flagf]\"af"l`]
 0      """""""""""""j]hgjl"af[dm\af_"l`]"l]f"hYjY_jYh`k
 1      """""""""""""qgm"bmkl"kcahh]\"Yj]"Ydkg"ZYkak"^gj
 2      """""""""""""`ak"[gf[dmkagf+
 3      """"""""""""""""""""JP+">A>JP7""Rf\]jklgg\+
 4      """""""""""""Rf\]jklgg\+
 5      """"""""N+""""@Yf"qgm"_an]"e]"Yf"]pYehd]"g^"Y"hgda[q
 6      "l`Yl"qgmsn]"k]]f"^gj"Y"[gehj]`]fkan]"_]f]jYd"daYZadalq
.-      "hgda[q"Z]lo]]f".631"Yf\".640"l`Yl"a\]fla^a]\"Y
..      "\]naYlagf"af"[gn]jY_]"Yk"qgm"`Yn]"Z]]f"\]k[jaZaf_<
./      """""""">+""""@Yf"F"_an]"qgm"Yf"]pYehd]<""F"[Yfsl
.0      "a\]fla^q"hYjla[mdYj"hgda[a]k+""F"cfgo"Fsn]"k]]f"l`Yl
.1      "oal`">FD"k]n]jYd"lae]k+
.2      """"""""N+""""Lf"l`]"[dYaek*eY\]"ka\]<
.3      """""""">+""""Kg)"Fse"lYdcaf_"Z]^gj]"[dYaek*eY\]+
.4      """"""""N+""""Lf"l`]"[gehj]`]fkan]"_]f]jYd"daYZadalq<
.5      """""""">+""""Q`Ylsk"[gjj][l+
.6      """"""""N+""""EYn]"**
/-      """""""">+"""">f\"F"l`afc"F"`Yn]"Ydkg"k]]f"al"oal`
/.      "QjYn]d]jk)"Zml"F"[Yffgl"a\]fla^q"Y"hYjla[mdYj"hgda[q+
//      """"""""N+"""">f\"o`Yl"oYk"l`]"hgda[q"hjgnakagf"Yl
/0      "akkm]<
/1      """""""">+""""L`)"F"\gfsl"j][Ydd+
/2      """"""""N+""""EYn]"qgm"j]Y\"E]fjq"?mk]sk"j]hgjl"af"l`ak

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 78 of 104



                                                                 MY_]"45

 .      "[Yk]<
 /      """""""">+""""Kg+
 0      """"""""N+""""F^"qgm"_g"ZY[c"lg"qgmj"j]hgjl"gf"MY_]".3)
 1      "mf\]j"j]^]j]f[]k)"qgm"a\]fla^q"kap"\g[me]flk+
 2      """""""">+""""V]k+
 3      """"""""N+"""">j]"l`]j]"Yfq"gl`]j"\g[me]flk"l`Yl"qgm
 4      "j]da]\"mhgf"oal`"j]kh][l"lg"qgmj"j]hgjl"gl`]j"l`Yf"l`]
 5      "kap"l`Yl"Yj]"a\]fla^a]\<
 6      """"""""""""""""""""JO+"WLI>7""LZb][lagf+
.-      """"""""""""""""""""JP+">A>JP7""T`Yl"ak"qgmj
..      """""""""""""gZb][lagf<
./      """"""""""""""""""""JO+"WLI>7""Q`]j]"ak"Ydkg"Y
.0      """""""""""""\g[me]flk"[gfka\]j]\"k][lagf+
.1      """"""""""""""""""""JP+">A>JP7""Q`Ylsk"^Yaj+""Pg
.2      """""""""""""d]l"e]"j]Y\+++
.3      """"""""N+""""Pg"oal`"l`]"]p[]hlagf"g^"l`]"j]^]j]f[]k
.4      "dakl]\"gf]"l`jgm_`"kap"Yf\"l`]"\g[me]flk"[gfka\]j]\
.5      "k][lagf)"Yj]"l`]j]"Yfq"gl`]j"\g[me]flk"gj"j]^]j]f[]
.6      "eYl]jaYdk"l`Yl"qgm"j]da]\"mhgf"af"hj]hYjaf_"l`ak
/-      "j]hgjl<
/.      """""""">+""""T]dd)"l`]j]"Yj]"kge]"\g[me]flk"l`Yl"F"\a\
//      "fgl"dakl)"Zml"l`]q"Yj]"Y"hYjl"g^"eq"**"l`]q"Yj]"dakl]\
/0      "af"eq"@S+""Pg"l`]q"ogmd\"Z]"l`af_k"l`Yl"F"ojgl])"l`af_k
/1      "l`Yl"ea_`l"[ge]"mh"a^"Fse"Ykc]\"[]jlYaf"im]klagfk)"^gj
/2      "]pYehd])"F"ojgl]"Yf\"j]^]jj]\"lg"Z]^gj]"Y"hYh]j"gf

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 79 of 104



                                                                 MY_]"46

 .      "hjg\m[l"daYZadalq"afkmjYf[]+""F"ojgl]"l`j]]"afkmjYf[]
 /      "hgda[a]k)"[j]Yl]\"l`j]]"[gehYfa]k+""Q`gk]"Yj]"Ydd
 0      "l`af_k"l`Yl"F"`Yn]"\gf]+""F"\gfsl"`a_`da_`l"l`]e)"Zml
 1      "l`]q"Yj]"Ydd"af"eq"@S+
 2      """"""""N+""""T`Yl"Yj]"l`]"l`j]]"afkmjYf[]"[gehYfa]k
 3      "l`Yl"qgm"[j]Yl]\<
 4      """""""">+""""I]l"e]"]phdYaf+""Q`]"^ajkl"Yf\"Za__]kl
 5      "gf]"oYk"Y"[gehYfq"[Ydd]\"M`Yje@Yl)"l`Ylsk"M*`*Y*j*e*)
 6      "[YhalYd"@*Y*l+""Q`Yl"oYk"Y"[geZaf]\"hjg_jYe"ojall]f"Zq
.-      ">FD"Yf\"@gee]j[]"Yeh]jka_f"**"Yeh]jkYf\"Ff\mkljq)"@&F+
..      """"""""N+""""Q`Ylsk"Yf"afkmjYf[]"[gehYfq<
./      """""""">+""""V]k+""Q`Yl"oYk"TYjj]f"?m^^]lsk+"">f\"l`Yl
.0      "oYk"Y"hgda[q"g^"$.+."Zaddagf"]p[]kk"g^"$5--)---"eaddagf
.1      "^gj"h`YjeY[]mla[Ydk+
.2      """"""""N+"""">f\"qgm"o]j]"l`]"^gmf\]j"g^"l`ak"[gehYfq<
.3      """""""">+""""Kgl`af_"ak"]n]j"l`Yl"kaehd]+""F"oYk"Y
.4      "e]eZ]j"g^"Y"l]Ye"g^"^an]"h]ghd])"af[dm\af_"log
.5      "mf\]jojal]jk"gj"log"h]ghd]"^jge">FD)"h]ghd]"^jge"**"Yf\
.6      "log"k]lk"g^"dYoq]jk"Yf\"e]+
/-      """"""""N+"""">f\"o`Yl"oYk"l`]"k][gf\"afkmjYf[]"[gehYfq
/.      "qgm"[j]Yl]\<
//      """""""">+""""Q`]"k][gf\"afkmjYf[]"[gehYfq)"F"\gfsl
/0      "cfgo"a^"al"]n]j"_gl"Y"fYe]"**"g`)"fg)"al"\a\+""Q`]
/1      "k][gf\"oYk"K>@@)"K*>*@*@)"Oakc"O]l]flagf"Djgmh+
/2      """"""""N+"""">f\"l`]"l`aj\<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 80 of 104



                                                                 MY_]"5-

 .      """""""">+""""Q`]"l`aj\"\a\"fgl"_]l"Y"fYe]+
 /      """"""""N+""""Aa\"al"\a]<
 0      """""""">+""""Fl"oYk"Y"[gfkgjlame"g^"[gehYfa]k"l`Yl
 1      "k`Yj]\"b]l">"^m]d"klgjY_]"^Y[adala]k+""Fl"oYk"lg
 2      "hjgna\]"[gn]jY_]"^gj"l`]e+""T]"ojgl]"l`]"hgda[q)"o]"_gl
 3      "Y_j]]e]fl"^jge"l`]"[Yjja]jk"**"^jge"l`]"hgl]flaYd
 4      "hgda[q`gd\]jk+"">f\"al"oYk"lg"[gn]j"^gj"]fnajgfe]fl
 5      "]phgk]k)"Zml"al"`Y\"Y"$/2"eaddagf"daeal+""T]"\a\"Y
 6      "kmjn]q"g^"gf]"dg[Ylagf"o`]j]"[d]Yfmh"ea_`l"`Yn]"Z]]f
.-      "j]imaj]\"Yf\"o]"\ak[gn]j]\"l`Yl"l`Yl"ogmd\"dac]dq"Z]"Y
..      "Zaddagf*\gddYj"dgkk+""Pg"o]"\akZYf\]\"al"Z][Ymk]"fg"gf]
./      "oYfl]\"lg"Zmq"Y"$/2"eaddagf"[gn]jY_]+
.0      """"""""N+""""T`Yl"oYk"l`]"lae]^jYe]"g^"l`]k]<
.1      """""""">+""""Q`]">FD"gf]"oYk"af".663"gj"s64"Yf\"l`]
.2      "gl`]jk"o]j]"em[`"]Yjda]j+""K>@@"oYk"ja_`l"Y^l]j"F
.3      "bgaf]\"Gg`fkgf"&"Ea__afk)"Ydegkl"ja_`l"Y^l]j+""Pg"l`Yl
.4      "ogmd\"Z]"s53+"">f\"F"\a\"l`]"mf\]jojalaf_"Yf\"hgda[q
.5      "^gjek"^gj"Ydd"g^"l`gk]+""Gmkl"lg"Z]"[d]Yj)"o]"\a\"fgl
.6      "\][a\]"lg"mf\]jojal]"gf"Yfq"g^"l`gk]"Z][Ymk]"l`]
/-      "hgda[q`gd\]jk"ogmd\fsl"e]]l"gmj"[gf\alagfk+
/.      """"""""N+"""">dkg"YllY[`]\"lg"qgmj"j]hgjl"ak"Y"[ghq"g^
//      "qgmj"@S)"o`a[`"o]sn]"lYdc]\"YZgml"lg\Yq+
/0      """""""">+""""T]"\a\<
/1      """"""""N+""""Fk"l`ak"Y"[mjj]fl"n]jkagf"g^"qgmj"@S<
/2      """""""">+""""F"_Yn]"hgkkaZdq"Y"egj]"j][]fl"gf]"lg

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 81 of 104



                                                                 MY_]"5.

 .      "[gmfk]d+
 /      """"""""""""""""""""JO+"WLI>7""Q`ak"ak"l`]"gf]"Yk
 0      """""""""""""g^"C]ZjmYjq".+
 1      """"""""""""""""""""QEB"TFQKBPP7""V]Y`)"F"l`afc"F
 2      """""""""""""ojgl]"gf]"j]hgjl"kaf[]"C]ZjmYjq".+
 3      """"""""N+""""Ll`]j"l`Yf"l`]"gf]"j]hgjl"l`Yl"qgmsj]
 4      "ojall]f)"\g]k"l`ak"@S"dakl"Ydd"l`]"[Yk]k"af"o`a[`"qgm
 5      "`Yn]"l]kla^a]\"Zgl`"Yl"ljaYd"Yf\"Yl"\]hgkalagf<
 6      """""""">+"""">k"Yf"]ph]jl)"q]k+""Fsn]"l]kla^a]\"af
.-      "gl`]j"[aj[meklYf[]k+
..      """"""""N+""""Ag]k"al"Ydkg"a\]fla^q"Ydd"g^"l`gk]"[Yk]k
./      "af"o`a[`"qgmsn]"hj]hYj]\"Y"j]hgjl<
.0      """""""">+""""V]k+""Flsk"fgl"daeal]\"lg"^gmj"q]Yjk
.1      "]al`]j+
.2      """"""""N+""""F"fgla[]\"l`Yl+
.3      """"""""""""""Pg"al"Yhh]Yjk"l`Yl"qgm"`Yn]"l]kla^a]\"Y
.4      "_j]Yl"\]Yd"kaf[]"qgm"j]laj]\"hjaeYjadq"af"log"Yj]Yk"gj
.5      "hjgna\]\"]ph]jl"j]hgjlk"af"log"Yj]Yk)"gf])"hgddmlagf
.6      "Yf\"l`]"k][gf\)"YkZ]klgk"[gn]jY_]8"ak"l`Yl"^Yaj"lg"kYq<
/-      """"""""""""""""""""JO+"WLI>7""LZb][lagf"lg"^gje+
/.      """""""">+""""F"ogmd\"kYq"alsk"fgl"[gjj][l+""F"ogmd\
//      "kYq"l`Yl"l`]"dYj_]kl"fmeZ]j"g^"[Yk]k"afngdn]\"YkZ]klgk
/0      "gj"]fnajgfe]flYd"mkmYddq)"Yf\"oal`"j]_Yj\"lg
/1      "YnYadYZadalq"g^"afkmjYf[])"Zml"Y"dgl"g^"l`]"[Yk]k"\gfsl
/2      "afngdn]"YkZ]klgk"gj"]fnajgfe]flYd+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 82 of 104



                                                                 MY_]"5/

 .      """"""""N+""""F"oYkfsl"ljqaf_"lg"daeal"qgm+""Fl"bmkl
 /      "dggc]\"dac]"l`]j]"oYk"Y"dgl"g^"]fnajgfe]flYd"ZY[c_jgmf\
 0      "Yf\"Y"dgl"g^"ogjc"eYqZ]"gf"l`]"hgddmlagf"]p[dmkagf+
 1      """""""">+""""Q`Ylsk"[gjj][l+""F"`Yn]"Y"_gg\
 2      "ZY[c_jgmf\+
 3      """"""""N+""""Cjge"l`]"hgddmlagf"oYjk<
 4      """""""">+""""Cgje"l`]"hgddmlagf"oYjk)"Zml"Ydkg"F"cfgo
 5      "l`]"h]ghd]"o`g"ojgl]"l`]"YZkgdml]"]p[dmkagf)"lg"al"eq
 6      "oa^]+""F"ogjc]\"oal`"FPL+
.-      """"""""N+""""T`]f"\a\"k`]"ojal]"l`]"YZkgdmlagf
..      "]p[dmkagf<
./      """""""">+""""P`]"oYk"l`]"**"d]l"e]"[dYja^q"l`Yl+""Gmkl
.0      "kg"qgm"mf\]jklYf\)"qgm"cfgo"`go"FPL"ogjck+
.1      """"""""N+""""V]k+
.2      """""""">+""""LcYq+""Pg"qgm"`Yn]"Y"[geeall]]"g^
.3      "mf\]jojalaf_k"Yf\"l`]f"qgm"`Yn]"Y"klY^^"h]jkgf
.4      "Ykka_f]\+""Jq"oa^]"oYk"l`]"klY^^"h]jkgf+""Pg"o`]f"al
.5      "[ge]k"lg"l`]"^afYd"ogj\af_)"k`]"oYk"l`]"k[jahl]j+
.6      """"""""N+""""T`]f"oYk"l`Yl)"l`]"YZkgdml]<
/-      """""""">+""""Q`]"gf]"k`]"oYk"gf"oYk"s34+"">f\"alsk"fgl
/.      "YZkgdml]"af"Yfq"[Yk]+""F"e]Yf)"al"\a\fsl"af[dm\]
//      "hjg\m[lk+
/0      """"""""N+""""?][Ymk]"l`]j]"oYk"fg"km[`"]p[dmkagf
/1      "Z]^gj]"l`]f+
/2      """""""">+""""T]dd)"l`Ylsk"fgl"[gjj][l+""BY[`"[gehYfq

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 83 of 104



                                                                 MY_]"50

 .      "`Y\"alk"gof"]p[dmkagfk+"">f\"l`]"gja_afYd"kg*[Ydd]\
 /      "YZkgdml]"]p[dmkagf"oYk"\jY^l]\"Zq"Aa[c"P[`eYdlr"Yl
 0      "EYjl^gj\)"o`g"^gjeYddq"oYk"Yl"IaZ]jlq"JmlmYd+"">f\
 1      "EYjl^gj\)"^gj"]pYehd])"Ykc]\"`ae"lg"\jY^l"Yf"]p[dmkagf
 2      "l`Yl"fgl`af_"[gmd\"_]l"l`jgm_`+
 3      """"""""N+""""Fk"Yfq"hYjl"g^"qgmj"^]]"j]dYl]\"lg"l`]
 4      "Aag[]k]sk"km[[]kk"af"l`ak"dala_Ylagf<
 5      """""""">+""""Kg+""Q`]"gfdq"^]]k"Fsn]"]n]j"`Y\"l`Yl
 6      "o]j]"j]dYl]\"lg"km[[]kk"ogmd\"`Yn]"Z]]f"af"[gfkmdlaf_
.-      "eYll]jk+
..      """"""""""""""""""""JP+">A>JP7""Ag"qgm"`Yn]"l`]
./      """""""""""""afnga[]<
.0      """"""""""""""""""""JP+"J[_BB*QR??7""V]k+
.1      """"""""""""'A]^]f\Yflsk"Bp`aZal"1)"Ffnga[]"^jge
.2      """"""""""""A]ffak"@gffgddq"\Yl]\"C]ZjmYjq"..)"/-.5)
.3      """"""""""""eYjc]\"^gj"a\]fla^a[Ylagf+(
.4      """"""""N+""""Fse"_anaf_"qgm"o`Yl"o]sn]"eYjc]\"Yk
.5      "Bp`aZal"Kg+"1+""Ag"qgm"j][g_far]"l`Yl"\g[me]fl<
.6      """""""">+""""F"\g+
/-      """"""""N+""""T`Yl"ak"l`]"\g[me]fl<
/.      """""""">+""""Q`Ylsk"eq"afnga[]"g^"C]ZjmYjq"..)"/-.5)
//      "lg"GYj]\"WgdY"Yf\"GYe]k"JmjjYq)"Yf\"alsk"^gj"ogjc"gf
/0      "l`]"Aag[]k]+
/1      """"""""N+""""F"l`afc"[gfkakl]fl"oal`"o`Yl"qgm"`Y\
/2      "l]kla^a]\"lg"]Yjda]j"lg\Yq)"gf"GYfmYjq"4"qgm"`Y\"Y

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 84 of 104



                                                                 MY_]"51

 .      "^ajkl"[gfn]jkYlagf"oal`"GYj]\"WgdY+"">f\"l`]f"al
 /      "Yhh]Yjk"Y^l]j"l`Yl"l`Yl"qgm"j]na]o]\"\g[me]flk+"">j]
 0      "l`gk]"l`]"\g[me]flk"l`Yl"o]sn]"lYdc]\"YZgml"lg\Yq"l`Yl
 1      "Yj]"]al`]j"af"l`]"j]^]j]f[]"gj"af"l`]"\g[me]flk
 2      "[gfka\]j]\<
 3      """""""">+""""V]k)"l`Ylsk"[gjj][l+
 4      """"""""N+"""">j]"l`]j]"Yfq"gl`]j"\g[me]fl<
 5      """""""">+""""T]dd)"gl`]j"l`Yf"eq"_]f]jYd"ZY[c_jgmf\)
 6      "fg+
.-      """"""""N+""""Fl"a\]fla^a]k"Y"\jY^laf_"e]]laf_+""T`g
..      "Yll]f\]\"l`Yl"e]]laf_<
./      """""""">+""""GYj]\"WgdY+
.0      """"""""N+""""T`Yl"\a\"qgm"\g"Yl"l`Yl"e]]laf_<
.1      """""""">+""""T]"lYdc]\"YZgml"l`]"[Yk]"Yf\"o]"klYjl]\
.2      "\jY^laf_+
.3      """"""""N+""""T`Yl"^Y[lk"\a\"`]"l]dd"qgm"YZgml"l`]
.4      "[Yk]<
.5      """""""">+""""E]"k`go]\"e]"l`]"hgda[a]k"Yf\"`]"k`go]\
.6      "e]"l`]"IaZ]jlq"Yfko]j"Yf\"]phdYaf]\"l`]"[gfl]flagfk+
/-      """"""""N+""""Aa\"qgm"\jY^l"Y"j]hgjl"lg_]l`]j<
/.      """""""">+""""F"lgd\"`ae"o`Yl"lg"kYq+"">"dgl"g^"l`]
//      "j]hgjl"[ge]k"^jge"hj]nagmkdq*ojall]f"j]hgjlk+
/0      """"""""N+""""Vgm"lgd\"GYj]\"o`Yl"lg"kYq<
/1      """""""">+""""V]k+""F"\gfsl"lqh]"kg"F"\gfsl"**"F"YdoYqk
/2      "j]dq"gf"kge]gf]"lg"Z]"l`]"k[jahl]j+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 85 of 104



                                                                 MY_]"52

 .      """"""""N+""""Pg"GYj]\"**"F"k`gmd\"kYq">llgjf]q"WgdY
 /      "lqh]\"l`]"j]hgjl"^gj"qgm<
 0      """""""">+""""F"\gfsl"cfgo"o`]l`]j"`]"lqh]\"al"gj
 1      "o`]l`]j"kge]gf]"af"`ak"g^^a[]"lqh]\"al+""?ml"kge]gf]"Yl
 2      "?dYfc"Oge]"lqh]\"al+
 3      """"""""N+""""TYk"al"Yf"af*h]jkgf"e]]laf_<
 4      """""""">+""""Q`]"e]]laf_"F"Ye"\]k[jaZaf_"`]j]"oYk
 5      "af*h]jkgf+
 6      """"""""N+""""Ll`]j"l`Yf">llgjf]q"WgdY)"\a\"Yfqgf]"]dk]
.-      "j]na]o"qgmj"j]hgjl"l`Yl"qgm"cfgo"g^<
..      """""""">+""""Q`Yl"F"cfgo"g^)"fg+
./      """"""""N+""""T]j]"l`]j]"Yfq"hjghgk]\"j]nakagfk"lg"qgmj
.0      "j]hgjl<
.1      """""""">+""""F"[]jlYafdq"hjghgk]\"kge]"j]nakagfk+
.2      """"""""N+""""Aa\"?dYfc"Oge]"gj"Yfq"gl`]j"Yllgjf]q
.3      "hjghgk]"Y"j]nakagf"lg"qgmj"j]hgjl<
.4      """""""">+""""Kgl"l`Yl"F"j][Ydd+
.5      """"""""N+""""Ego"eYfq"\jY^lk"o]j]"l`]j]"g^"qgmj
.6      "j]hgjl<
/-      """""""">+""""Q`]j]"oYk"gf]"\jY^l"Yf\"Y"^afYd+
/.      """"""""N+""""T`]j]"ak"l`]"\jY^l<
//      """""""">+""""Flsk"kmZkme]\"af"l`]"^afYd+
/0      """"""""N+""""Vgm"\gfsl"`Yn]"Y"[ghq"g^"l`]"\jY^l<
/1      """""""">+""""Kg+
/2      """"""""N+""""T`Yl"Zjgm_`l"qgmj"Yll]flagf"lg"l`]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 86 of 104



                                                                 MY_]"53

 .      "P[`j]aZ]j"ha][]<
 /      """""""">+""""T`]f"F"**"eq"dYkl"ljaYd"oYk"Y"eYll]j"g^
 0      "Rla[Y"JmlmYd"n]jkmk+++
 1      """"""""N+""""Caj]eYfsk"Cmf\<
 2      """""""">+""""V]k+
 3      """"""""N+""""Q`Yl"Yjgk]"Z][Ymk]"F"oYk"Y"oalf]kk"af"Y
 4      "[Yk]"[Ydd]\"Dgmd\k)"af"o`a[`"l`]"akkm]"g^"l`]
 5      "Y__j]_Yl]k"^gj"hjg\m[lk"[Ye]"mh"lg_]l`]j"oal`"l`]
 6      "Yegmfl"g^"afkmjYf[]"l`Yl"h]ghd]"ea_`l"`Yn]"Zjgm_`l"Yl"Y
.-      "hYjla[mdYj"lae]+""Amjaf_"l`]"[gmjk]"g^"j]k]Yj[`"af
..      "l`Yl)"F"[Ye]"Y[jgkk"Zgl`"l`]"P[`j]aZ]j"ha][])"l`]
./      "Kg[ceYf"ha][]"Yf\"kge]"gl`]j"ha][]k+""Q`]f"o`]f"F"oYk
.0      "afngdn]\"af"l`]"hj]hYjYlagf"^gj"l`]"ljaYd"g^"Rla[Y
.1      "JmlmYd"Y_Yafkl"Caj]eYfsk"o]"Ydkg"mk]\"l`]"kYe]
.2      "\g[me]flk+
.3      """"""""""""""F"k`gmd\"e]flagf)"Zq"l`]"oYq)"l`Yl"l`]
.4      "Oa[`egf\"ha][]"Yhh]Yjk"af"l`]"**"Yf\"qgm"[Ydd]\"al"l`]
.5      "P[`j]aZ]j"ha][]"**
.6      """"""""N+""""F"[Ydd]\"al"l`]"P[`j]aZ]j"ha][]"Z][Ymk]
/-      "alsk"gf"qgmj"Zadd"Yk"l`Yl+
/.      """""""">+""""Oa_`l+""Q`]"l`af_"YZgml"Pgd"P[`j]aZ]j"ak
//      "o`]f"F"oYk"`aj]\"Yl"IaZ]jlq"JmlmYd)"F"oYk"`aj]\"Zq
/0      "Pgd"P[`j]aZ]j+
/1      """"""""N+"""">f\"Y^l]j"j]Y\af_"l`Yl)"qgm"j]nak]\"qgmj
/2      "j]hgjl<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 87 of 104



                                                                 MY_]"54

 .      """""""">+"""">"dgl"g^"l`]"j]hgjl"[ge]k"^jge
 /      "hj]nagmkdq*ojall]f"j]hgjlk+""Q`]j]"oYk"fg"j]Ykgf"lg
 0      "j]afn]fl"l`]"o`]]d"o`]f"F"`Yn]"`Yf\q"dYf_mY_]+""F"e]Yf)
 1      "Y"dgl"g^"l`]k]"akkm]k"[Ye]"mh"af"l`]">j[`\ag[]k]"g^
 2      "?gklgf+
 3      """"""""N+""""T]j]"l`]j]"Yfq"]*eYad"[geemfa[Ylagfk
 4      "Z]lo]]f"qgm"Yf\"Yfqgf]"j]_Yj\af_"qgmj"j]hgjl<
 5      """""""">+""""Kgl"l`Yl"F"j][Ydd"gl`]j"l`Yf"ljYfkeallYd
 6      "g^"l`]"^afYd+
.-      """"""""N+""""Aa\"qgm"hj]hYj]"^gj"lg\Yqsk"\]hgkalagf<
..      """""""">+""""F"\a\+
./      """"""""N+""""T`Yl"\a\"qgm"\g"lg"hj]hYj]"^gj"lg\Yqsk
.0      "\]hgkalagf<
.1      """""""">+""""F"j]Y\"l`]"eYl]jaYdk)"eq"j]hgjl)"l`]
.2      "\g[me]flk"Ykkg[aYl]\"oal`"al)"Yf\"eq"@S+"">f\"l`]f"gf
.3      "Jgf\Yq)"F"e]l"oal`"GYj]\"WgdY+
.4      """"""""N+""""Ego"dgf_"\a\"e]]l"oal`"GYj]\"WgdY<
.5      """""""">+""""F"l`afc"eYqZ]"^gmj"gj"^an]"`gmjk+
.6      """"""""N+""""Cgmj"gj"^an]"`gmjk<
/-      """""""">+""""Egmjk+
/.      """"""""N+""""Vgm"\a\"\ak[mkk"Yfq"g^"l`]"^Y[lk"g^"l`]
//      "[Yk]"\mjaf_"l`Yl"e]]laf_<
/0      """""""">+""""V]k+
/1      """"""""N+""""T`Yl"^Y[lk"\a\"qgm"\ak[mkk<
/2      """""""">+""""T]"lYdc]\"YZgml"l`]"hgda[a]k)"l`gk]"Yj]

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 88 of 104



                                                                 MY_]"55

 .      "l`]"^Y[lk+""T]"lYdc]\"YZgml"l`]"^Y[l"l`Yl"l`]"Caj]eYfsk
 /      "@K>"hgda[q)"o`a[`"ak"l`]"gl`]j"Zggc]f\"hgda[q"l`Yl
 0      "ha[c]\"mh"F"l`afc"af"C]ZjmYjq"g^"s40)"`Y\"l`]"kYe]
 1      "hjgnakagfk"Yk"l`]"s31"*"s34"hgda[q)"l`]"^Y[l"l`Yl"l`Yl
 2      "\a\"af[dm\]"Y"\g[ljaf]"ja_`l"fgo"F"Ye"[Yddaf_"Zggc]f\k)
 3      "o`a[`"ak"Y"[geegf"\g[me]fl"mk]\"af"l`]"**"[geegf
 4      "\g[ljaf]"mk]\"af"l`]k]"eakkaf_"hgda[q"[Yk]k)"o`]j]"a^
 5      "qgm"`Y\"gf]"caf\"g^"[gn]jY_]"af"s31)"s34)"qgm"kmj]
 6      "YZgml"l`Yl)"Yf\"l`]f"qgm"ha[c]\"mh"Y"f]o"hgda[q"af"s40)
.-      "l`]"dac]da`gg\"ogmd\"Z]"l`Yl"l`gk]"hgda[a]k"Yj]"l`]
..      "kYe]+""Q`Yl"ak"kge]l`af_"F"l]kla^a]\"^gj">ddaYfr)
./      "Dj]Yl">e]ja[Yf)"EYjl^gj\)"Rla[Y"JmlmYd+
.0      """"""""N+""""Q`]">_ja[mdlmjYd"hgda[q"^jge"s31"lg"s34
.1      "`Y\"l`]"kYe]"l]jek"Yf\"[gf\alagfk"Yk"l`]"kmZk]im]fl"@K>
.2      "hgda[q<
.3      """""""">+""""V]k)"ZYka[Yddq"oal`"j]_Yj\"lg"l`]
.4      "Y__j]_Yl]+
.5      """"""""N+""""Ego"YZgml"oal`"j]_Yj\"lg"Yfql`af_"]dk]<
.6      """""""">+""""F"\a\fsl"dggc"Yl"al"oal`"j]_Yj\"lg"gl`]j
/-      "l`af_k+"">dl`gm_`)"F"\a\"fgl])"a^"F"j][Ydd"[gjj][ldq)
/.      "l`]"hj]eame"\a\fsl"_g"mh"em[`+
//      """"""""N+""""Pg"l`]"@K>"hgda[q)"ak"Ydkg"l`]"s22"^gje<
/0      """""""">+""""Flsk"l`]"ZYka["[gn]jY_]"g^"l`]"@DI+
/1      """"""""""""""""""""JP+">A>JP7""F"Z]da]n]"Fse
/2      """""""""""""\gf]+""F"cfgo"P[gll"`Yk"Y"[gmhd]"g^

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 89 of 104



                                                                 MY_]"56

 .      """""""""""""im]klagfk+""Pg"afkl]Y\"g^"e]
 /      """""""""""""Zj]Ycaf_"lg"_g"l`jgm_`"]n]jql`af_)
 0      """""""""""""\g"qgm"oYfl"lg"ha[c"mh"Yf\"\g"qgm
 1      """""""""""""oYfl"lg"[ge]"\gof"`]j]<
 2      """"""""""""""""""""JO+"QROKBO7""Pmj]+""F"\gfsl
 3      """""""""""""cfgo"a^"F"kYa\"F"`Yn]"Y"[gmhd]
 4      """""""""""""im]klagfk)"Zml"al"ogmd\"Z]"egj]"l`Yf
 5      """""""""""""log"Fse"kmj]+
 6      """"""""""""""""""""QEB"TFQKBPP7""?ml"qgm"\a\"kYq
.-      """""""""""""`Yd^"Yf"`gmj+
..      """"""""""""""""""""JO+"QROKBO7""?ml"al"ogmd\"Z]
./      """""""""""""d]kk"l`Yf"`Yd^"`gmj+
.0      "BU>JFK>QFLK
.1      "?V"JO+"QROKBO7
.2      """"""""N+""""Pg"F"cfgo"o]"o]j]"afljg\m[]\"]Yjda]j"Yf\
.3      "o]"`Yn]"khgc]f"kaf[])"Zml"eq"fYe]"ak"P[gll"Qmjf]j"Yf\
.4      "Fse"Yf"Yllgjf]q"^gj"l`]"@gflaf]flYd"FfkmjYf[]"@gehYfq)
.5      "o`a[`"ak"l`]"km[[]kkgj"Zq"e]j_]j"lg"l`]"Caj]eYfsk
.6      "FfkmjYf[]"@gehYfq"g^"K]oYjc)"K]o"G]jk]q+
/-      """"""""""""""Vgm"o]j]"bmkl"kh]Ycaf_"bmkl"fgo"YZgml
/.      "`Ynaf_"j]na]o]\"l`]"Caj]eYfsk".640"lg".643"hjaeYjq
//      "hgda[q"Yk"hYjl"g^"qgmj"Zggc]f\"YfYdqkak+"">f\"F"oYfl]\
/0      "lg"caf\"g^"lYdc"Y"dalld]"Zal"egj]"YZgml"l`Yl"hgda[q
/1      "kaf[]"alsk"eq"mf\]jklYf\af_"qgm"j]na]o]\"l`]"hgda[q8"ak
/2      "l`Yl"[gjj][l<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 90 of 104



                                                                 MY_]"6-

 .      """""""">+""""F"l`afc"kg)"q]k+
 /      """"""""N+""""F"oadd"bmkl"eYjc"l`ak"Yk"Yf"]p`aZal"`]j]+
 0      """"""""""""""""""""JO+"QROKBO7""Cgj"l`]"j][gj\
 1      """""""""""""l`ak"ak"fgl"Y"[gehd]l]"[ghq"g^"l`]
 2      """""""""""""hgda[q+""Flsk"bmkl"l`]"@DI"hYjl+
 3      """"""""""""'A]^]f\Yflsk"Bp`aZal"2)"Bp[]jhl"^jge"hgda[q
 4      """"""""""""?Yl]k"klYeh]\"AAXFKPX--/01"lg"AA"FKP"--/11)
 5      """"""""""""eYjc]\"^gj"a\]fla^a[Ylagf+(
 6      """"""""N+""""F^"qgm"bmkl"lYc]"Y"dggc"Yl"al+
.-      """""""">+""""Dg"Y`]Y\)"@gmfk]dgj+
..      """"""""N+"""">f\"kg"l`ak"Bp`aZal"2)"ak"l`ak"Y"\g[me]fl
./      "l`Yl"qgmsn]"k]]f"Z]^gj]<
.0      """""""">+""""Qg"l]dd"l`]"ljml`)"al"\g]kfsl"dggc
.1      "^YeadaYj)"Zml"F"cfgo"Fsn]"k]]f"l`]"hgda[q+
.2      """"""""N+""""?][Ymk]"F"Z]da]n]"qgmsn]"j]^]j]f[]\"af
.3      "gf]"g^"l`]"hY_]k"af"l`]"j]hgjl)"a^"qgm"oYfl"lg"dggc"Yl
.4      "Bp`aZal"/+
.5      """"""""""""""""""""JO+"WLI>7""P[gll)"af
.6      """""""""""""^Yajf]kk)"F"l`afc"al"oYk"q]kl]j\Yq
/-      """""""""""""gj"l`]"\Yq"Z]^gj]"o`]f"[gmfk]d"Ykc]\
/.      """""""""""""o`Yl"o]j]"l`]"?Yl]k"jYf_]k"g^"l`]
//      """""""""""""hgda[q"l`Yl"oYk"k`gof"lg
/0      """""""""""""Jj+"@gffgddq"o]"_Yn]"l`]"]flaj]
/1      """""""""""""?Yl]k"jYf_])"kg"[]jlYafdq"l`]"^ajkl
/2      """""""""""""hY_]"g^"Bp`aZal"2"ak"fgl"_gaf_"lg

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 91 of 104



                                                                 MY_]"6.

 .      """""""""""""dggc"dac]"l`]"^ajkl"hY_]"l`Yl
 /      """""""""""""Jj+"@gffgddq"kYo"Z][Ymk]"l`ak"ak"Yf
 0      """""""""""""]p[]jhl+
 1      """"""""""""""""""""JO+"QROKBO7""Oa_`l)"alsk"Yf
 2      """""""""""""]p[]jhl+
 3      """"""""""""""""""""JO+"WLI>7""Fl"\g]kfsl"`Yn]"Y
 4      """""""""""""q]Yj"gf"al+
 5      """"""""""""""""""""JO+"QROKBO7""F"Yhhj][aYl]
 6      """""""""""""l`Yl+""F"\a\fsl"oYfl"lg"[Yjjq"Y
.-      """""""""""""o`gd]"Zgp"g^"\g[me]flk+""Pg"F
..      """""""""""""Yhgdg_ar]+
./      """"""""N+""""?ml"a^"qgm"dggc"Yl"MY_]".3"g^"qgmj
.0      "j]hgjl)"o`a[`"ak"Bp`aZal"/)"l`]j]"ak"Y"j]^]j]f[]"gf"l`]
.1      "lgh"g^"l`]"hY_]"lg"l`]"daealk"g^"daYZadalq"hjgnakagfk
.2      "Yf\"l`]f"qgm"j]^]j"lg"@K>".640"lg".643"@DI"hgda[q"Yf\
.3      "al"`Yk"Y"?Yl]k"fmeZ]j"l`]j])"#AAXFKPX--/05+#""Ag"qgm
.4      "k]]"o`Yl"Fse"j]^]jjaf_"lg<
.5      """""""">+""""F"\g+""AA)"q]k)"F"\g+
.6      """"""""N+"""">f\"a^"qgm"dggc"Yl"o`Yl"Fsn]"_an]f"qgm"Yk
/-      "Bp`aZal"2)"a^"qgm"j]^]j"lg"AAXFKPX--/05)"qgmsdd"k]]"al
/.      "`Yk"l`Yl"?Yl]k"fmeZ]j"Yl"l`]"Zgllge+
//      """""""">+""""V]k+
/0      """"""""N+""""Ag]k"l`Yl"dggc"dac]"l`Ylsk"l`]"\g[me]fl
/1      "l`Yl"qgm"o]j]"j]^]jjaf_"lg"af"qgmj"j]hgjl<
/2      """""""">+""""V]k+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 92 of 104



                                                                 MY_]"6/

 .      """"""""N+""""LcYq+"">f\"Yl"l`]"Zgllge"g^"l`]"hY_])"ak
 /      "l`Yl"OgeYf"fme]jYd"l`j]]"Yf\"al"kYqk"daealk"g^
 0      "daYZadalq"k][lagf<
 1      """""""">+""""V]k+
 2      """"""""N+""""Fl"kgmf\k"dac]"^jge"qgmj"j]hgjl"`]j])"gf
 3      "MY_]".3)"l`Yl"qgm"j]na]o]\"l`ak"daealk"g^"daYZadalq
 4      "k][lagf"oal`af"Bp`aZal"2+
 5      """""""">+""""V]k+
 6      """"""""N+"""">f\"qgm"o]j]"j]^]jjaf_"al"oal`"j]_Yj\"lg
.-      "l`]"akkm]"g^"Y__j]_Yl]"daealk8"ak"l`Yl"[gjj][l<
..      """""""">+""""T]dd)"l`]"hgda[q"Yf\"l`Yl"k][lagf)"q]k+
./      """"""""N+""""Fk"l`ak"o`Yl"qgm"ogmd\"j]^]j"lg"Yk"Y
.0      "klYf\Yj\"FPL"^gje<
.1      """""""">+""""Fl"[]jlYafdq"dggck"al)"q]k+
.2      """"""""N+"""">f\"**
.3      """""""">+""""F"e]Yf)"al"ak"_]f]jYddq"Y"klYf\Yj\"FPL
.4      "^gje+"">k"o]"\ak[mkk]\"Z]^gj])"l`]j]"[gmd\"Z]"kge]
.5      "[`Yf_]k)"^gj"]pYehd])"mf\]j"hgda[q"l]jjalgjq)"l`]
.6      "af\ana\mYd"[gehYfa]k"\g"[`Yf_]"l`Yl"lg"eYc]"al
/-      "ogjd\oa\]"gj"lg"daeal]\"al"lg"l`]"Rfal]\"PlYl]k"gj
/.      "@YfY\Y)"Zml"l`Yl"ogmd\"fgl"]^^][l"l`]"klYf\Yj\ar]\
//      "fYlmj]"g^"al+
/0      """"""""N+"""">f\"o`Yl"YZgml"l`]"daealk"g^"daYZadalq
/1      "hjgnakagf"`]j]<""T`]f"qgm"j]na]o]\"al"hj]nagmkdq"qgm
/2      "\a\fsl"km__]kl"af"qgmj"j]hgjl"l`Yl"l`ak"\]naYl]\<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 93 of 104



                                                                 MY_]"60

 .      """""""">+""""Q`Ylsk"[gjj][l+""Fl"\a\"fgl+
 /      """"""""N+""""Fl"dggck"dac]"alsk"klYf\Yj\"dYf_mY_]<
 0      """""""">+""""V]Y`+
 1      """"""""N+""""Paj)"a^"qgm"[gmd\"bmkl"lYc]"Y"dggc"Yl"l`]
 2      "Zgllge"g^"l`]"hY_])"kg"l`Yl"AAXFKPX--/05)"l`]j]"ak"l`ak
 3      "hYjY_jYh`)"#PmZb][l"lg"l`]"YZgn]"hjgnakagf"j]kh][laf_
 4      "s]Y[`"g[[mjj]f[])s"l`]"lglYd"daYZadalq"g^"l`]"[gehYfq
 5      "^gj"Ydd"\YeY_]k"Z][Ymk]"g^"'.()"Ydd"Zg\adq"afbmjq
 6      "af[dm\]\"oal`af"l`]"[gehd]l]\"gh]jYlagfk"`YrYj\"Yf\"'/(
.-      "Ydd"Zg\adq"afbmjq"af[dm\]\"oal`af"l`]"hjg\m[lk"`YrYj\
..      "k`Ydd"fgl"]p[]]\"l`]"daeal"g^"Zg\adq"afbmjq"daYZadalq
./      "klYl]\"af"l`]"\][dYjYlagfk"Yk"#Y__j]_Yl]+#
.0      """"""""""""""Ag"qgm"k]]"l`Yl"k][lagf"l`]j]<
.1      """""""">+""""V]k+
.2      """"""""N+""""Fk"l`Yl"kge]l`af_"qgm"j]na]o]\<
.3      """""""">+""""V]k+
.4      """"""""N+"""">f\"kg"F"l`afc"^jge"qgmj"hj]nagmk
.5      "l]klaegfq"qgm"[gf[dm\]\"l`Yl"lg"l`]"]pl]fl"l`]j]"ak"Yf
.6      "Y__j]_Yl]"af"l`ak"hgda[q)"alsk"^gj"l`]"hjg\m[lk"Yf\
/-      "[gehd]l]"gh]jYlagfk+
/.      """""""">+""""Q`Ylsk"[gjj][l+
//      """"""""N+"""">f\"bmkl"dggcaf_"Yl"l`]"hYjY_jYh`"Z]^gj])
/0      "bmkl"YZgn]"l`Yl)"al"kYqk)"#@gn]jY_]">"**"Q`]"lglYd
/1      "daYZadalq"^gj"l`]"[gehYfq"^gj"Ydd"\YeY_]k)"af[dm\af_
/2      "\YeY_]k"^gj"[Yj]"Yf\"dgkk"g^"k]jna[]k)"Z][Ymk]"g^

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 94 of 104



                                                                 MY_]"61

 .      "Zg\adq"afbmjq"kmklYaf]\"Zq"gf]"gj"egj]"h]jkgfk"Yk"l`]
 /      "j]kmdl"g^"gf]"g[[mjj]f[]"k`Ydd"fgl"]p[]]\"l`]"daeal"g^
 0      "Zg\adq"afbmjq"daYZadalq"klYl]\"af"l`]"\][dYjYlagfk"Yk
 1      "Yhhda[YZd]"lg"s]Y[`"g[[mjj]f[]+s#
 2      """""""""""""">f\"\g"qgm"k]]"l`Yl"k][lagf"l`]j]<
 3      """""""">+""""F"\g+
 4      """"""""N+""""Fk"al"qgmj"mf\]jklYf\af_"l`Yl"l`ak"hgda[q
 5      "hjgna\]k"Yf"]Y[`*g[[mjj]f[]"daeal<
 6      """""""">+""""V]k+
.-      """"""""""""""""""""JO+"WLI>7""P[gll)"Fse"bmkl
..      """""""""""""_gaf_"lg"gZb][l"lg"l`]"^Y[l"l`Yl
./      """""""""""""l`ak"]p[]jhl"l`Yl"qgm"hjgna\]\"**
.0      """""""""""""\akj]_Yj\)"oal`\jYof+
.1      """"""""N+""""T]dd)"eYqZ]"lg"[dYja^q)"ogmd\"qgm"dac]"lg
.2      "dggc"Yl"l`]"\][c"hY_]<
.3      """""""">+""""F"\a\+
.4      """"""""N+""""Ag"qgm"k]]"Yf"]Y[`*g[[mjj]f[]"daeal
.5      "l`]j]"**
.6      """""""">+""""F"\a\+
/-      """"""""N+""""**"^gj"Zg\adq"afbmjq"daYZadalq<
/.      """""""">+""""V]k+
//      """"""""N+""""Cgj"mf\]j"@gn]jY_]"><
/0      """""""">+""""V]k+
/1      """"""""N+"""">f\"o`Yl"ak"l`Yl"daeal<
/2      """""""">+""""@gn]jY_]">)"alsk"$0--)---+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 95 of 104



                                                                 MY_]"62

 .      """"""""N+"""">f\"l`]f"f]pl"lg"al)"al"kYqk7"">__j]_Yl]
 /      "\gddYj"ka_f"fgl"[gn]j]\+
 0      """""""">+""""Oa_`l+
 1      """"""""N+""""Fk"l`Yl"kge]l`af_"l`Yl"qgm"j]na]o]\<
 2      """""""">+""""V]k+
 3      """"""""N+"""">f\"l`]f"gf"qgmj"j]hgjl"qgm"j]^]j]f[]\
 4      "l`Yl"l`ak"ak"**"l`ak"hgda[q"oYk"akkm]\".640"lg".643)"kg
 5      "alsk"Y"l`j]]*q]Yj"hgda[q<
 6      """""""">+""""Flsk"[]jlYafdq"Y"hgda[q"l`Yl"oYk"afl]f\]\
.-      "lg"Z]"l`j]]"q]Yjk"Yf\"Z]_Yf"af"**"a^"F"j][Ydd
..      "[gjj][ldq+
./      """"""""N+""""F"\gfsl"l`afc"o]"`Yn]"l`]"\Yl]k"gf"l`Yl
.0      "Z][Ymk]"alsk"fgl"l`Yl"caf\"g^"Y"[gn]jY_]"k`]]l"^gj"l`]
.1      "]flaj]"hgda[q+
.2      """""""">+""""Oa_`l+"">dd"F"Ye"_]llaf_"Yl"ak"F"cfgo)
.3      "Y_Yaf)"af"s40)"o]"gfdq"`Y\"gf]"hgda[q+""Fl"oYk"Y
.4      "l`j]]*q]Yj"hgda[q+""Fl"oYk"[Yf[]d]\"Y^l]j"log"egfl`k+
.5      "Pg"Yk"^Yj"Yk"F"cfgo)"l`ak"oYk"afl]f\]\"lg"Z]"Y
.6      "l`j]]*q]Yj"hgda[q"Yf\"oYk"Y"Zggc]f\"Yl"l`]"kYe]
/-      "hjgnakagfk"Yk"l`]"^ajkl+
/.      """"""""N+"""">f\"bmkl"lg"Z]"[d]Yj)"qgm"\a\fsl"dggc"Yl
//      "Yfq"g^"l`]"gl`]j"hgda[a]k"l`Yl"Caj]eYfsk"eYq"`Yn]
/0      "akkm]\<
/1      """""""">+""""Kg+
/2      """"""""N+""""Gmkl"l`ak"gf]<

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 96 of 104



                                                                 MY_]"63

 .      """""""">+""""Gmkl"l`ak"gf]+""Q`]"gf]"F"Ye"^YeadaYj
 /      "oal`"ak"@K>+
 0      """"""""N+"""">f\"dggcaf_"Yl"l`]"f]pl"hY_])
 1      "AAXFKPX--/06)"\g"qgm"k]]"l`]j])"l`]"k][gf\*lg*dYkl
 2      "hYjY_jYh`"af"l`]"daealk"g^"daYZadalq"k][lagf)"al"kYqk)
 3      "#@gn]jY_]">"Yf\"?"**"^gj"l`]"hmjhgk]"g^"\]l]jeafaf_"l`]
 4      "daeal"g^"l`]"[gehYfqsk"daYZadalq)"Ydd"Zg\adq"afbmjq"Yf\
 5      "hjgh]jlq"\YeY_]"Yjakaf_"gml"g^"[gflafmgmk"j]h]Yl]\
 6      "]phgkmj]"lg"kmZklYflaYddq"l`]"kYe]"_]f]jYd"[gf\alagfk
.-      "k`Ydd"Z]"[gfka\]j]\"Yk"Yjakaf_"gml"g^"gf]"g[[mjj]f[]+#
..      """"""""""""""Aa\"F"j]Y\"l`Yl"[gjj][ldq<
./      """""""">+""""F"l`afc"qgm"\a\+
.0      """"""""N+""""Fk"l`ak"dYf_mY_]"l`Yl"qgm"j]na]o]\
.1      "Z]^gj]<
.2      """""""">+""""F"`Yn]"k]]f"l`ak"dYf_mY_]"Z]^gj]+
.3      """"""""N+""""Tgmd\"qgm"kYq"l`gmkYf\k"g^"lae]k<
.4      """""""">+""""Emf\j]\k)"eYqZ]"l`gmkYf\k+
.5      """"""""N+""""Q`]"f]pl"hYjY_jYh`"Z]dgo"l`Yl"**"F"l`afc
.6      "l`ak"ak"l`]"^afYd"lae]"F"Ye"_gaf_"lg"j]Y\"Y"hYjY_jYh`+
/-      "#>fq"daeal"g^"l`]"[gehYfqsk"daYZadalq"klYl]\"af"l`ak
/.      "]f\gjk]e]fl"Yk"Y__j]_Yl]"k`Ydd"Yhhdq"k]hYjYl]dq"lg"]Y[`
//      "[gfk][mlan]"YffmYd"h]jag\"[gehjakaf_"l`]"hgda[q
/0      "h]jag\+#
/1      """"""""""""""Aa\"F"j]Y\"l`Yl"[gjj][ldq<
/2      """""""">+""""F"l`afc"qgm"\a\+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 97 of 104



                                                                 MY_]"64

 .      """"""""N+""""Fk"l`ak"dYf_mY_]"qgm"dggc]\"Yl"lg"hj]hYj]
 /      "qgmj"j]hgjl<
 0      """""""">+""""V]k+
 1      """"""""N+""""EYn]"qgm"k]]f"l`ak"dYf_mY_]"Z]^gj]<
 2      """""""">+""""F"Ye"hj]llq"kmj]"F"`Yn]+
 3      """"""""N+""""Emf\j]\k"g^"lae]k<
 4      """"""""""""""""""""JO+"WLI>7""P[gll)"Fse"_gaf_
 5      """""""""""""lg"gZb][l"lg"l`ak"daf]"g^
 6      """""""""""""im]klagfaf_+""Q`ak"ak"Z]qgf\"l`]
.-      """""""""""""k[gh]"g^"l`]"\aj][l+""Vgm"\a\fsl
..      """""""""""""fgla[]"`ak"\]hgkalagf+""Flsk"Z]qgf\
./      """""""""""""l`]"k[gh]"g^"`ak"j]hgjl+"">f\"qgm
.0      """""""""""""cfgo"o]dd"l`Yl"o]"`Yn]"Y"k]hYjYl]
.1      """""""""""""]ph]jl"gf"l`ak"akkm]"l`Yl"qgm"Yj]
.2      """""""""""""ljqaf_"lg"_]l"Yl)"kg"F"ogmd\"kYn]
.3      """""""""""""l`]k]"im]klagfk"^gj"Jj+"?g_Yjl+
.4      """"""""""""""""""""JO+"QROKBO7""Pg"qgm"Yj]"_gaf_
.5      """""""""""""lg"\aj][l"`ae"fgl"lg"Yfko]j<
.6      """"""""""""""""""""JO+"WLI>7""T]dd)"Q`]j]"ak"Y
/-      """""""""""""im]klagf"h]f\af_)"Zml"a^"qgm"Ykc
/.      """""""""""""egj]"YZgml"mladarYlagf)"o`a[`"qgm
//      """""""""""""cfgo"l`ak"]ph]jl"ak"fgl"Z]af_
/0      """""""""""""hjg^^]j]\"^gj)"F"Ye"_gaf_"lg"\aj][l
/1      """""""""""""`ae"fgl"lg"Yfko]j+
/2      """"""""N+"""">dd"ja_`l)"o]dd)"Y[[gj\af_"lg"l`ak"dYkl

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 98 of 104



                                                                 MY_]"65

 .      "hYjY_jYh`)"l`ak"daealk"g^"daYZadalq"k][lagf)"\g]k"al
 /      "[j]Yl]"Y"k]hYjYl]"YffmYd"h]jag\"^gj"l`]"Y__j]_Yl]
 0      "h]jag\<
 1      """"""""""""""""""""JO+"WLI>7""F"Ye"_gaf_"lg
 2      """""""""""""\aj][l"`ae"fgl"lg"Yfko]j+""E]"bmkl
 3      """""""""""""kYa\"`]"\a\"fgl"j]dq"gf"al"af
 4      """""""""""""^gjeaf_"l`]"ZYkak"g^"`ak"ghafagf"Yk
 5      """""""""""""k]l"^gjl`"af"`ak"j]hgjl+
 6      """"""""""""""""""""JO+"QROKBO7"">dd"ja_`l+""F^
.-      """""""""""""qgm"\aj][l"`ae"fgl"lg"Yfko]j)"l`]f"F
..      """""""""""""ogfsl"Ykc"Yfq"egj]"im]klagfk+
./      """"""""""""""""""""F"oadd"lmjf"l`]"^dggj"ZY[c
.0      """""""""""""gn]j"lg"KYf[q+
.1      """"""""""""""""""""P]])"l`Yl"oYk"em[`"d]kk"l`Yf
.2      """""""""""""`Yd^"Yf"`gmj+
.3      """"""""""""""""""""QEB"TFQKBPP7""T]dd)"qgm"_]l
.4      """""""""""""lg"[ge]"ZY[c"Yf\"`Yn]"Yfgl`]j"/5
.5      """""""""""""eafml]k+
.6      "?V"JP+">A>JP7
/-      """"""""N+""""QgoYj\k"l`]"]f\"g^"qgmj"\ak[mkkagf)"gmj
/.      "im]klagfk)"qgm"j]^]j]f[]\"Yf"]ph]jl"j]hgjl"l`Yl"qgm"`Y\
//      "hj]hYj]\"af"l`]"Rla[Y"Caj]eYfsk"Cmf\"eYll]j+
/0      """""""">+""""V]k+
/1      """"""""""""""""""""JP+">A>JP7""T]"ogmd\"dac]"lg
/2      """""""""""""j]im]kl"Y"[ghq"g^"l`Yl+

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
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                                                                 MY_]"66

 .      """"""""""""""""""""JO+"WLI>7""T]"oadd"[]jlYafdq
 /      """""""""""""lYc]"l`Yl"mf\]j"Y\nak]e]fl+
 0      """"""""""""""""""""JP+">A>JP7""T]"Yj]"j]im]klaf_
 1      """""""""""""al"Z][Ymk]"`]"j]da]\"mhgf"al"Yf\
 2      """""""""""""l`Ylsk"o`]j]"`]"`Y\"d]Yjf]\"YZgml
 3      """""""""""""l`]"P[`j]aZ]j"af^gjeYlagf"`]"Yf\
 4      """""""""""""_an]f"`ak"l]klaegfq"j]_Yj\af_"al)"o]
 5      """""""""""""ogmd\"dac]"al+
 6      """"""""""""""""""""JO+"WLI>7""F"`Yn]"fg"a\]Y"a^
.-      """""""""""""alsk"mf\]j"gj\]j)"[gf^a\]flaYdalq
..      """""""""""""gj\]j)"Zml"o]"oadd"lYc]"al"mf\]j
./      """""""""""""Y\nak]e]fl+
.0      """"""""""""""""""""QEB"TFQKBPP7"">dkg"F"l`afc"F
.1      """""""""""""d]Yjf]\"YZgml"l`]"P[`j]aZ]jsk
.2      """""""""""""[Yk]"**"\g[me]fl"af"l`]"Dgmd\k"[Yk])
.3      """""""""""""o`a[`"ak"Z]^gj]"l`Yl+
.4      """"""""""""""""""""JP+">A>JP7""T]dd)"l`]"j][gj\
.5      """""""""""""kh]Yck"^gj"alk]d^+""F"l`gm_`l"qgm
.6      """""""""""""`Y\"\ak[mkk]\"l`]"Rla[Y"Caj]eYfsk
/-      """""""""""""Cmf\"l]klaegfq+
/.      """"""""""""""""""""Q`Ylsk"Ydd"o]"`Yn]+
//      """"""""""""""""""""JO+"WLI>7""F"bmkl"oYfl"lg
/0      """""""""""""[dYja^q+""JYq"F"Ykc"Y"im]klagf<
/1      """"""""""""""""""""JP+">A>JP7""P]]"o`Yl"`Yhh]fk+
/2      "BU>JFK>QFLK

                                .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
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                                                                MY_]".--

 .      "?V"JO+"WLI>7
 /      """"""""N+""""Jj+"@gffgddq)"F"ogmd\"dac]"lg"\aj][l"qgmj
 0      "Yll]flagf"lg"qgmj"]ph]jl"j]hgjl"l`Yl"oYk"Z]]f"eYjc]\"Yk
 1      "Bp`aZal"/"Yf\"kh][a^a["MYjY_jYh`"00)"o`a[`"Yhh]Yjk"gf
 2      "MY_]"./"g^"l`Yl"j]hgjl+
 3      """""""">+""""V]k)"F"^gmf\"l`]"k][lagf+
 4      """"""""N+""""Ff"l`]"k][gf\"k]fl]f[]"g^"MYjY_jYh`"00)
 5      "o`a[`"j]Y\k)"#Ff"l`ak"[Yk])"gf]"g^"l`]"^]o"hYjlk"g^"l`]
 6      "afkmjYf[]"hgda[a]k"Yl"akkm]"l`Yl"`Yn]"Z]]f"dg[Yl]\"Yj]
.-      "l`]"hgda[a]ks"\][dYjYlagfk"hY_]k"Yf\"l`]q"Yj]"klYf\Yj\
..      "^gje+#""T`]f"qgm"ojgl]"l`Yl"k]fl]f[]"af"MYjY_jYh`"00"g^
./      "qgmj"j]hgjl"lg"o`a[`"afkmjYf[]"hgda[q"gj"hgda[a]k"o]j]
.0      "qgm"j]^]jjaf_<
.1      """""""">+""""F"l`afc"F"oYk"j]^]jjaf_"lg"Zgl`+
.2      """"""""N+""""F"[gmd\fsl"`]Yj+
.3      """""""">+"""">dd"g^"l`]e+
.4      """"""""N+"""">f\"o`]f"qgm"kYq"#Ydd"g^"l`]e)#"ak"l`]j]
.5      "Yfq"afkmjYf[]"[gehYfq"qgm"`Yn]"af"eaf\<
.6      """""""">+""""T]dd)"F"oYk"j]^]jjaf_"lg"l`]"hgda[a]k
/-      "afngdn]\"af"l`ak"[Yk]"Yf\"kg"F"oYk"j]^]jjaf_"af"l`ak
/.      "[Yk]"lg">_ja[mdlmjYd+
//      """"""""""""""""""""JO+"WLI>7""F"`Yn]"fg"^mjl`]j
/0      """""""""""""im]klagfk+
/1      """"""""""""""""""""JP+">A>JP7""F"l`afc"o]"Yj]
/2      """""""""""""^af]+

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
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                                                                MY_]".-.

 .      """"""""""""'Talf]kk"]p[mk]\+(
 /      """"""""""""'A]hgkalagf"[gf[dm\]\".72-"h+e+(
 0
 1
 2
 3
 4
 5
 6
.-
..
./
.0
.1
.2
.3
.4
.5
.6
/-
/.
//
/0
/1
/2

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
      CASE 0:17-cv-03254-DWF-LIB Doc. 195-2 Filed 08/17/18 Page 102 of 104



                                                                MY_]".-/

 .      """"""""""""""""@"B"O"Q"F"C"F"@">"Q"F"L"K
 /
 0      "PQ>QB"LC"KBT"VLOH"""""""""(
        """""""""""""""""""""""""""7"kk7
 1      "@LRKQV"LC"KBT"VLOH""""""""(
 2
 3      """"""""""""""""F)"QLKF>KK">@NR>OL)"Y"fglYjq"hmZda["^gj
 4      Yf\"oal`af"l`]"PlYl]"g^"K]o"Vgjc)"\g"`]j]Zq"[]jla^q7
 5      """"""""""""""""Q`Yl"l`]"oalf]kk"o`gk]"]pYeafYlagf"ak
 6      `]j]afZ]^gj]"k]l"^gjl`"oYk"\mdq"kogjf"Yf\"l`Yl"km[`
.-      ]pYeafYlagf"ak"Y"ljm]"j][gj\"g^"eq"k`gjl`Yf\"fgl]k+
..      """"""""""""""""F"^mjl`]j"[]jla^q"l`Yl"F"Ye"fgl"j]dYl]\
./      lg"Yfq"g^"l`]"hYjla]k"lg"l`ak"Y[lagf"Zq"Zdgg\"gj"Zq
.0      eYjjaY_]"Yf\"l`Yl"F"Ye"af"fg"oYq"afl]j]kl]\"af"l`]
.1      gml[ge]"g^"l`ak"eYll]j+
.2      """"""""""""""""FK"TFQKBPP"TEBOBLC)"F"`Yn]"`]j]mflg"k]l
.3      eq"`Yf\"l`ak".2l`"\Yq"g^"JYj[`)"/-.5+
.4
.5      """"""""""""""""9%Pa_fYlmj]%;
.6      """"""""""""""""Qgfa>ff">[imYjg)
        """"""""""""""""Mjg^]kkagfYd"@gmjl"O]hgjl]j
/-      """"""""""""""""Yf\"K]o"Vgjc"PlYl]"KglYjq)"-.>@3/--/22
        """"""""""""""""Jq"@geeakkagf"Bphaj]k"GYfmYjq"/3)"/-/.
/.
//
        'Q`]"^gj]_gaf_"[]jla^a[Ylagf"g^"l`ak"ljYfk[jahl"\g]k"fgl
/0      Yhhdq"lg"Yfq"j]hjg\m[lagf"g^"l`]"kYe]"Zq"Yfq"e]Yfk)
        mfd]kk"mf\]j"l`]"\aj][l"[gfljgd"Yf\,gj"kmh]jnakagf"g^
/1      l`]"[]jla^qaf_"j]hgjl]j+(
/2

                                 .06280;8 ,01/3 -53982547
     *##"'()"*('*                                                    +)%"&$#"&#&#
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